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 1   SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
       A Limited Liability Partnership
 2     Including Professional Corporations
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     One Renaissance Square
 9   Two North Central Avenue
     Phoenix, Arizona 85004
10   Telephone: 602.229.5200
     Facsimile: 602.229.5690
11
     Attorneys for Defendant,
12   SMITHS FOOD & DRUG CENTERS,
     INC.
13
14
                             IN THE UNITED STATES DISTRICT COURT
15
                                     FOR THE DISTRICT OF ARIZONA
16
                                                   Case No. CV-16-01586-PHX-JJT
17   Advocates for Individuals with
     Disabilities, LLC and David                   DECLARATION OF MICHAEL J.
18   Ritzenthaler,                                 CHILLEEN IN SUPPORT OF
                                                   DEFENDANT SMITH’S FOOD &
19                      Plaintiff,                 DRUG CENTERS, INC.’S MOTION
                                                   FOR CONSOLIDATION
20           v.
21   SMITHS FOOD & DRUG CENTERS,
     INC.
22
                        Defendants.
23
24
25
26



     SMRH:479255260.1                            -1-
     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 2 of 163




 1                         DECLARATION OF MICHAEL J. CHILLEEN
 2
             I, Michael J. Chilleen, pursuant to 28 U.S.C. § 1746, hereby declare as
 3
     follows:
 4
             1.         I am Special Counsel at Sheppard Mullin, attorney of record for
 5
     defendant Smith’s Food & Drug Centers, Inc. I am licensed to practice in the State
 6
     of California and before the Central District of California and have been granted
 7
     Pro Hac Vice in the United States District Court of Arizona. I have personal
 8
     knowledge of the information set forth in this Declaration and if called as a witness,
 9
     I could and would competently testify to the following based on personal
10
     knowledge.
11
             2.         Attached as Exhibit A is a true and correct copy of the Complaint in
12
     the lawsuit entitled Advocates for Individuals with Disabilities, LLC and David
13
     Ritzenthaler v. Fry's Food and Drug Stores, Inc., Case No. 2:16-cv-01587-SPL.
14
             3.         Attached as Exhibit B is a true and correct copy of the Complaint in
15
     the lawsuit entitled Advocates for Individuals with Disabilities Foundation, Inc., v.
16
     Smith's Food and Drug Centers, Inc., Case No. 2:16-cv-02770-SPL.
17
             4.         Attached as Exhibit C is a true and correct copy of the Complaint in
18
     the lawsuit entitled Advocates for Individuals with Disabilities Foundation, Inc. v.
19
     Smith's Food and Drug Centers, Inc., Case No. 2:16-cv-02706-DGC.
20
             5.         Attached as Exhibit D is a true and correct copy of the Complaint in
21
     the lawsuit entitled Advocates for Individual with Disabilities Foundation, Inc. v.
22
     Smith's Food and Drug Centers, Inc., Case No. 2:16-cv-02711-JJT.
23
             6.         Attached as Exhibit E is a true and correct copy of the Complaint in
24
     the lawsuit entitled Advocates for Individuals with Disabilities Foundation, Inc., vs.
25
     Dillon Real Estate Co., Inc,. Case No. 2:16-CV-02781-SRB.
26



     SMRH:479255260.1                               -2-
     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 3 of 163




 1           7.         Attached as Exhibit F are true and correct copies of the two Orders to
 2   Show Cause issued by Judge Campbell re why Plaintiffs’ lawsuits should not be
 3   dismissed for lack of standing.
 4           8.         Attached as Exhibit G is a true and correct copy of the State of
 5   Arizona’s Motion to Intervene as a Limited Purpose Defendant in the case of
 6   Advocates for Individuals with Disabilities, LLC v. 1639 40th Street LLC, Maricopa
 7   County Superior Court, Case No. CV2016-090506, filed August 24, 2016.
 8           9.         Attached as Exhibit H is a true and correct copy of an article entitled
 9   “BREAKING: Arizona Attorney General’s Office filed motion to intervene on
10   ADA lawsuits” that was published in the Phoenix Business Journal on August 24,
11   2016.
12           10.        Attached as Exhibit I is a true and correct copy of the Order granting
13   Home Depot’s motion for consolidation in the lawsuit entitled Advocates for
14   Individuals With Disabilities LLC, et al., v. Home Depot USA Incorporated, Case
15   No. 2:16-cv-01002.
16
             Executed September 16, 2016, at Costa Mesa, California.
17
18                                                   /s/ Michael J. Chilleen
19                                                   MICHAEL J. CHILLEEN

20
21
22
23
24
25
26



     SMRH:479255260.1                               -3-
     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 4 of 163




 1                                 CERTIFICATE OF SERVICE
 2           I hereby certify that I electronically transmitted the attached document to the
 3   Clerk's Office using the CM/ECF System for filing and transmittal of a Notice of
 4   Electronic Filing to the following CM/ECF registrant, and mailed a copy of same to
 5   the following if non-registrants, this 16th day of September 2016:
 6                      Peter Strojnik
                        Strojnik P.C.
 7                      7373 E. Doubletree Ranch, Suite B-165
                        Scottsdale, Arizona 85258
 8                      Attorneys for Plaintiff
 9
10
     /s/ Maria Marotta
11
12
13
14
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     SMRH:479255260.1                             -1-
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         EXHIBIT A
       Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 6 of 163



                                  STROJNIK,                  P.C.
                                 ATTORNEY AT LAW
ADVOCATES FOR AMERICAN DISABLED INDIVIDUALS, LLC


                                    BY PROCESS SERVER


                                        Thursday, April 21, 2016

  FRYS FOOD AND DRUG STORES
  c/o SMITH'S FOOD & DRUG CENTERS, INC. - Its Statutory Agent
  500 S 99TH AVENUE
  TOLLESON, AZ 85353
        Re:   David Ritzenthaler v. FRYS FOOD AND DRUG STORES
              Maricopa County SuperiorCourt

  Dear Sir or Madam:

  You are being served with the Summons, Verified Complaint, Certificate of Arbitration
  and Discovery Request No. I in the above captioned matter.

  Please fotward this package to your insurance company and your legal counsel if you have
  and or retained such.

  I look fotward to hearing from you or your legal representative at the earliest opportunity
  so we may mutualy explore a feasibie and economical resolution to this matter.

  Please note that all communication regarding all Enforcement Actions are performed solely
  through email at the following e-mail address: 1845EBASELINERD@aadi.org.

                                                Sincerely,
                                                  ti?~~_;_:         --..
                                                Peter Strojnik
  Encls:
     l.    Summons
     2.    Verified Complaint
     3.    Certificate of Arbitration
     4.    Discovery Request No. 1




                           40 NORTH CENTRAL AVESUITE 1400 PHOENIX, AZ 85004
                                      TEL: (774)768-AADI (2234)
            Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 7 of 163

....



             Peter Strojnik, State Bar No. 6464
        1
             STROJNIK P.C.
        2    40 North Central Avenue, Suite 1400
             Phoenix, AZ 85004
        3    Telephone: (774) 768-2234
        4    Case Specific Email Address:
             l 845EBASELINERD@aadi.org
        5
             Attorneys for Plaintiff
        6
        7                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

        8                        IN AND FOR THE COUNTY OF MARICOPA
        9

       10     Advocates for Individuals with Disabilities,
       11
              LLC, and David Ritzenthaler,                     Case No:          CV 2 Ol 6 - 0 0 4 61 2
       12                           Plaintiff,
                                                                                 SUMMONS
       13

       14     vs.
                                                                                  .        I " 'vice from a lawyer,
                                                                    It ~ou would 11\<e \ega (.<Ru ' rral Service at
       15     FRYS FOOD AND DRUG STORES                                 Contact \he 1.awyer e1e
                             Defendants.                                             6G2-257-44M               ·
       16                                                                 .                or           m
                                                                          •. .   www.martcopa\awyers.o.~
       17    TO THE ABOVE NAMED DEFENDANT(S):                              ·         Sponsored by \he . .
                                                                           Maricopa Ceun\.'j Bar Association
       18    YOU ARE HEREBY SUMMONED and required to appear and defend, within the time
       19    applicable, in this action in this Court · If served within Arizona, you shall appear and
             defend within 20 days after the service of the Summons and Complaint upon you,
       20    exclusive of the day of service. If served out of the State of Arizona - whether by direct
             mail, by registered or certified mail, or by publication - you shall appear and defend
       21
             within 30 days after the service of the Summons and Complaint upon you is complete,
       22    exclusive of the day of service. When process is served upon the Arizona Director of
             Insurance as an insurer's attorney to receive service of process against it in this State, the
       23    insurer shall not be required to appear, answer or plead until the expiration of 40 days of
       24    such service upon the Director. Service by registered or certified mail without the State
             of Arizona is complete 30 days after the date of filing the receipt and affidavit of service
       25    with the Court. Service by publication is complete 30 days after the date of first
             publication. Direct service by mail is complete when made. Service upon the Arizona
       26    Motor Vehicle Superintendent is complete 30 days after the Affidavit of Compliance and
       27    return receipt of Officer's Return. RCP 4.1and4.2; A.R.S. §§ 20-222, 28-502, 28-503.

       28
                Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 8 of 163

.... ,f,




                 YOU ARE HEREBY NOTIFIED that in case of your failure to appear and defend
            1
                 within the time applicable, judgment by default may be rendered against you for the
            2    relief demanded in the Complaint. YOU ARE CAUTIONED that in order to appear
                 and defend, you must file an Answer or proper response in writing with the Clerk
            3    of the Court, accompanied by the necessary filing fee, within the time required, and
            4    you are required to serve a copy of any Answer or Response upon Plaintiff's
                 attorney, or if Plaintiff is not represented by counsel, upon Plaintiff.
            5
                 A request for reasonable accommodations for persons with disabilities must be made to
            6    the division assigned to the case by the parties at least three (3) days before the scheduled
                 court proceeding.
            7
                                            The name and address of Plaintiff is:
            8
            9            · Advocates for Individuals with Disabilities, LLC and David Ritzenthaler
                                           40 North Central Avenue, Suite 1400
           10                                      Phoenix, AZ 85004
           11
           12
                 SIGNED AND SEALED this date: _ _ _ _ _ _ _ _                c_o__P_Y__
                                                                              APR 2 9 2016
           13
           14                                                                MICHAEL K. JEANES, CLER!(:
                                                     Clerk of Court               DEPUTY CLERK,
           15
                                                                                             ......

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          Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 9 of 163.                             ": ~
                                                                                                         ...
                                                                                                         ~   \




..



           Peter Strojnik, State Bar No. 6464
      1
            STROJNIK P.C.
      2     40 North Central Avenue, Suite 1400
            Phoenix, AZ 85004
      3     Telephone: (774) 768-2234
      4     Case Specific Email Address:
           '1845EBASELINERD@aadi.org
      5
           Attorneys for Plaintiff
      6
      7                  IN THE SUPERIOR COURT OF THE ST ATE OF ARIZONA

      8                           IN AND FOR tHE COUNTY OF MARICOPA
      9
                                                                                                 c   r   /, .     ·i·~
     10     ADVOCATES FOR INDIVIDUALS                                                  .    r.


            WITH DISABILITIES, LLC, and David                 Case No: ·CV2016-U'D4,~
                                                                         ·                                       \£
     11
            Ritzenthaler, dealing with Plaintiffs sole
     12     and separate claim,                                     VERIFIED COMPLAINT

     13                              Plaintiff,                            (Civil Rights)
     14
            vs.                                                                  and
     15
            FRYS FOOD AND DRUG STORES                          REQUEST FOR TRIAL BY JURY
     16
     17                               Defendant.

     18              Plaintiff alleges:
     19                                               PARTIES
     20           1. Plaintiff, David Ritzenthaler, currently resides in Scottsdale, Arizona. Plaintiff is
     21              and, at all times relevant hereto, has been legally disabled. Plaintiff is recognized

     22              by the State of Arizona as a member of a protected class under §§41-1492 et seq.

     23              and its implementing regulations, Rl0-3-401 et seq. ("AzDA") and by the United
                     States Congress under 42 U.S.C. § 12102(2); the regulations implementing at 28
     24
                     CFR §§ 36.101 et seq. ("ADA") and therefore has the right of equal access public
     25
                     accommodations. Plaintiffs right(s) as a member of the protected class have been
     26
                     violated.
     27
     28
     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 10 of 163




               2.     Defendant, PRYS FOOD AND DRUG STORES, owns and/or operates a
 1
       business located at 1845 E BASELINE RD                  GILBERT AZ 85233 ("Public
 2
       Accommodation") which is a public accommodation as defined in        A.R.S~   § 41-1492 and
 3
       42   u.s.c. § 12181.
 4
                                           JURISDICTION
 5
               3.     This Court has original jurisdiction over the AzDA claims by virtue of
 6
       A.R.S. §§ 12-123 and 41-1492.8 and concurrent jurisdiction over the ADA claims by
 7     virtue of A.R.S. § 12-123 and Article 6, Section 14(1) of the Arizona Constitution gives
 8     the superior court original jurisdiction of "[ c ]ases and proceedings in which exclusive
 9     jurisdiction is not vested by law in another court."
10                                        INTRODUCTION
11             4.     David Ritzenthaler brings this action against Defendant, alleging violations
12     of AzDA, Article 8, Chapter 10 of Title 41 of the Arizona Revised Statutes, A.R.S. §§

13     41-1492 et seq. and its implementing regulations, RI 0-3-401 et seq. and the ADA, Title

14     III of the Americans with Disabilities Act, 42 U .S.C. §§ 12101 et seq., and its
       implementing regulations 28 CFR §§ 36.101 et seq. Plaintiff suffers from disability as
15
       this term is defined in A.R.S. §41-1492(6) and interpreted pursuant to A.R.S. §41-
16
       1492.12. Plaintiff brings this civil rights action against Defendant for failing to design,
17
       construct, and/or own or operate facilities that are fully accessible to, and independently
18
       usable by, disabled individuals. Specifically, Defendant's Public Accommodation has
19
       barriers of access to disabled individuals by virtue of inadequacy of handicapped parking
20
       spaces, insufficient designation or signage and or insufficient disbursement of such
21     parking spaces, notwithstanding that such modifications are readily achievable.
22     Therefore, Plaintiff seeks a declaration that Defendant's Public Accommodation violates
23     State and Federal law and an injunction requiring Defendant to install means of access in
24     compliance with ADA requirements so that the Defendant's Public Accommodation is
25     fully accessible to, and independently usable, by, disabled individuals.
26             5.    Plaintiff further requests that, given Defendant's historical failure to

27    comply with the AzDA's and the ADA's mandate, the Court retain jurisdiction of this

28 . matter, for a period to be determined,· to ensure that Defendant comes into compliance
                                               2
     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 11 of 163




       with the relevant requirements of the AzDA and the ADA, and to ensure that Defendant
 1
       has adopted, and is following, an institutional policy that will, in fact, cause Defendant
 2
       to remain in compliance with the law.
 3
                6.        According to 510-3-404, all places of public accommodations and
 4
       commercial facilities must comply with the 2010 Standards (as defined in R-10-3-401(1))
 5
       and the provisions of 28 CFR 36.101 through 36. l 04, 36.201 through 36.206, 36.208,
 6
       36.211, 36.301 through 36.311, and 36.507.
 7       7.          In compliance with R10-3-405(H)(l), Plaintiffs address is c/o Peter Strojnik,
 8            Plaintiff's attorney, 40 North Central Avenue, Suite 1400, Phoenix, AZ 85004.
 9                                      REAL PARTY IN INTEREST
10              8.        Plaintiff is thereal party in interest pursuant to ARCP Rule 17(a) ("a party
11     authorized by statute may sue in that person's own name") and A.RS. § 41-1492.08 (C)

12     ("A person may file a civil action in superior court not later than two years after the

13     occurrence or the termination of an alleged discriminatory public accommodation

14     practice ... ")

15
                              ALLEGATIONS COMMON TO ALL COUNTS
                9.       Plaintiff has a State issued handicapped license plate and or placard
16
       granting Plaintiff the right to park in properly designated handicapped parking spaces.
17
                10.      On or about 3/15/2016, Plaintiff became aware that there were insufficient
18
       handicapped parking spaces, insufficient designation or signage and or insufficient
19
       disbursement of such parking spaces in order to provide the "shortest accessible route
20
       from parking to an entrance", specifically but not limited to violation of the 2010 ADA
21     Standards of Accessibility Design 502.6 in that it fails to include a sign with the
22     International Symbol of Accessibility complying with 703. 7.2.1, and violation of the
23     2010 ADA Standards of Accessibility Design §§216.5 and 502.6 in that it fails to identify
24     van parking spaces by the designation "van accessible" and or fails to maintain the
25     minimum height of 60 inches (1525 mm) above the finish flo. Therefore, Plaintiff and

26     others similarly situated are not permitted equal access.

27
28
                                                     3
     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 12 of 163




              11.      Plaintiff attaches US Department of Justice Business Brief relating ·to
 1
       restriping of parking lots, Exhibit 1, and US Department of Justice ADA Design Guide 1
 2
       as Exhibit 2 in order to aid non-compliant public accommodations with compliance.
 3
              12.      Plaintiff has actual knowledge of at least one barrier related to Plaintiffs
 4
       disability as alleged in the preceding paragraph. Consequently, Plaintiff and others
 5
       similarly     situated   are   currently   deterred   from   visiting   Defendant's   Public
 6
       Accommodation by this accessibility barrier. Therefore, Plaintiff has suffered an injury-
 7     in-fact for the purpose of standing to bring this action. Upon information and belief, there
 8     are other potential violations and barriers to entry that will be discovered and disclosed
 9     during the discovery and disclosure process.
10            13.      Without the presence of adequate handicapped parking spaces, sufficient
11     designation or signage and or sufficient disbursement of such parking spaces, Plaintiffs

12     disability prevents Plaintiff and other disabled persons from equal enjoyment of the

13     Defendant's Public Accommodation.

14            14.      Plaintiff and other disabled persons have the right be able to visit
       Defendant's Public Accommodation in the future, for business, pleasure, medical
15
       treatment or other commercial purposes and utilize Defendant's Public Accommodation
16
       with adequate parking, sufficient designation or signage and sufficient disbursement of
17
       such parking spaces for the disabled, and remedies of other existing AzDA and ADA
18
       violations.
19
              15.      As a result of Defendant's non-compliance with the AzDA and the ADA,
20
       Plaintiff will avoid and not visit Defendant's Public Accommodation in the future unless
21     and until all AzDA and ADA violations have been cured.
22            16.      The existence of barriers deters Plaintiff and other disabled persons from
23     conducting business or returning to Defendant's Public Accommodation. Upon
24    information and belief, other disabled persons are also deterred from visiting there or
25    otherwise precluded from frequenting Defendant's Public Accommodation due to its
26    non-compliance with the AzDA and the ADA

27
28
                                                   4
     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 13 of 163




              17.      As a result of Defendant's non-compliance with the AzDA and the ADA,
 1
       Plaintiff and others similarly situated; unlike persons without disabilities, are denied
 2
       equal access.
 3
              18.      Upon information and belief, though Defendant may have centralized
 4
       policies regarding the management and operating of its Public Accommodation,
 5
       Defendant does not have a plan or policy that is reasonably calculated to make its entire
 6
       facility fully accessible to and independently usable by, disabled individuals.
 7            19.      Plaintiff's agents verified that Defendant's Public Accommodation lacks
 8     the mandatory elements required by the 2010 Standards to make it fully accessible to and
 9     independently usable by disabled people.
10            20.      As a disabled person, Plaintiff has a keen interest in whether public
11     accommodations are. fully accessible to, and independently usable by, the disabled,

12     specifically including an interest in ensuring that parking spaces comply with the 2010

13     Standards.

14            21.      Plaintiff, or an agent of Plaintiff, intends to return to Defendant's Public
       Accommodation to ascertain whether it remains in violation of the AzDA and the ADA.
15
              22.      Plaintiff and other disabled persons have been injured by Defendant's
16
       discriminatory practices and failure to remove architectural barriers. These injuries
17
       include being deterred from using Defendant's facilities due to the inaccessibility and or
18
       insufficient designation of appropriate parking.
19
              23.      Without injunctive relief, Plaintiff and other disabled persons will continue
20
       to be unable to independently use Defendant's Public Accommodation under the ADA.
21
              24.      Plaintiff shall seek to amend the Verified Complaint upon further
22    inspection of Defendant premises for the purpose of alleging additional violations, if any.
23                                         COUNT ONE
24                     (Violation of AzDA and ADA and Negligent Compliance)

25           25.       Plaintiff incorporates all allegations heretofore set forth.

26           26.       Defendant has discriminated against Plaintiff and other disabled persons in

27    that it has failed to make its Public Accommodation fully accessible to, and independently

28    usable by, individuals who are disabled, in violation of AzDA, Article 8, Chapter 10 of
                                               5
     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 14 of 163




       Title 41 of the Arizona Revised Statutes, A.R.S. §§ 41-1492 et seq. and its implementing
 1
       regulations, R 10-3-401 et seq. and the ADA, Title III of the Americans with Disabilities
 2
       Act, 42 U.S.C. §§ 12101 et seq., and its implementing regulations 28 CFR §§ 36.101 et
 3
       seq.
 4
              27.    Upon information and belief, Plaintiff alleges that Defendant attempted to
 5
       comply with all laws including the AzDA and the ADA, but that his attempts were
 6
       negligent and fell short of strict compliance. Defendant has a duty to Plaintiff and other
 7     disabled persons to comply with the AzDA and the ADA and to do so in a non-negligent
 8     manner. Defendant's negligence has caused harm and damage to Plaintiff.
 9            28.    Defendant has discriminated against Plaintiff and other disabled persons in
10     that it has failed to remove architectural barriers to make its Public Accommodation fully
11     accessible to, and independently usable by individuals who are disabled in violation of
12     the AzDA and the ADA and, particularly, 42U.S.C.§12182(b)(A)(iv) and Section 208.2

13     of the 2010 Standards, as described above. Compliance with the requirements of section

14     208.2 of the 2010 Standards would neither fundamentally alter the nature of Defendant's
       Public Accommodation nor result in an undue burden to Defendant.
15
              29.    Compliance with AzDA and the ADA is readily achievable by the
16
       Defendant due to the low costs. Readily achievable means that providing access is easily
17
       accomplishable without significant difficulty or expense.
18
              30.    Conversely, the cessation of compliance with the ADA law is also readily
19
       achievable by redrawing the parking spaces to its original configuration and or changing
20
       signage back to the same. Therefore, injunctive relief should issue irrespective of
21
      Defendant's     potential   voluntary   cessation pursuant to       the   Supreme Court's
22    announcement in Friends of the Earth case 3.
23
24    3
        Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 189, 120 S.Ct.
25    693, 145 L.Ed.2d 610 (2000):

26            It is well settled that a defendant's voluntary cessation of a challenged
              practice does not deprive a federal court of its power to determine the legality ·
27
              of the practice. If it did, the courts would be compelled to leave the defendant
28            free to return to his old ways. In accordance with this principle, the standard
                                                     6
     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 15 of 163




              31.      Defendant's conduct is ongoing. Plaintiff invokes Plaintiffs statutory right
 1
       to declaratory and injunctive relief, as well as costs and attorneys' fees, both pursuant to
 2
       statute and pursuant to the Private Attorney General doctrine.
 3
             32.       Without the requested injunctive relief, specifically including the request
 4
       that the Court retain jurisdiction of this matter for a period to be determined after the
 5
       Defendant certifies that it is fully in compliance with the mandatory requirements of the
 6
       AzDA and ADA that are discussed above, Defendant's non-compliance with the AzDA
 7     and ADA; mandatory requirements may be or are likely to recur."
 8            WHEREFORE, Plaintiff demands judgment against Defendant as follows:
 9                  a. A Declaratory Judgment that, at the commencement of this action,
10                     Defendant was in violation of the specific requirements of AzDA and the
11                     ADA described above, and the relevant implementing regulations of the
12                     AzDA and the ADA, in that Defendant took no action that was reasonably

13                     calculated to ensure that its Public Accommodation was fully accessible to,

14                     and independently usable by, disabled individuals;
                    b. Irrespective of Defendants "voluntary cessation" of the ADA violation, if
15
                       applicable, a permanent injunction pursuant to 42 U.S.C. § 12188(a)(2)
16
                       requiring Defendant to comply with Sections 208.2 of the 2010 Standards,
17
                       and which further directs that the Court shall retain jurisdiction for a period
18
                       to be determined after Defendant certifies that its Location is fully in
19
                       compliance with the relevant requirements of the ADA to ensure that
20
                       Defendant has adopted and is following an institutional policy that will in
21                     fact cause Defendant to remain fully in compliance with the law;
22                  c. Irrespective of Defendants "voluntary cessation" of the ADA violation, if
23                     applicable, payment of costs of suit, expenses and attorney's fees;
24
25           we have announced for detennining whether a case has been mooted by the
             defendant's voluntary conduct is stringent: A case might become moot if
26           subsequent events made it absolutely clear that the allegedly wrongful
             behavior could not reasonably be expected to recur. The heavy burden of
27
             persuading the court that the challenged conduct cannot reasonably be
28           expected to start up again lies with the party asserting mootness.
                                                 7
 Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 16 of 163




               d. Irrespective of Defendants "voluntary cessation" of the AzDA and ADA
 1
                   violation, if applicable, payment of attorneys' fees pursuant to 42 U.S.C. §
 2
                   12205, 28 CFR § 36.505 and other principles of law and equity and in
 3
                   compliance with the "prevailing party" and "material alteration" of the
 4
                   parties' relationship doctrines 4 in an amount no less than $5,000.00; and,
 5
               e. Order closure of the Defendant's Public Accommodation until Defendant
 6                 has fully complied with the ADA; and
 7             f. A finding that Defendant's attempts to comply with the AzDA and the
 8                 ADA were negligent, causing damage; and
 9              g. Damages pursuant to A.R.S. §41-1492.09(B); and
10             h. The provision of whatever other relief the Court deems just, equitable and
11                 appropriate.

12                                DEMAND FOR JURY TRIAL

13          Plaintiff hereby demands a jury trial on issues triable by a jury.

14          RESPECTFULLY SUBMITTED this Thursday, April 21, 2016.

15                                              STROJNIK P .C.

16
                                                    ~
17                                              Peter Strojnik (6464)
                                                40 North Central Avenue, Suite 1400
18
                                                Phoenix, AZ 85004
19                                              Attorneys for Plaintiff
20                     VERIFICATION COMPLIANT WITH Rl0-3-405
21
            I declare under penalty of perjury that the foregoing is true and correct.
22
            DATED this Thursday, April 21, 2016.
23
24
            /s/Z>add~~
25          Electronic Signature Authorized
26          David Ritzenthaler
     4
27    As applicable to ADA cases, see Coppi v. City of Dana Point, Case No. SACV 11-1813 JGB (RNBx)
     (February, 2015)
28
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13                                   EXHIBIT 1
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                       II




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         Amelie.ans with Disabilities Act·
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 ADA Business BRIEF::
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 Accessible.Parking                Spa~es
 for  Cars·..
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 Accessible parking spacetJ'fof car-:;
                                                                Mh1imum Number .of Ac~essibt~ Parking ·spa~es
                                                                    ADAStandards.
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       fo and   from.the v:m-accessible
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e      an·additio1JJ.1l·sfan that ideulliies
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       .the parking spa~es ·•<;;an ·
                                                                                                                                               Ottobel· 2{)01
       ·accessible."                ·



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                         II

 location•                                        Features of Accessible Parking Spaces fQr Cars
· Ac>ce~sible parking ·spaces mri:.i be
 located on the shortest accessible                                    Sign with the.internatlonal symbol .of accessibility mounted high
                                                                       enougti so itcari'be se'enwhile a vehicle is parked in the space.
 r-01.ite oittavel.to an ac.cesdble
'facility .en!l1lllce .. \Vhere· buUdmg,!?                             lf the accessible.route is located'in front orthe space, install
have multiple accessit)le .entrances·                                  whee1stops to keep vehicles•from re.duclng wid'th below 36 inches.
v.~ith adjacentpark:fug; th~.·acc~ssiple
p~ikmg q)tices must he dispett.ed 3lld ·
                                                                    :nccesi;ibli: rout!? ~min .. :li-i nch'wldthl
located dose.Stt:o' the.a~cessible
eill1·ances.
                                                 .......                                                                               Access aisle of at least 60~Jnch width·
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                                                                                          high enough, SO the sign can.be'Seen
 clustered in one     more lots ifor                                   when a vehicle is ·parked.in the space
equivalent or greate1' acce:;~ibility is                                  :acoessi'ble ·route
provided in terms 'Of' dt.!.-tanc•e from         I I I I I.I 1.·    ·I I \:t~~.~;~~,!,.~~.... I I                   UJ 1   I~ l·I I
the a!:cesr;ible·entrance, parl::ing fees,                                 111:: :.'. ·:::;~'.·'.:~!!SI
'and c onvenieuce: vrui~·accessible                      === ..111:::;·::::;::::;::     ...===Ill
                                                                    ;:·:;.: ::: :: :: '.Cl
 pm:l:Uig npaces_located mpat'k.U;tg                                       me:: '"                                                    96" mln.·width access aisle; level
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                                                                           111:::.:~::::;::                :111                       located bE;!'side th.~ van pinking space
(to.acci:iwmod3te the 9S~incl3 riillii~
:ID~ veriie;?-11ieig1rt reqtiiresµent).'                                   :~· -~:·~:UH·~ ~E::
                                                               _ _ _ _ ___,_              __.,.___ _-lilt- Min,                             98~inch~high            clearance at van
                                                                                                                                      parking ,space, access aisle, and on
Free Technical Assistance                                                                                                             vehi~ular ·route to and from van space
.Answers to tecllnical and g(.neral
questions about,restnping parking ·
Jots or other.ADArequit·ements are
·,available. ·by telephone -0n weekday~;
                                                    f 96~          min.
                                                             2440' )\
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 ·You may also order.the ADA
 Sta1ida1'ds: forAccessibJe.Desiro arid
'?ther ADA piiblicatio~;:·, :includwg             .ADA Website and ADA Bitsiness ·Connection
regulations focpri·irate bu:.;inesses, at        'You tlla'fi also. vie\'' Of download ADA'infoniiation Oil the Department's .ADA
 anv time da;i or iii Eilit Information           website.:at aU):til:ne" The !iite pro•.?ide& access to the ADA Business ·
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·ab-0utADA-related IRS 'ta..'{ credits             Conue-ction and          ADA design standards, ADA regulations, ADA policy
 and ded;uctious irialso·available from            letters, technical assistanee materials, and general ADA infonnation, It also
 the ADA Infoh.nation Line.·                     ,provide• ,liul:s •to other Federal agencies, and updates on new .IDA .require-
                                                  ment'> and enforcement efforts. www.usdoj.gov/crt/adaladahom1.htm
              Dep:ilJ'tment fif Justkt'
             ADA Information Line                Reference:
                                                 ADA Standards for Accessible Design (28 CFRPart 36): •
              800-514-0301 (voice)
               800-514-0383 fnY}                 § 4.1 :6 Alte1:ations; .S 4.L2 Acces5ible Sites. and Exterior•FacilifieS:: Ne\\'
                                                     Coo':>trUction; § 4.6:1 Parking and Passenger Loading Zone:;, and
                                                 § 4.3 Accesdble.R6ute.         ·                   .        n.,,..,li· t. ·                                                         _,j
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1\ . DA
Design Guid~                                D   Restri.ping Parking Lots

Accessible Parking Spaces
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gcrvemlu.ent agency, or other..c-Ove:red        Van~accessib le. paik,J.ng spaces.are                               .One of eightacces:Jible parlcing
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pfovid.e. aecesjj\ible p:ad:ing spaces.a~       :·spaees :for cars exceptfor three fe,a:- .                         'be·:i;~~-accessible.
requi.1'.ed b)• the .WA Standar& for             ture!i :Oeededfor:.\1ans:    ·       ·
Accessible Desiim: :.Failure to do:so.
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or seiirfoes to. the p1'1plic ;ha·v.e a·                 ing .~pace, .the adjacent m::·cess
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reillove b~·iern·fo ai:~ess.m eXi:.tine:                 to and :from the van-accessible
pa:d:in1dots \vheu,ifisreadilv           .~                  space; and
                to
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i!i readily achievable. fa· most ·cases.                 accessible.~·           ..

Thi:J ADA Design Guide provide:;;
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accessible car.and van spaces and'                               nfinimum ~umber of Acce.ssible.. Parking Spact11s·
btn.v many spm::$ to.p1;ovi~                                                 ·        AD A Standarddor A-::.-.:ezz.ib!e Dezign 4, 1.2 (5)                 ·
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are identified \Vitb a siim and iocated                                   ~
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    LocatiQn                                         Features ufArces.~i~le Parking·spaces for Cars
    A,ccessibleparkin.g :.paces·mu-;t be·
    located ou. the <;;hottest" accessible·                           Sign with the·int:emat,ioi1al symbol ot-accessibmty mounted htgh
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    tt\' euirance ..\"liihere. buildings.ha\'e
    ·nl1.i:lti:ple accessible enfrance::;"with                        n ttie ·ac,cess'ible route is located in.front ofthB: sp_rice. inslafl
     adjacent parking, the ;accessib1~                                wheelsto.pstokeep vehicles·from reductngwidth: below 36 inches.
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    and located Closest t6 the .accessible                         scc...i;sible muie (min. 3&.ind1 width'.!
    entrances.                                       ••••••        • •• fl,~,!',".'!M··· ... ~···!····· I
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                                     acces-                                                                               must not exterio    into the access aisle.
 t'>'.3YS be pro\•ided from ·tne
·sible parkingt!l the acce!;sible en-
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feet-\vi~; andhas·a fum,-·;;;table; slip--
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    Accessible parking spaces til.'iy be             Thtee Additional Features for '1llne-Accessible Parking Spaces
    Clur;tered in orie 0rmorelots if · .
    equivalent or greater.accessibility is                              . Sign with "van aecesslble" and the iritematlona.i synihol of
    provided in terms of distance from                                     accessibiilty mounted hlgh·enough                       so the sign can tie seen when
·the accessible·entrance~.parking fees,                                    a vehicle is parked io the space
 and-c<>nvenience. 'Van~accessible ·
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 raees ma\rbe clur>ie1'ed ou one floor
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    mum :"'ertical heig:ht:requirement).
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    Free Je.chnicalAssista_.ce·                                           :;:. ~ ~ ~-:~ '.: ~- ~ ~: ~ :.::~ ~=            Mln. SS·inch·hlgh clearance at van
    Ans\\•ers to tecbriical a~ ~eneral                                                                                    parking spac~. access.aisle, and on
'questitinsabout:resu·ipirig?parking·lotei                                                                                vehicular roUtB.tO. and from Van space
 or other ADA requirements· are avail-
 able hy -teiephone on weekdays. You
 ma,y also order the •.\DA :Standard;; for
 A-ccessib.le Design and 01he1: ADA
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                                                        J.96"min.J 96" min.J.96' mtnJ
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 Iufo1mation about ADA-related IFS
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 available from·the ADA lnformatiou             Y01> may also revievt or dovmload        ADA St®dards for Accessible..
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          Department of Justice                 site provides acces,$ to.WA regula-       § 4. L6 Alterations; .              ..
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        .IDA Information Line                        and e:eueral ADA llifonnation. It                                     ·rior Facilities: New Con~uiJ.ction..
                                                     ahopro•ddes links to othet· Federal                                    and.                     ·         ·
          800-514-0301 (voice)                       agencies; and updates-on aevr ADA                                      § 4. L6 Parking and Passenger
                                                     requirements and enforcement                                           Loadin_g Zones.
            800-514-0383 (tf)')                      efforts; lntemet address:
                                                     1-rww.u~doj. g<n-rrr:t!adnfo dahoml.htm
pn.g:e. 2 of 2                                                                                                            Duplication of this document is -~mcoutaged.



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       Peter Strojnik, State Bar No. 6464                                                              .;. .
                                                                         APR 29 2016
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       STROJNIK P.C.                                                                           ·.·.:
 2     40 North Central Avenue, Suite 1400
                                                                         MICHAEL K. JEANES, CLERK              ;·..
       Phoenix, AZ 85004                                                      V. MARTINEZ
 3     Telephone: (774) 768-2234                                             DEPUTY CLERK
 4     Case Specific Email Address
       1845EBASELINERD@aadi.org
 5     Attorneys for Plaintiff
 6
                  IN THE SUPERIOR COURT QF THE STATE OF ARIZONA
 7
                          IN AND FOR THE COUNTY OF MARICOPA
 8
 9
       ADVOCATES FOR INDIVIDUALS                                  CV2016-0046'12
10     WITH DISABILITIES, LLC, and David             Case No:
       Ritzenthaler, dealing with Plaintifrs sole
11
       and separate claim,
12                                                            CERTIFICATE OF
                            Plaintiff,                         ARBITRATION
13
14     vs.

15     FRYS FOOD AND DRUG STORES
16                           Defendant.
17
18           The above cause is not subject to compulsory arbitration.
19
             RESPECTFULLY SUBMITTED this Thursday, April 21, 2016.
20
                                                STROJNIK P.C.
21
22                                              Peter Strojnik (6464)

23
24
25
26
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28
     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 25 of 163




       Peter Strojnik, State Bar No. 6464
 1
       STROJNIK P.C.
 2     40 North Central Avenue, Suite 1400
       Phoenix, AZ 85004
 3     Telephone: (774) 768-2234
 4     Case Specific Email Address
       1845EBASELINERD@aadi.org
 5
       Attorneys for Plaintiff
 6
 7                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

 8                        IN AND FOR THE COUNTY OF MARICOPA
 9
10     Advocates for Individuals with Disabilities,
11
       LLC, and David Ritzenthaler,
                                                       Case No:   ·c V2 (\ ·1 6 - U0 4 6 ·1 2
12                           Plaintiff,
                                                          DISCOVERY REQUEST NO 1
13
14      vs.

15      FRYS FOOD AND DRUG STORES,
                       Defendants
16
17     TO: DEFENDANT(S)

18                                   INSTRUCTIONS FOR USE
19
       A. All information is to be divulged which is in the possession of the individual or
20.       corporate party, his attorneys, investigators, agents, employees or other representatives
          of the named party.
21
22     B. When an individual interrogatory calls for an answer which involves more than one
          part, each part of the answer should clearly set out so that it is understandable.
23
       C. When the terms "you", "Plaintiff' or "Defendant" are used, they are meant to include
24        every individual party and include your agents, employees, your attorneys, your
25        accountants, your investigators, anyone else acting on your behalf. Separate answers
          should be given for each person named as the party, if requested.
26
       D. When the term "document" is used, it is meant to include every "writing", "recording"
27        and photograph" as those terms are defined in Rule 1001, Ariz. R. Evid.
28
     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 26 of 163




       E. Where the terms "claim" or "claims" are used, they are meant to mean or to include a
 1
          demand, cause of action or assertion for something due or believed to be due.
 2
       F. Where the terms "defense" or "defenses" are used, they are meant to mean or to include
 3        any justification, excuse, denial or affirmative defense in response to the opposing
          party's claim.
 4
 5     G. Where the term "negotiation(s)" is used, it is meant to mean or to include
          conversations, discussions, meeting, conferences and other written or verbal exchanges
 6        which relate to the contract.
 7     H. Where the term "ADA" is used, it refers to Title III of the Americans with Disabilities
 8        Act, 42 U.S.C. §§ 12101 et seq., and its implementing regulations 28 CFR §§ 36.101
          et seq.
 9
       I. Where the term "AzDA" is used, it refers to A.R.S. §§ 41-1492 et seq.           and its
10        implementing regulations, Rl0-3-401 et seq.
11
       J. Where the term "Standards" is used, it refers to 2010 Standards of Accessibility Design
12        promulgated by the United States Department of Justice.

13     K. Where the term "Public Accommodation" is used it refers to the facility referenced in
          the Verified Complaint, its management and ownership.
14
15           Pursuant to Arizona Rules of Civil Procedure, Rules 26 through 37, please provide

16     the following discovery:

17
                          UNIFORM CONTRACT INTERROGATORIES
18
             Please answer Uniform Contract Interrogatories 1, 2, 4, 5, 6, 7, 8, 9, 10 and 11.
19
20
                                  REQUESTS FOR ADMISSIONS
21
       1. Admit that the public accommodation which is the subject matter of the Verified
22
          Complaint was   in violation of the AzDA, the ADA and the Standards.
23
24
                    ADMIT                              DENY- - - -
                             ----
25     2. Admit that the public accommodation which is the subject matter of the Verified
26        Complaint does not have policies regarding the operation and management of the
27        Public Accommodation.
28                  ADMIT                              DENY
                             ----                             ----
                                                2
     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 27 of 163




 1
       3. Admit that the Public Accommodation which is the subject matter of the Verified
 2
          Complaint does not have a plan or policy that is reasonably calculated to make its entire
 3
          public accommodation fully accessible to and independently usable by disabled
 4
          individuals.
 5                                                       DENY_ _ __
                     ADMIT - - - -
 6
 7                    NON-UNIFORM CONTRACT INTERROGATORIES
 8      (If spaces provided below are insufficient to fully disclose requested information,
               please attach additional sheets referencing the proper interrogatory)
 9
10     1. If you did not unconditionally admit each of the Requests for Admission above, please
          state all facts and legal considerations for your denial.
11
12
13
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       2. Please describe all actions you or anyone on your behalf have/has taken since 1991 to
          comply with the AzDA, the ADA and the Standards.
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     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 28 of 163




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10     3. Please describe in detail any actual or suspected non-compliance of the Public
11        Accommodation with the AzDA, the ADA or the Standards.

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24     4. Please identify the person or entity responsible for the Public Accommodation's
25        compliance with the AzDA, the ADA and the Standards.

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     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 29 of 163




 1
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 6
 7     5. Please identify by name, address, telephone number, e-mail address any and all tenants
 8        who rent or lease space at the Public Accommodation.
 9
10
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23
24                     REQUEST FOR PRODUCTION OF DOCUMENTS
25
26     1. Please produce any and all policies regarding the operation and management of the
27        Public Accommodation, including, without limitation, any plan or policy that is

28

                                                5
     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 30 of 163




          reasonably calculated to make its entire pubic accommodations fully accessible to and
 1
          independently usable by disabled individuals.
 2
 3
       2. Please produce any and all architectural drawings, plats, maps and schematics for the
 4
          Public Accommodation.
 5
 6
       3. Please produce any and all rental or lease agreements for any space within the Public
 7        Accommodation effective on the date of the filing of the Verified Complaint until the
 8        present. Further produce all rental/lease applications and financial records of each
 9        renter or tenant.
10
11     4. If you claim that compliance with the AzDA, the ADA and/or the Standards is not

12        readily achievable, please produce your complete financial records for the 5 years

13        preceding the issuance of this Discovery Request No 1. These records include, without

14        limitation, tax records, profit and loss statements, income statements, bank statements,
          credit applications,
15
16           RESPECTFULLY SUBMITTED this Thursday, April 21, 2016.
17
                                                 STROJNIK P.C.
18
19
                                                 Peter Strojnik (6464)
20                                               Attorneys for Plaintiff
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Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 31 of 163




          EXHIBIT B
          Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 32 of 163




CORPORATION SERVICE COMPANY"

                                                                                                                          null/ ALL
                                                                                                      Transmittal Number: 15300271
Notice of Service of Process                                                                             Date Processed: 06/22/2016


Primary Contact:            Rene Jent
                            The Kroger Co.
                            1014 Vine Street
                            Cincinnati, OH 45202-1100

Entity:                                        Smith's Food & Drug Centers, Inc.
                                               Entity ID Number 2220128
Entity Served:                                 Smith's Food & Drug Centers Inc
Title of Action:                              Advocates for Individuals with Disabilities Foundation, Inc. vs. Smith's Food and
                                              Drug Centers Inc
Document(s) Type:                             Summons/Complaint
Nature of Action:                              Discrimination
CourUAgency:                                  U.S. District Court, Arizona
Case/Reference No:                            CV2016-007115
Jurisdiction Served:                          Arizona
Date Served on CSC:                           06/21/2016
Answer or Appearance Due:                     20 Days
Originally Served On:                         csc
How Served:                                   Personal Service
Sender Information:                           Peter Strojnik
                                              77 4-768-2234

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                To avoid potential delay, please do not send your response to CSC
                              CSC is SAS70 Type II certified for its Litigation Management System.
                         2711 CenteNille Road Wilmington, DE 19808 (888) 690-2882           I   sop@cscinfo.com
   Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 33 of 163




                                    STROJNIK,                  P .C.
                                   ATTORNEY AT LAW




                                        BY PROCESS SERVER


                                         Tuesday, June 7, 2016

CiMITH'S    FOOD AND DRUG CENTERB                   me>
  c/o CORPORATION SERVICE COMPANY -Its Statutory Agent
  2338 W ROYAL PALM RD STE-J
  Phoenix, AZ 85021
        Re:   Fabian Zazueta v. SMITH'S FOOD AND DRUG CENTERS INC
              Maricopa County SuperiorCourt

  Dear Sir or Madam:

  You are being served with the Summons, Verified Complaint, Certificate of Arbitration
  and Discovery Request No. 1 in the above captioned matter.

 Please forward this package to your insurance company and your legal counsel if you have
 and or retained such.

 I look forward to hearing from you or your legal representative at the earliest opportunity
 so we may mutualy explore a feasible and economical resolution to this matter.

 Please note that all communication regarding all Enforcement Actions are performed solely
 through email at the following e-mail address: 3616ERayRD@aadi.org.

                                                  Sincerely,


                                                  Peter Strojnik
 En els:
     1.    Summons
     2.    Verified Complaint
     3.    Certificate of Arbitration
     4.    Discovery Request No. 1




                                                      5 U I TE 5 0 0 PH 0 EN IX, AZ 8 5 0 0 4
                         1 EA 5 T WA 5.H ING T 0 N STREET
                                          TEL: (774)768-AADI (2234)
Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 34 of 163




     Peter Strojnik, State Bar No. 6464
 I
     STROJNIK P .C.
 2   1 EAST WASHINGTON STREET, SUITE 500
     PHOENIX, AZ 85004
 3   (774) 768-2234
 4   Attorney for Plaintiff
     Case Specific Email Address:
 5   3616ERayRD@aadi.org
     www.aid.org
 6

 7
                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 8
                         IN AND FOR THE COUNTY OF MARICOPA .
 9
10
      Advocates for Individuals with Disabilities,
11    Foundation, Inc.,                                Case No:
12                                                                 CV 201 6 ·- 0 O711 5
                            Plaintiff,
13                                                                   SUMMONS
14                                                              If you would like legal advice from a lawy r,
      vs.                                                          Contact the lawyer Referral Service at
15                                                                              602-257·4434
                                                                                      or
      SMITH'S FOOD AND DRUG CENTERS                                    w.w.w.mark,opafawyers,org
16    INC                                                                 . Sponsored by the
17                   Defendants.                                    Mflfll!t11')e €ot:mty Ber .As!odstion

18   TO THE ABOVE NAMED DEFENDANT(S):
19
     YOU ARE HEREBY SUMMONED and required to appear and defend, within the time
20   applicable, in this action in this Court. If served within Arizona, you shall appear and
     defend within 20 days after the service of the Summons and Complaint upon you,
21   exclusive of the day of service. If served out of the State of Arizona - whether by direct
22   mail, by registered or certified mail, or by publication - you shall appear and defend
     within 30 days after the service of the Summons and Complaint upon you is complete,
23   exclusive of the day of service. When process is served upon the Arizona Director of
     Insurance as an insurer's attorney to receive service of process against it in this State, the
24
     insurer shall not be required to appear, answer or plead until the expiration of 40 days of
25   such service upon the Director. Service by registered or certified mail without the State
     of Arizona is complete 30 days after the date of filing the receipt and affidavit of service
26   with the Court. Service by publication is complete 30 days after the date of first
27   publication. Direct service by mail is complete when made. Service upon the Arizona
     Motor Vehicle Superintendent is complete 30 days after the Affidavit of Compliance and
28   return receipt of Officer's Return. RCP 4.1 and 4.2; A.R.S. §§ 20-222, 28-502, 28-503.
Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 35 of 163




     YOU ARE HEREBY NOTIFIED that in case of your failure to appear and defend
     within the time applicable, judgment by default may be rendered against you for the
 2   relief demanded in the Complaint. YOU ARE CAUTIONED that in order to appear
     and defend, you must me an Answer or proper response in writing with the Clerk
 3   of the Court, accompanied by the necessary filing fee, within the time required, and
 4   you are required to serve a copy of any Answer or Response upon Plaintiffs
     attorney, or if Plaintiff is not represented by counsel, upon Plaintiff.
 5
     A request for reasonable accommodations for persons with disabilities must be made to
 6   the division assigned to the case by the parties at least three (3) days before the scheduled
     court proceeding.
 7
                                The name and address of Plaintiff is:
 8
 9                  Advocates for Individuals with Disabilities Foundation, Inc.
                              40 North Central A venue, Suite 1400
10                                     Phoenix, AZ 85004
11
12
     SIGNED AND SEALED this date: --------~~.ia.:-                                  y
13                                                                      JUN 1 O2016
14                                       -------#h.~~r-Mlf7H-i~-K-.,..ff-A, NES,          CLERK
                                         Clerk of Court                          F. BOLL
15                                                                           D!:PUTY CLERK

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Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 36 of 163




 1
     Peter Strojnik, State Bar No. 6464
     STROJNIK P .C.
                                                                        c PY
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 3   (774) 768-2234
 4   Attorney for Plaintiff
     Case Specific Email Address:
 5   3616ERayRD@aadi.org
     www.aid.org
 6
 7                               UNITED STATES DISTRICT COURT
                                     DISTRICT OF ARIZONA
 8
 9    ADVOCATES FOR INDIVIDUALS
      WITH DISABILITIES FOUNDATION,                     Case No:   CV 2 0 1 6 - 0 0 7 1 1 5
10
      INC., a charitable non-profit foundation,
11
                            Plaintiff,                       VERIFIED COMPLAINT
12
13
      vs.
14
      SMITH'S FOOD AND DRUG CENTERS
15
      INC;
16
                             Defendant.
17
            Plaintiff alleges:
18
                                                 PARTIES
19    47.   Plaintiff,   Advocates       for   Individuals with Disabilities   Foundation,   Inc.
20          ("Foundation") is a non-profit charitable foundation. See www.aid.org.
21    48. Defendant, SMITH'S FOOD AND DRUG CENTERS INC, owns and/or operates
22          a business located at 3616 E Ray RD PHOENIX AZ 85044 which is a place of
23          public accommodation pursuant to 42 U.S.C. § 12181(7)(A) which offers public
24          lodging services.

25
26                                             INTRODUCTION
27
28
Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 37 of 163




     49. Plaintiff brings this action against Defendant, alleging violations of Title III of the
 1
           Americans with Disabilities Act, 42 U.S.C. §§ 12101 et seq., (the "ADA") and its
 2
           implementing regulations and A.RS. Title 41, Chapter 9, Article 8, §§41-1492 et
 3
           seq. and its implementing regulations, RI 0-3A01 et seq. (the "AzDA")
 4
     50.   Plaintiff is a charitable non-profit foundation. Plaintiff is known to have past,
 5
           present and future relationships or associations with individuals with disabilities as
 6
           defined in 28 CFR § 36.205. In connection with 28 CFR §36.205, and generally
 7         relating to third-party standing, Plaintiff alleges:
 8          a.   Plaintiff has a close relationship with former, current and future disabled
 9               individuals who are directly protected by the ADA as discrete and insular
10               minorities. See, e.g., www.aid.org.
11          b.   Plaintiff's association with former, current and future disabled individuals

12               arises from Plaintiffs charitable acts of giving to the disabled community,

13               which are interests that are germane to the association's purpose.

14          c.   Plaintiffs close relationship to the third party disabled individuals is such
                 that a third party disabled individuals cannot be reasonably expected to
15
                 properly frame the issues and present them with the necessary adversarial
16
                 zeal to the Court. Third party disabled individuals are hindered to litigate by
17
                 virtue of their status as minors and/or their lack of mobility and/or financial
18
                 resources.
19
            d.   Because only injunctive and declaratory relief is requested, participation in
20
                 the action by individual disabled individuals is not required.
21   51.   Plaintiff brings this civil rights action against Defendant for failing to design,
22         construct, and/or own or operate public accommodations that are fully accessible
23         to, and independently usable by, disabled people. Plaintiff seeks a declaration that
24         Defendant's public accommodation violates federal law and an injunction
25         requiring Defendant to install means of access in compliance with ADA

26         requirements so that their facility is fully accessible to, and independent usable by,

27         disabled individuals. Plaintiff further requests that, given Defendant's historical

28         failure to comply with the AD A's mandate, the Court retain jurisdiction of this
                                           2
Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 38 of 163




          matter for a period to be determined to ensure that Defendant comes into
 1
          compliance with the relevant requirements of the ADA, and to ensure that
 2
          Defendant has adopted and is following an institutional policy that will, in fact,
 3
          cause Defendant to remain in compliance with the law.
 4
     52. In compliance with R10-3-405(H)(l), Plaintiff's address is 40 North Central
 5
          Avenue, Suite 1400, Phoenix, Arizona 85004
 6                                JURISDICTION AND VENUE
 7   53. Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42 U.S.C. §
 8        12188.
 9     54. Plaintiffs claims asserted herein arose in this judicial district and Defendant does
10        substantial business in this judicial district.
11    55. Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c) in that

12        this is the judicial district in which a substantial part of the acts and omissions

13        giving rise to the claims occurred.

14                THE ADA AND ITS IMPLEMENTING REGULATIONS
15    56. On July 26, 1990, President George H.W. Bush signed into law the ADA, a
          comprehensive civil rights law prohibiting discrimination on the basis of
16
          disability.
17
      57. The ADA broadly protects the rights of individuals with disabilities in
18
          employment, access to State and local government services, places of public
19
          accommodation, transportation, and other important areas of American life.
20
      58. Title III of the ADA prohibits discrimination in the activities of places of public
21
          accommodation and requires places of public accommodation to comply with
22        ADA standards and to be readily accessible, and independently usable by,
23        individuals with disabilities. 42 U.S.C. §§ 12181-89.
24    59. Title III states, inter alia, that "[i]t shall be discriminatory to afford an individual
25        or class of individuals, on the basis of a disability . . . with the opportunity to
26        participate in or benefit from a good, service, facility, privilege, advantage, or

27        accommodation that is not equal to that afforded to other individuals." See 42

28        U.S.C.        §12182(b)(l)(A)(ii).     In   addition,    §12182(b)(l)(A)(iii)       and
                                                3
Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 39 of 163




         § 12182(b)(l)(B)] are intended to prohibit exclusion and segregation of individuals
         with disabilities and the denial of equal opportunities enjoyed by others, based on,
 2
         among other things, presumptions, patronizing attitudes, fears, and stereotypes
 3
         about individuals with disabilities. 28 C.F.R. pt. 36, app. C (2011).
 4
      60. On July 26, 1991, the Department of Justice ("DOJ") issued rules implementing
 5
         Title III of the ADA, which are codified at 28 CFR Part 36.
 6
      61. Appendix A of the 1991 Title III regulations (republished as Appendix D to 28
 7       CFR part 36) contains the ADA standards for Accessible Design (1991 Standards),
 8       which were based upon the Americans with Disabilities Act Accessibility
 9       Guidelines (1991 ADAAG) published by the Access Board on the same date.
10    62.In 1994, the Access Board began the process of updating the 1991 ADAAG by
11       establishing a committee composed of members of the design and construction

12       industries, the building code community, and State and local governmental

13       entities, as well as individuals with disabilities.

14    63. In 1999, based largely on the report and recommendations of the advisory
         committee, the Access Board issued a notice of proposed rulemaking to update
15
         and revise its ADA and ABA Accessibility Guidelines.
16
      64. The Access Board issued final publication of revisions to the 1991 ADAAG on
17
         July 23, 2004 ("2004 ADAAG").
18
      65. On September 30, 2004, the DOJ issued an advanced notice of proposed
19
         rulemaking to begin the process of adopting the 2004 ADAAG.
20
      66. On June 17, 2008, the DOJ published a notice of proposed rulemaking covering
21       Title III of the ADA.
22    67. The long-contemplated revisions to the 1991 ADAAG culminated with the DOJ's
23       issuance of The 2010 Standards for Accessible Design ("2010 Standards"). The
24       DOJ published the Final Rule detailing the 2010 Standards on September 15,
25       2010. The 2010 Standards consist of the 2004 ADAAG and the requirements
26       contained in subpart D of 28 CFR part 36.

27                THE AzDA AND ITS IMPLEMENTING REGULATIONS
28
                                             4
Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 40 of 163




         68. The AzDA and its implementing regulations, §§41-1492 et seq. and RI0-3-401 et
 1
             seq. provide similar prohibitions and remedies to the ADA and its implementing
 2
             regulations.
 3
 4                       ALLEGATIONS COMMON TO ALL COUNTS
        69. Pursuant to CFR 36-302(1)(ii) and otherwise, on or about 3/17/2016, Plaintiff,
 5
             who is known to have a relationship or association with individuals with
 6
             disabilities, conducted an investigation into Defendant's public accommodation
 7
             for purposes of ascertaining whether it complies with the ADA. Plaintiff's
 8           investigation confirmed that Defendant's public accommodation was not
 9           accessible to individuals with disabilities in the following particulars:
10                1. Violation of the 2010 ADA Standards of Accessibility Design §§216.5 and
11   502.6 in that it fails to identify van parking spaces by the designation "van accessible"
12   and or fails to maintain the minimum height of 60 inches (1525 mm) above the finish

13   floor

14           Plaintiff has actual knowledge of at least one barrier related to third party disabled

15           individuals as indicated in the preceding allegation. Therefore, third party
             individuals with disabilities are currently deterred from visiting Defendant's
16
             public accommodation by accessibility barrier(s). Upon information and belief,
17
             there are other potential violations and barriers to entry that will be discovered and
18
             disclosed during the discovery and disclosure process.
19
        70. Without the presence of adequate handicapped parking spaces, sufficient
20
             designation or signage and or sufficient disbursement of such parking spaces, third
21
             party individuals with disabilities are prevented from equal enjoyment of the
22           Defendant's Public Accommodation.
23      71.As a result of Defendant's non-compliance with the AzDA and the ADA, third
24           party individuals with disabilities will avoid and not visit Defendant's Public
25           Accommodation in the future unless and until all AzDA and ADA violations have
26           been cured.

27      72. The existence of barriers deters third party individuals with disabilities from

28           conducting business or returning to Defendant's Public Accommodation. Upon
                                                 5
Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 41 of 163




          information and belief, other disabled persons are also deterred from visiting there
 1
          or otherwise precluded from frequenting Defendant's Public Accommodation due
 2
          to its non-compliance with the AzDA and the ADA.
 3
      73. As a result of Defendant's non-compliance with the ADA, third party disabled
 4
          individuals, unlike persons without disabilities, are denied equal access.
 5
      74. Upon information and belief, though Defendant may have centralized policies
 6
          regarding the management and operating of its hotel, Defendant does not have a
 7        plan or policy that is reasonably calculated to make its entire facility fufly
 8        accessible to and independently usable by, disabled people.
 9    75. Plaintiff verified that Defendant's Public Accommodation lacks the mandatory
10        elements required by the 2010 Standards to make their facility fully accessible to
II       and independently usable by disabled people.

12    76. Plaintiff has a keen interest in whether public accommodations are fully accessible

13       to, and independently usable by, individuals with disabilities, specifically

14       including an interest in ensuring that parking spaces comply with the 2010
         Standards.
15
      77. Third party disabled individuals have been injured by Defendant's discriminatory
16
         practices and failure to remove architectural barriers to equal access. These
17
         injuries include being deterred from using Defendant's facilities due to the
18
         inaccessibility and/or insufficient designation of appropriate parking .
19
      78. Without injunctive relief, Plaintiff and others will continue to be unable to
20
         independently use Defendant's Public Accommodation under ADA and AzDA.
21
                                             COUNT ONE
22                                  (Violation of Title III of ADA)

23    79. Plaintiff incorporates all allegations heretofore set forth.

24    80. Defendant has discriminated against third party disabled individuals and others in
         that it has failed to make its public accommodation fully accessible to, and
25
         independently usable by, individuals who are disabled in violation of AzDA,
26
         Article 8, Chapter 10 of Title 41 of the Arizona Revised Statutes, A.R.S. §§ 41-
27
         1492 et seq. and its implementing regulations, Rl0-3-401 et seq. and the ADA,
28
                                              6
Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 42 of 163




                Title III of the Americans with Disabilities Act, 42 U.S.C. §§ 12101 et seq., and
     1
                its implementing regulations 2 8 CFR §§ 36.101 et seq.
 2
             81. Defendant has discriminated against third party disabled individuals in that it has
 3
                failed to remove architectural barriers to make its Public Accommodation fully
 4
                accessible to, and independently usable by individuals who are disabled in
 5
                violation of the AzDA and the ADA and, particularly, 42 U.S.C. § 12 l 82(b)(A)(iv)
 6
                and Section 208.2 of the 2010 Standards, as described above. Compliance with the
 7              requirements of section 208.2 of the 2010 Standards would neither fundamentally
 8              alter the nature of Defendant's Public Accommodation nor result in an undue
 9              burden to Defendant.
10           82. Compliance with AzDA and the ADA is readily achievable by the Defendant due
11              to the low costs. Readily achievable means that providing access is easily

12              accomplishable without significant difficulty or expense .

13           83. Conversely, the cessation of compliance with the ADA law_ is also readily

14              achievable by redrawing the parking spaces to its original configuration and or
                changing signage back to the same. Therefore, injunctive relief should issue
15
                irrespective of Defendant's potential voluntary cessation pursuant to the Supreme
16
                Court's announcement in Friends of the Earth case3 •
17
             84. Defendant's conduct is ongoing, Plaintiff invokes Plaintiffs statutory right to
18
                declaratory and injunctive relief, as well as costs and attorneys' fees, both pursuant
19
                to statute and pursuant to the Private Attorney General doctrine .
20
21
22       3
           Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 189, 120 S.Ct.
23       693, 145 L.Ed.2d 610 (2000):
                It is well settled that a defendant's voluntary cessation of a challenged practice does not
24
                deprive a federal court of its power to detennine the legality of the practice. If it did, the
25              courts would be compelled to leave the defendant free to return to his old ways. In
                accordance with this principle, the standard we have announced for detennining whether a
26              case has been mooted by the defendant's voluntary conduct is stringent: A case might
                become moot if subsequent events made it absolutely clear that the allegedly wrongful
27              behavior could not reasonably be expected to recur. The heavy burden of persuading the
                court that the challenged conduct cannot reasonably be expected to start up again lies with
28              the party asserting mootness.
                                                          7
Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 43 of 163




      85. Without the requested injunctive relief, specifically including the request that the
 1
         Court retain jurisdiction of this matter for a period to be determmed after the
 2
         Defendant certifies that it is fully in compliance with the mandatory requirements
 3
         of the AzDA and ADA that are discussed above, Defendant's non-compliance
 4
         with the AzDA and ADA' mandatory requirements may be or are likely to recur.
 5
                                             COUNT TWO
 6              (Violation A.R.S. Title 41, Chapter 9, Article 8, §§41-1492 et seq. AND
                                      Implementing Regulations)
 7
 8    86. Plaintiff realeges all allegations heretofore set forth.
 9    87. Plaintiff has been damaged and injured by the Defendant's non-compliance with
10       the AzDA.
11    88.Pursuant to A.RS. § 41-1492.08, and §41-1492.09, plaintiff has the right to

12       enforce the AzDA by the issuance of injunctive relief.

13    89.Pursuant to A.RS.§ 41-1492.08, Plaintiff is entitled to preventive and mandatory

14       relief.
      90.Mandatory relief includes relief mandated by A.RS.§ 41-1492.09 obligating the
15
         Office of the Attorney General to take actions specified therein.
16
      91. Pursuant to A.R.S. § 41-1492.09(B)(2), Plaintiff is further entitled to such other
17
         relief as the Court considers appropriate, including monetary damages in an
18
         amount to be proven at trial, but in no event less than $5,000.00.
19
      92. Pursuant to A.RS. § 4 l-1492.09(F), Plaintiff is entitled to attorney's fees and costs
20
         in an amount proven but in no event less than $5,000.00.
21                                       PRAYER FOR RELIEF
22       WHEREFORE, Plaintiff demands judgment against Defendant as follows:
23         j.    A Declaratory Judgment that at the commencement of this action Defendant
24               was in violation of the specific requirements of Title III of the ADA described
25               above, and the relevant implementing regulations of the ADA, in that

26               Defendant took no action that was reasonably calculated to ensure that its

27               Public Accommodation was fully accessible to, and independently usable by,
                 individuals with disabilities ;
28
                                                8
Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 44 of 163




          k. Irrespective of Defendants "voluntary cessation" of the ADA violation, if
 1
             applicable, a permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and
 2
             28 CFR § 36.504(a) which directs Defendant to take all steps necessary to
 3
             bring its public accommodation into full compliance with the requirements
 4
             set forth in the ADA and its implementing regulations, so that the facility is
 5
             fully accessible to, and independently usable by, disabled individuals,
 6           specifically Sections 208.2 of the 2010 Standards, and which further directs
 7           that the Court shall retain jurisdiction for a period to be determined after
 8           Defendant certifies that its facility is fully in compliance with the relevant
 9           requirements of the ADA to ensure that Defendant has adopted and is
10           following an institutional policy that will in fact cause Defendant to remain
11           fully in compliance with the law;
12        I. Irrespective of Defendants "voluntary cessation" of the ADA violation, if

13           applicable, payment of costs of suit, expenses of suit and attorney's fees;

14        m. Order closure of the Defendant's place of public accommodation until
             Defendant has fully complied with the ADA and AzDA;
15
          n. A Declaratory Judgment that at the commencement of this action Defendant
16
             was in violation of the specific requirements of AzDA;
17
          o. Irrespective of Defendants "voluntary cessation" of the ADA violation, if
18
             applicable, a permanent injunction pursuant to AzDA which directs
19
             Defendant to take all steps nec.essary to bring its facility into full compliance
20
             with the requirements set forth in the AzDA, and its implementing
21           regulations, so that the facility is fully accessible to, and independently
22           usable by, disabled individuals, specifically Including ensuring parking
23           spaces comply with the 2010 standards as required by law, and which further
24           directs that the Court shall retain jurisdiction for a period to be determined
25           after Defendant certifies that its facility is fully in compliance with the
26           relevant requirements of the AzDA to ensure that Defendant has adopted and

27           is following an institutional policy that will in fact cause Defendant to remain

28           fully in compliance with the law;
                                           9
Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 45 of 163




              p. For damages authorized by § 41-1492.09(B)(2) in an amount no less than
 1
                   $5,000.00;
 2
              q.   Irrespective of Defendants "voluntary cessation" of the ADA violation, if
 3
                   applicable, payment of attorneys' fees pursuant to 42 U.S.C. § 12205, 28
 4
                   CFR § 36.505 and A.R.S. § 41-1492.09(F) and other principles of law and
 5                 equity and in compliance with the "prevailing party" and "material
 6                 alteration" of the parties' relationship doctrines 4 in an amount no less than
 7                 $5,000.00; and,
 8            r.   The provision of whatever other relief the Court deems just, equitable and
 9                 appropriate.
                                    DEMAND FOR JURY TRIAL
10
                    Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff
11
            hereby demands a jury trial on issues triable by a jury.
12          RESPECTFULLY SUBMITTED this Tuesday, June 7, 2016.
13
14
15                                               Peter Strojnik (6464)
16                                               Attorneys for Plaintiff

17                      VERIFICATION COMPLIANT WITH Rl 0-3-405

18          I declare under penalty of perjury that the foregoing is true and correct.

19          DATED this Tuesday, June 7, 2016.

20
21          By: Fabian Zazueta, Authorized Agent
            Advocates for Individuals with
22          Disabilities Foundation, Inc.
23
24
25
26
27   4 As applicable to ADA cases, see Coppi v. City of Dana Point, Case No. SACV 11-1813 JGB (RNBx)
     (February, 2015)
28
                                                10
Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 46 of 163




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12                               EXHIBIT 1

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13                               EXHIBIT 2
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             Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 51 of 163

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Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 52 of 163




     Peter Strojnik, State Bar No. 6464
 1
     STROJNIK P .C.
 2   1 EAST WASHINGTON STREET, SUITE 500                           JUN 1 O2016
     PHOENIX, AZ 85004
 3   (774) 768-2234
 4   Attorney for Plaintiff
     Case Specific Email Address:
 5   3616ERayRD@aadi.org
     www.aid.org
 6

 7
                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 8
                        IN AND FOR THE COUNTY OF MARICOPA
 9
10
     Advocates for Individuals with Disabilities
11   Foundation, Inc.,                             Case No:
12
                                                                   CV 201 6- 0 0 711
                          Plaintiff,
13                                                          CERTIFICATE OF
     vs.                                                     ARBITRATION
14
15    SMITH'S FOOD AND DRUG CENTERS
      INC
16
17                         Defendant.

18
           The above cause is not subject to compulsory arbitration.
19
20         RESPECTFULLY SUBMITTED this Tuesday, June 7, 2016.

21
22
                                             Peter Strojnik, State Bar No 6464
23
24
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26
27

28
Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 53 of 163




     Peter Strojnik, State Bar No. 6464
 1
     STROJNIKP.C.
 2   1 EAST WASHINGTON STREET, SUITE 500
     PHOENIX, AZ 85004
 3   (774) 768-2234
 4   Attorney for Plaintiff
     Case Specific Email Address:
 5   3616ERayRD@aadi.org
     www.aid.org
 6
 7
                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 8
                         IN AND FOR THE COUNTY OF MARICOPA
 9
10
     Advocates for Individuals with Disabilities,
11   Foundation, Inc.,                               Case No:     CV 201 6 - 0 0 711 5
12
                           Plaintiff,
13                                                      DISCOVERY REQUEST NO 1
14
      vs.
15
      SMITH'S FOOD AND DRUG CENTERS
16    INC,
17                          Defendants

18   TO: DEFENDANT(S)
19
                                   INSTRUCTIONS FOR USE
20
     A. All information is to be divulged which is in the possession of the individual or
21      corporate party, his attorneys, investigators, agents, employees or other representatives
22      of the named party.

23   B. When an individual interrogatory calls for an answer which involves more than one
        part, each part of the answer should clearly set out so that it is understandable.
24
25   C. When the terms "you'', "Plaintiff' or "Defendant" are used, they are meant to include
        every individual party and include your agents, employees, your attorneys, your
26      accountants, your investigators, anyone else acting on your behalf. Separate answers
        should be given for each person named as the party, if requested.
27

28
Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 54 of 163




     D. When the term "document" is used, it is meant to include every "writing", "recording"
        and photograph" as those terms are defined in Rule 1001, Ariz. R. Evid.
 2
     E. Where the terms "claim" or "claims" are used, they are meant to mean or to include a
 3      demand, cause of action or assertion for something due or believed to be due.

 4   F. Where the terms "defense" or "defenses" are used, they are meant to mean or to include
        any justification, excuse, denial or affirmative defense in response to the opposing
 5
        party's claim.
 6
     G. Where the term "negotiation(s)" is used, it is meant to mean or to include
 7      conversations, discussions, meeting, conferences and other written or verbal exchanges
 8      which relate to the contract.

 9   H. Where the term "ADA" is used, it refers to Title III of the Americans with Disabilities
        Act, 42 U.S.C. §§ 12101 et seq., and its implementing regulations 28 CFR §§ 36.101
10      et seq.
11   I. Where the term "AzDA" is used, it refers to A.R.S. §§ 41-1492 et seq. and its
12      implementing regulations, Rl0-3-401 et seq.

13   J. Where the term" Standards" is used, it refers to 2010 Standards of Accessibility Design
        promulgated by the United States Department of Justice.
14
     K. Where the term "Public Accommodation" is used it refers to the facility referenced in
15
        the Verified Complaint, its management and ownership.
16
           Pursuant to Arizona Rules of Civil Procedure, Rules 26 through 3 7, please provide
17
     the following discovery:
18

19
                       UNIFORM CONTRACT INTERROGATORIES
20
           Please answer Uniform Contract Interrogatories 1, 2, 4, 5, 6, 7, 8, 9, 10 and 11.
21

22                              REQUESTS FOR ADMISSIONS
23   I. Admit that the public accommodation which is the subject matter of the Verified
24      Complaint was in violation of the AzDA, the ADA and the Standards.
25
26                 ADMIT _ _ __                       DENY_ _ __

27
28

                                              2
Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 55 of 163




     2. Admit that the public accommodation which is the subject matter of the Verified
 1
        Complaint does not have policies regarding the operation and management of the
2
        Public Accommodation.
3
                   ADMIT _ __                          DENY- - - -
4

5
     3. Admit that the Public Accommodation which is the subject matter of the Verified
6       Complaint does not have a plan or policy that is reasonably calculated to make its entire
        public accommodation fully accessible to and independently usable by disabled
        individuals.
                  ADMIT - - - -                        DENY_ _ __


                       NON-UNIFORM CONTRACT INTERROGATORIES
      (If spaces provided below are insufficient to fully disclose requested information,
             please attach additional sheets referencing the proper interrogatory)

        If you did not unconditionally admit each of the Requests for Admission above, please
        state all facts and legal considerations for your denial.




                                               3
Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 56 of 163




     2. Please describe all actions you or anyone on your behalf have/has taken since 1991 to
        comply with the AzDA, the ADA and the Standards.
 2
 3
 4
 5

 6
 7
 8
 9
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14
     3. Please describe in detail any actual or suspected non-compliance of the Public
15
        Accommodation with the AzDA, the ADA or the Standards.
16
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Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 57 of 163




     4. Please identify the person or entity responsible for the Public Accommodation's
        compliance with the AzDA, the ADA and the Standards.
 2
 3
 4

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12   5. Please identify by name, address, telephone number, e-mail address any and all tenants
13      who rent or lease space at the Public Accommodation.

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Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 58 of 163




                      REQUEST FOR PRODUCTION OF DOCUMENTS
 1
 2
     1. Please produce any and all policies regarding the operation and management of the
 3
        Public Accommodation, including, without limitation, any plan or policy that is
 4
        reasonably calculated to make its entire public accommodations fully accessible to and
 5
        independently usable by disabled individuals.
 6
 7   2. Please produce any and all architectural drawings, plats, maps and schematics for the
 8      Public Accommodation.
 9
10   3. Please produce any and all rental or lease agreements for any space within the Public
11      Accommodation effective on the date of the filing of the Verified Complaint until the
12      present. Further produce all rental/lease appiications and financial records of each
13      renter or tenant.

14
     4. If you claim that compliance with the AzDA, the ADA and/or the Standards is not
15
        readily achievable, please produce your complete financial records for the 5 years
16
        preceding the issuance of this Discovery Request No 1. These records include, without
17
        limitation, tax records, profit and loss statements, income statements, bank statements,
18
        credit applications,
19
20         RESPECTFULLY SUBMITTED this Tuesday, June 7, 2016.

21
22
23                                             Peter Strojnik, State Bar No 6464
                                               Attorneys for Plaintiff
24
25
26
27
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                                              6
Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 59 of 163




          EXHIBIT C
           Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 60 of 163




C 0 RP 0 RAT I 0 N SERVICE C 0 MP ANY'

                                                                                                                         null/ ALL
                                                                                                     Transmittal Number: 15464827
Notice of Service of Process                                                                            Date Processed: 08/03/2016

Primary Contact:            Rene Jent
                            The Kroger Co.
                            1014 Vine Street
                            Cincinnati, OH 45202-1100

Entity:                                       Smith's Food & Drug Centers, Inc.
                                              Entity ID Number 2220128
Entity Served:                                Smith's Food & Drug Centers Inc
Title of Action:                              Advocates for Individuals with Disabilities, Foundation, Inc. vs. Smith's Food &
                                              Drug Centers Inc
Document(s) Type:                             Summons/Complaint
Nature of Action:                              Discrimination
Court/Agency:                                 Maricopa County Superior Court, Arizona
Case/Reference No:                            CV2016-008763
Jurisdiction Served:                          Arizona
Date Served on CSC:                           08/02/2016
Answer or Appearance Due:                     20 Days
Originally Served On:                         csc
How Served:                                   Personal Service
Sender Information:                           Peter Strojnik
                                              77 4-768-2234

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                To avoid potential delay, please do not send your response to CSC
                              CSC is SAS70 Type II certified for its Litigation Management System.
                         2711 Centerville Road Wilmington, DE 19808 (888) 690-2882          I   sop@cscinfo.com
   Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 61 of 163



                               STROJNIK,                P.C.
                              ATTORNEY AT LAW



                                   BY PROCESS SERVER


                                    Tuesday, July 18, 2016

SMITH'S FOOD & DRUG CENTERS INC
c/o CORPORATION SERVICE COMPANY - Its Statutory Agent
2338 W ROYALP ALM RD STE-J
PHOENIX, AZ 85021
      Re: David Ritzenthaler v. SMITH'S FOOD & DRUG CENTERS INC
          Maricopa County SuperiorCourt

Dear Sir or Madam:

You are being served with the Summons, Verified Complaint, Certificate of Arbitration
and Discovery Request No. 1 in the above captioned matter.

Please forward this package to your insurance company and your legal counsel if you have
and or retained such.

I look forward to hearing from you or your legal representative at the earliest opportunity
so we may mutualy explore a feasible and economical resolution to this matter.

Please note that all communication regarding all Enforcement Actions are performed solely
through email at the following e-mail address: 850EHATCHERRD@aadi.org.

                                           Sincerely,


                                           Peter Strojnik
Enels:
   1. Summons
   2. Verified Complaint
   3. Certificate of Arbitration
   4. Discovery Request No. I




                     l   EAST WASHINGTON STREET SUITE 500 PHOENIX, AZ 85004
                                     TEL: (774)768·AADI (2234)
 Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 62 of 163




     Peter Strojnik, State Bar No. 6464
 1
     STROJNIK P.C.
 2   1 EAST WASHINGTON STREET, SUITE 500
     PHOENIX, AZ 85004
 3   (774} 768-2234
 4   Attorney for Plaintiff
     Case Specific Email Address:
 5   850EHATCHERRD@aid.org
 6
 7              IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 8                       IN AND FOR THE COUNTY OF MARICOPA
 9

10    Advocates for Individuals with Disabilities,               CV 2 0 1 6 - 0 0 8 7 6 3
      Foundation, Inc.,                               Case No:
11

12                          Plaintiff,
                                                                     SUMMONS
13
14    vs.                                                If you would like legal advice from a lawyer.
                                                             Contact the Lawyer Referral Service at •
15    SMITH'S FOOD & DRUG CENTERS INC                                    602·257-4434
                      Defendants.                                             or
16                                                             www.marlcopalawyers.org
                                                                    Sponsored by the
17   TO THE ABOVE NAMED DEFENDANT(S):                        Maricopa County Bar Association

18   YOU ARE HEREBY SUMMONED and required to appear and defend, within the time
19   applicable, in this action in this Court. If served within Arizona, you shall appear and
     defend within 20 days after the service of the Summons and Complaint upon you,
20   exclusive of the day of service. If served out of the State of Arizona - whether by direct
     mail, by registered or certified mail, or by publication - you shall appear and defend
21
     within 30 days after the service of the Summons and Complaint upon you is complete,
22   exclusive of the day of service. When process is served upon the Arizona Director of
     Insurance as an insurer's attorney to receive service of process against it in this State, the
23   insurer shall not be required to appear, answer or plead until the expiration of 40 days of
     such service upon the Director. Service by registered or certified mail without the State·
24
     of Arizona is complete 30 days after the date of filing the receipt and affidavit of service
25   with the Court. Service by publication is complete 30 days after the date of first
     publication. Direct service by mail is complete when made. Service upon the Arizona
26   Motor Vehicle Superintendent is complete 30 days after the Affidavit of Compliance and
27   return receipt of Officer's Return. RCP 4.1 and 4.2; A.R.S. §§ 20-222, 28-502, 28-503.

28
 Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 63 of 163




     YOU ARE HEREBY NOTIFIED that in case of your failure to appear and defend
 1
     within the time applicable, judgment by default may be rendered against you for the
 2   relief demanded in the Complaint. YOU ARE CAUTIONED that in order to appear
     and defend, you must file an Answer or proper response in writing with the Clerk
 3   of the Court, accompanied by the necessary filing fee, within the time required, and
 4   you are required to serve a copy of any Answer or Response upon Plaintifrs
     attorney, or if Plaintiff is not represented by counsel, upon Plaintiff.
 5
     A request for reasonable accommodations for persons with disabilities must be made to
 6   the division assigned to the case by the parties at least three (3) days before the scheduled
     court proceeding.
 7
                                The name and address of Plaintiff is:
 8
 9                 Advocates for Individuals with Disabilities Foundation, Inc.
                             40 North Central A venue, Suite 1400
10                                    Phoenix, AZ 85004
11

12
     SIGNED AND SEALED this date:         -------1161---m-9-lilhp!L.5-'ill'i\J,..Ol_
13
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14
                                         ClerkofCou                    L K. JEANES, CLERK
15                                                                       F. BOLL
                                                                      DEPUTY CLERK
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 Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 64 of 163




     Peter Strojnik, State Bar No. 6464
                                                                        COPY
 1
     STROJNIK P.C.
 2   1 EAST WASHINGTON STREET, SUITE 500                                  JUL 2 8 2016
     PHOENIX, AZ 85004                                                    MICHAEL K. JEANES, CLERK
 3   (774)768-2234                                                                 F. SOLL
                                                                               DEPUTY CLERK
 4   Attorney for Plaintiff
     Case Specific Email Address:
 5   850EHATCHERRD@aid.org
 6
                   IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 7
                           IN AND FOR THE COUNTY OF MARICOPA
 8
 9   ADVOCATES FOR INDIVIDUALS                              CV 2016-00 8 7 6 3
     WITH DISABILITIES FOUNDATION,                        Case No:
10
     INC., a charitable non-profit foundation,
11
                              Plaintiff,                      VERIFIED COMPLAINT
12
13
     vs.
14
     SMITH'S FOOD & DRUG CENTERS
15   INC;.
16
                               Defendant.
17
              Plaintiff alleges:
18
                                                   PARTIES
19         1. Plaintiff,   Advocates       for   Individuals with    Disabilities   Foundation,      Inc.
20            ("Foundation'') is a non-profit charitable foundation and performs the functions of
21            a traditional association representing individuals with disabilities.                  See
22            www.aid.org.
23    2.      Defendant, SMITH'S FOOD & DRUG CENTERS INC, owns and/or operates a
24            business located at 850 E HATCHER RD PHOENIX AZ 85020 which is a place
25            of Public Accommodation pursuant to 42 U.S.C. § 12181(7).

26
27                                               INTRODUCTION
28
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     3.   Plaintiff brings this action against Defendant, alleging violations of Title III of the
 I
          Americans with Disabilities Act, 42 U.S.C. §§ 12101 et seq., (the "ADA") and its
 2
          implementing regulations and A.R.S. Title 41, Chapter 9, Article 8, §§41-1492 et
 3
          seq. and its implementing regulations, RI0-3-401 et seq. (the "AzDA")
 4
     4.   Plaintiff is a charitable non-profit foundation. Plaintiff is known to have past,
 5
          present and future relationships or associations with individuals with disabilities as
 6        defined in 28 CFR § 36.205. In connection with 28 CFR §36.205, and generally
 7        relating to third-party standing, Plaintiff alleges:
 8         a.   Plaintiff has a close relationship with former, current and future disabled
 9              individuals who are directly protected by the ADA as discrete and insular
10              minorities. See, e.g., www.aid.org.
11        b.    Plaintiff's association with former, current and future disabled individuals
12              arises from Plaintiff's charitable acts of giving to the disabled community,
13              which are interests that are germane to the association's purpose.

14         c.   Plaintiffs close relationship to the third party disabled individuals is such
                that third party disabled individuals cannot be reasonably expected to
15
                properly frame the issues and present them with the necessary adversarial
16
                zeal to the Court. Third party disabled individuals are hindered to litigate by
17
                virtue of their status as minors and/or their. lack of mobility and/or financial
18
                resources.
19
           d.   David Ritzenthaler is a member of the Foundation by virtue of being
20
                President, Director and Chairman and suffers from disability as this term is
21              defined in A.RS. §41-1492(6) and interpreted pursuant to A.R.S. §41-
22              1492.12.
23         e.   Because only injunctive and declaratory relief is requested. participation in
24              the action by individual disabled individuals is not required.
25   5.   Plaintiff brings this civil rights action against Defendant for failing to design,

26        construct, and/or own or operate Public Accommodations that are fully accessible

27        to, and independently usable by, individuals with disabilities. Plaintiff seeks a

28        declaration that Defendant's Public Accommodation violates federal and state law
                                            2
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            and an injunction requiring Defendant to install means of access in compliance
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            with ADA requirements so that their facility is fully accessible to, and independent
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            usable by, individuals with disabilities. Plaintiff further requests that, given
 3
            Defendant's historical failure to comply with the ADA's mandate, the Court retain
 4
           jurisdiction of this matter for a period to be determined to ensure that Defendant
 5
            comes into compliance with the relevant requirements of the ADA and AzDA, and
 6
            to ensure that Defendant has adopted and is following an institutional policy that
 7          will, in fact, cause Defendant to remain in compliance with the law.
 8   6.     In compliance with R10-3-405(H)(l), Plaintiffs address is 40 North Central
 9         Avenue, Suite 1400, Phoenix, Arizona 85004
10                                JURISDICTION AND VENUE
11   7. This Court has original jurisdiction over the AzDA claims by virtue of A.R.S. §§ 12-
12        123 and 41-1492.8 and concurrent jurisdiction over the ADA claims by virtue of
13        A.R.S. § 12-123 and Article 6, Section 14(1) of the Arizona Constitution gives the

14        superior court original jurisdiction of "[c]ases and proceedings in which exclusive
          jurisdiction is not vested by law in another court."
15
16               THE ADA AND ITS IMPLEMENTING REGULATIONS
      8. On July 26, 1990, President George H.W. Bush·signed into law the ADA, a
17
           comprehensive civil rights law prohibiting discrimination on the basis of
18
           disability.
19
      9. The ADA broadly protects the rights of individuals with disabilities in
20
           employment, access to State and local government          s~rvices,   places of Public
21
           Accommodation, transportation, and other important areas of American life.
22    10. Title III of the ADA prohibits discrimination in the activities of places of Public
23         Accommodation and requires places of Public Accommodation              to comply with
24         ADA standards and to be readily accessible, and independently usable by,
25         individuals with disabilities. 42 U.S.C. §§ 12181-89.
26    11. Title III states, inter alia, that "[i]t shall be discriminatory to afford an individual
27         or class of individuals, on the basis of a disability . . . with the opportunity to

28         participate in or benefit from a good, service, facility, privilege, advantage, or
                                             3
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         accommodation that is not equal to that afforded to other individuals." See 42
 1
         U.S.C.     §12182(b)(l)(A)(ii).      In     addition,    §12182(b)(l)(A)(iii)      and
 2
         § l 2 l 82(b)(I )(B)] are intended to prohibit exclusion and segregation of individuals
 3
         with disabilities and the denial of equal opportunities enjoyed by others, based on,
4
         among other things, presumptions, patronizing attitudes, fears, and stereotypes
 5
         about individuals with disabilities. 28 C.F.R. pt. 36, app. C (2011).
 6    12. On July 26, 1991, the Department of Justice ("DOJ") issued rules implementing
 7       Title III of the ADA, which are codified at 28 CFR Part 36.
 8    13.Appendix A of the 1991 Title III regulations (republished as Appendix D to 28
 9       CFR part 36) contains the ADA standards for Accessible Design (1991 Standards),
10       which were based upon the Americans with Disabilities Act Accessibility
11       Guidelines (1991 ADAAG) published by the Access Board on the same date.

12    14.In 1994, the Access Board began the process of updating the 1991 ADAAG by

13       establishing a committee composed of members of the design and construction
         industries, the building code community, and State and local governmental
14
         entities, as well as individuals with disabilities.
15
      15.In 1999, based largely on the report and recommendations of the advisory
16
         committee, the Access Board issued a notice of proposed rulemaking to update
17
         and revise its ADA and ABA Accessibility Guidelines.
18
      16. The Access Board issued final publication of revisions to the 1991 ADAAG on
19
         July 23, 2004 ("2004 ADAAG").
20
      17. On September 30, 2004, the DOJ issued an advanced notice of proposed
21       rulemaking to begin the process of adopting the 2004 ADAAG.
22    18. On June 17, 2008, the DOJ published a notice of proposed rulemaking covering
23       Title III of the ADA.
24    19. The long-contemplated revisions to the 1991 ADAAG culminated with the DOJ's
25       issuance of The 2010 Standards for Accessible Design ("2010 Standards"). The

26       DOJ published the Final Rule detailing the 2010 Standards on September 15,

27       2010. The 2010 Standards consist of the 2004 ADAAG and the requirements

28       contained in subpart D of28 CPR part 36.
                                        4
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 1               THE AzDA AND ITS IMPLEMENTING REGULATIONS
      20. The AzDA and its implementing regulations, §§41-1492 et seq. and Rl0-3-401 et
 2
         seq. provide similar prohibitions and remedies to the ADA and its implementing
 3
         regulations.
 4
 5                     ALLEGATIONS COMMON TO ALL COUNTS
      21. Pursuant to CFR 36-302( 1)(ii) and otherwise, on or about 6/29/2016, Plaintiff,
 6
         who is known to have a relationship or association with individuals with
 7
         disabilities and directed by David Ritzenthaler, an individual with disabilities,
 8
         conducted an investigation of Defendant's Public Accommodation for purposes
 9       of ascertaining whether it complies with the ADA and AzDA. Plaintiff's
10       investigation confirmed that Defendant's Public Accommodation was not
11       accessible to individuals with disabilities in the following particulars:
12          1. Violation of the 2010 ADA Standards of Accessibility Design 502.6 in that
13         it fails to include a sign with the International Symbol of Accessibility
14         complying with 703.7.2.l

15         2. Violation of the 2010 ADA Standards of Accessibility Design §§216.5 and

16         502.6 in that it fails to identify van parking spaces by the designation "van
           accessible"
17
         Plaintiff has actual kn~wledge of at least one barrier related to third party disabled
18
         individuals as indicated in the preceding allegation. Therefore, third party
19
         individuals with disabilities, including current and future members of the
20
         association     are   currently   deterred   from   visiting   Defendant's     Public
21
         Accommodation by accessibility barrier(s).
22
      22. Without the presence of adequate and or accessible parking spaces, sufficient
23
         designation or signage and or sufficient disbursement of such parking spaces, third
24       party individuals with disabilities, including members of the Foundation, are
25       prevented from equal enjoyment of the Defendant's Public Accommodation.
26    23.As a result of Defendant's non-compliance with the AzDA and the ADA, third
27       party individuals with disabilities, including members of the Foundation, are
28
                                             5
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          deterred from visiting Defendant's Public Accommodation in the future unless and
 1
         until all AzDA and ADA violations have been cured.
 2
      24. The existence of barriers deters third party individuals with disabilities, including
 3
          members of the Foundation, from conducting business or returning to Defendant's
 4
         Public Accommodation.
 5
      25. As a result of Defendant's non-compliance with the ADA and AzDA, third party
 6
          disabled individuals, including members of the Foundation, unlike persons
 7       without disabilities, are denied equal access.
 8    26. Plaintiff verified that Defendant's Public Accommodation lacks the mandatory
 9       elements required by the 2010 Standards to make their facility fully accessible to
10       and independently usable by individuals with disabilities, including members of
11       the Foundation.
12    27. Plaintiff has a keen interest in whether Public Accommodations are fully
13       accessible to, and independently usable by, individuals with disabilities, including

14       members of the Foundation, specifically including an interest in ensuring that
         parking spaces comply with the 2010 Standards.
15
      28. Third party disabled individuals have been injured by Defendant's discriminatory
16
         practices and failure to remove architectural barriers to equal access. These
17
         injuries include being deterred from using Defendant's facilities due to the
18
         inaccessibility and/or insufficient designation of appropriate parking .
19
      29. Without injunctive relief, Plaintiff and individuals with disabilities, including
20
         members of the Foundation, will continue to be denied equal access and unable to
21       independently use Defendant's Public Accommodation under ADA and AzDA.
22                                          COUNT ONE
23                     (Violation of Title III of ADA and Title 41 of AzDA)

24    30. Plaintiff incorporates all allegations heretofore set forth.

25    31. Defendant has discriminated against third party individuals with disabilities,
         including members of the Foundation, in that it has failed to make its Public
26
         Accommodation fully accessible to, and independently usable by, individuals who
27
         are disabled in violation of AzDA, Article 8, Chapter 10 of Title 41 of the Arizona
28
                                              6
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            Revised Statutes, A.R.S. §§ 41-1492 et seq. and its implementing regulations,
 I
            Rl0-3-401 et seq. and the ADA, Title III of the Americans with Disabilities Act,
 2
            42 U.S.C. §§ 12101 et seq., and its implementing regulations 28 CFR §§ 36.101
 3
            et seq.
 4
         32. Defendant has discriminated against third party individuals with disabilities,
 5
            including members of the Foundation, in that it has failed to remove architectural
 6          barriers to make its Public Accommodation fully accessible to, and independently
 7          usable by individuals who are disabled in violation of the AzDA and the ADA
 8          and, particularly, 42 U.S.C. §12182(b)(A)(iv) and Section 208.2 of the 2010
 9          Standards, as described above. Compliance with the requirements of section 208.2
10          of the 2010 Standards would neither fundamentally alter the nature of Defendant's
11          Public Accommodation nor result in an undue burden to Defendant.

12       33. Compliance with AzDA and the ADA is readily achievable by the Defendant due

13          to the low costs. Readily achievable means that providing access is easily

14          accomplishable without significant difficulty or expense .
         34. Conversely, the cessation of compliance with the ADA law is also readily
15
            achievable by redrawing the parking spaces to its original configuration and or
16
            changing signage back to the same. Therefore, injunctive relief should issue
17
            irrespective of Defendant's potential voluntary cessation pursuant to the Supreme
18
            Court's announcement in Friends of the Earth case. 3
19
20
21
22   3 Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 189, 120 S.Ct.
23   693, 145 L.Ed.2d 610 (2000):
            It is well settled that a defendant's voluntary cessation of a challenged practice does not
24          deprive a federal court of its power to determine the legality of the practice. If it did, the
25          courts would be compelled to leave the defendant free to return to his old ways. In
            accordance with this principle, the standard we have announced for determining whether a
26          case has been mooted by the defendant's voluntary conduct is stringent: A case might
            become moot if subsequent events made it absolutely clear that the allegedly wrongful
27          behavior could not reasonably be expected to recur. The heavy burden of persuading the
            court that the challenged conduct cannot reasonably be expected to start up again lies with
28          the party asserting mootness.
                                                      7
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      35. Defendant's conduct is ongoing, Plaintiff invokes Plaintiff's statutory right to
 1
         declaratory and injunctive relief, as well as costs and attorneys' fees, both pursuant
 2
         to statute and pursuant to the Private Attorney General doctrine .
 3
      36. Without the requested injunctive relief, specifically including the request that the
 4
         Court retain jurisdiction of this matter for a period to be determined after the
 5
         Defendant certifies that it is fully in compliance with the mandatory requirements
 6
         of the AzDA and ADA that are discussed above, Defendant's non-compliance
 7       with the AzDA and ADA 's mandatory requirements may be or are likely to recur.
 8                                        COUNT TWO
 9           (Violation A.R.S. Title 41, Chapter 9, Article 8, §§41-1492 et seq. AND
                                   Implementing Regulations)
10
11    3 7. Plaintiff realleges all allegations heretofore set forth.

12    38. Plaintiff and third party individuals with disabilities, including members of the

13       Foundation, have been damaged and injured by the Defendant's non-compliance

14       with the AzDA.
      391.Pursuant to A.R.S. § 41-1492.08, and §41-1492.09, Plaintiff has the right to
15
         enforce the AzDA by the issuance of injunctive relief.
16
      40. Pursuant to A.R.S. § 41-1492.08, Plaintiff is entitled to preventive and mandatory
17
         relief.
18
      41. Mandatory relief includes relief mandated by A.R.S. § 41-1492.09 obligating the
19
         Office of the Attorney General to take actions specified therein.
20
      42. Pursuant to A.R.S. § 41-1492.09(8)(2), Plaintiff is further entitled to such other
21       relief as the Court considers appropriate, including monetary damages in an
22       amount to be proven at trial, but in no event less than $5,000.00.
23    43. Pursuant to A.R.S. § 41-1492.09(F), Plaintiffis entitled to attorney's fees and costs
24       in an amount proven but in no event less than $5,000.00.
25                                      PRAYER FOR RELIEF
26       WHEREFORE, Plaintiff demands judgment against Defendant as follows:

27         j. A Declaratory Judgment that at the commencement of this action Defendant

28             was in violation of the specific requirements of Title Ill of the ADA described
                                              8
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             above, and the relevant implementing regulations of the ADA, in that
 l
             Defendant took no action that was reasonably calculated to ensure that its
 2
             Public Accommodation was fully accessible to, and independently usable by,
 3
             individuals with disabilities;
 4
          k. Irrespective of Defendants "voluntary cessation" of the ADA violation, if
 5
             applicable, a permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and
 6
             28 CFR § 36.504(a), which directs Defendant to take all steps necessary to
 7           bring its Public Accommodation into full compliance with the requirements
 8           set forth in the ADA and its implementing regulations, so that the facility is
 9           fully accessible to, and independently usable by, individuals with disabilities,
10           including members of the Foundation, specifically Sections 208.2 of the 2010
11           Standards, and which further directs that the Court shall retain jurisdiction
12           for a period to be determined after Defendant certifies that its facility is fully

13           in compliance with the relevant requirements of the ADA to ensure that

14           Defendant has adopted and is following an institutional policy that will in
             fact cause Defendant to remain fully in compliance with the law;
15
          1. Irrespective of Defendant's "voluntary cessation" of the ADA violation, if
16
             applicable, payment of costs of suit, expenses of suit and attorney's fees;
17
          m. Order closure of the Defendant's place of Public Accommodation until
18
             Defendant has fu11y complied with the ADA and AzDA;
19
          n. A Declaratory Judgment that at the commencement of this action Defendant
20
             was in violation of the specific requirements of AzDA;
21        o. Irrespective of Defendant's "voluntary cessation" of the ADA violation, if
22           applicable, a permanent injunction pursuant to AzDA which directs
23           Defendant to take all steps necessary to bring its facility into full compliance
24           with the requirements set forth in the AzDA, and its implementing
25           regulations, so that the facility is fully accessible to, and independently
26           usable by individuals with disabilities, including members of the Foundation,

27           specifically including ensuring parking spaces comply with the 2010

28           Standards as required by law, and which further directs that the Court shall
                                         9
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                   retain jurisdiction for a period to be determined after Defendant certifies that
 1
                   its facility is fully in compliance with the relevant requirements of the AzDA
 2
                   to ensure that Defendant has adopted and is following an institutional policy
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                   that will in fact cause Defendant to remain fully in compliance with the law;
 4
             p. For damages authorized by § 41-1492.09(B)(2) in an amount no less than
 5
                   $5,000.00;
 6            q.   Irrespective of Defendants "voluntary cessation" of the ADA violation, if
 7                 applicable, payment of attorneys' fees pursuant to 42 U.S.C. § 12205, 28
 8                 CFR § 36.505 and A.R.S. § 4 l-1492.09(F) and other principles of law and
 9                 equity and in compliance with the "prevailing party" and "material
10                 alteration" of the parties' relationship doctrines 4 in an amount no less than
11                 $5,000.00; and,
12            r.   The provision of whatever other relief the Court deems just, equitable and
                   appropriate.
13
                                    DEMAND FOR JURY TRIAL
14                  Pursuant to Rule 38 of the Arizona Rules of Civil Procedure, Plaintiff
15          hereby demands a jury trial on issues triable by a jury.
16
17          RESPECTFULLY SUBMITTED this Tuesday, July 18, 2016.
18
19
20

21
                        VERIFICATION COMPLIANT WITH Rl0-3-405
22
            I declare under penalty of perjury that the foregoing is true and correct.
23
            DATED this Tuesday, July 18, 2016.
24
25
            By: David Ritzenthaler, Director
26
     4
27    As applicable to ADA cases, see Coppi v. City of Dana Point, Case No. SACV 11-1813 JGB (RNBx)
     (February, 2015)
28
                                                 10
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         Advocates for Individuals with
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         Disabilities Foundation, Inc.
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       si>ac:e,'.:ancf' · ·.,,                          .-. '.-.                                                    ~-,;,;-----"---'"'-----11-;---------,;,~~                                                                                                                              .. - - - - - - - ,
                                                                                         ;, orie o'.dOfe~~rY 8'aoc8&Slbi; s?.ees,
                                                                                                •   • '••    ,       • .'. ,.             ·". • _.       o   "', ,           '     '~        '        •' /
                                                                                                                                                                                                                         .tt 7 o'utOieve'..Y ifa~ibl8 p~g AAa~~
                                                                                                                                                                                                                                   '•        ,       •'   •• ~   I, .. ,    ,, '       ._   w   ,   ••      ~     •.   ,   •,• •   •,    •   ~



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          Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 77 of 163
             II

Location                                   Features of Accessible Parking Spaces for Cars
Ac.cessible parlcing spaces must be
                                                               Sign with the International symbol of accessibility mounted high
located on the shortest accessible
                                                               enough so It can be seen while a vehicle is parked rn the space.
route of travel to an accessible
facility entrance. Where buildlllgs                            If the accessible route Is located in front of the space, install
have multiple accessible entrances                             wheelstops to keep vehicles from reducing Width below 36 inches.
with adjacent parlcing, the accessible
parking spaces must be dispen;ed and
located closest to the accessible
entrances.
                                           ......             socossibte route (mi:n. a&-inch wid1h.t
                                                                           Access aisle of at least 60-inch width
                                                              a. ·:r~'!.·g~-~.-.··.    =..:..:•·····
                                                       .;:::-···------a--' must be level (1;60 maximum slope
                                                        111



                                                 ==~·::::.:::•.===ii
                                                       •::::::::•
                                                                           in all directions}, be the same length
When accessible parking spaces are                     .;;::::::;•         as the adjacent parking space(s) It
added in an existing parking lot,
                                                       -.;;::;:::•         serves and must connect to an
                                                       •::::::::•
locate the spaces on the most level                                        accessible route to the building.
ground close to the accessible en-                                         Ramps must not extend into the
trance. An accessible route must                                           access aisle.
always be provided from the acces.                                •:::::::=----sf-- Boundary of the access aisJe must be
sible parking to the accessible                                   ~~~j~~~               j               markGd. The ond may be a squared or
entrance. An accessible route never                   T                                 _               curved shape.

                                             l oo" miP. loo"' mii
has curbs or stairs, must be at least 3-
feet wide, and has a firm: stable, slip-                                          96" minJ         L access
                                                                                                     Two parting spaces may share an
                                                                                                            aisle.
resistant surf.ace. The slope along the     71      2440         ,, 1525           2440
accessible route should not be greater
than 1:12 in the direction of travel.      Three Additional Features for Van-Accessible Parking Spaces
                                                   Sign with "'van accessible .. and the rnternatlonal symbol of
Accessible paiking spaces may be                               accessibility mounted high enough so the sign can be seen
clustered in one or more lots if                               when a vehicle is parked In the space
equivalent or greater accessibility is                            accessible mute
provided in terms of distance from         .... •..   • • 11r1:~!';~:~~.!:~~.w· •\.U . . . . . .
the accessible entrance, parking fees,                    •::::::::::::::•
and convenience. Van-accessible                   ==:::i•::::::::::::::•===•
                                                                    ·~·;l:;::;;::;::•

parking spaces located in parking                                  •:::::   ...... .                    96 ... min. width access aisle, level
gamges mny be clustered on one floor                                                                    (max. slope 1:60 in all directions),
                                                                                                        located beside the van parking space
(to accommodate the 98-inch mini-
mum vertical height requirement).                    i---~--T--~---                                     Min. 98-inch-hlgh clearance at van
                                                                                                        parking space, access aisle, and on
Free Technical Assistance                                                                               vehicular route to and from van space
Answers to technical and general
questions about restriping parking
lots or other ADA requirements ace               loo" min. L96"' min. L96" mln. L
available by telephone on weekdays.          ::r    2440          ...,   2440      "'       2440 JI
You may also o'rder the ADA
Standards for Accessible Design and
other ADA publications, including          ADA Website and ADA Business Connection
regulations for private businesses, at     You may also view or download ADA information on the Department's ADA
any time day or night. Information         website at any time. The site provides access to the ADA Business
about ADA-related IRS tax credits          Connection and the ADA design standards, ADA regulations, ADA policy
and deductions is also available from      letteis, technical assistance materials, and general ADA in.fo:nnation. It also
the ADA Information Line.                  provides links to other Federal agencies, and updates on new ADA require-
                                           ments and enforcement efforts. Www.usdoj.gov/crt/ada/adahom1.htm
       Department of Justice
     ADA Information Line                  Reference:
                                           ADA Standards for Accessible Design (28 CFR Part 36):
      800·514·0301 (voice)
       800-514-0383 (TIY)                  § 4.1.6A1terations; § 4.1.2 Accessible Sites and Exterior Facilities: New
                                               Construction; § 4.6.1 Parking and Passenger Loading Zones, and
                                           § 4.3 Accessible Route.
page:? of2                                                                                                              Duplication is encouraged.
 Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 78 of 163




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13                                EXHIBIT2
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          Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 79 of 163
             II



U.S.·Department of Justice
Civil Rights Division

Dis<1bility Righi:\' Section


                                Americans with Disabilities Act

                               ADA Compliance BRIEF:
                                                           Restriping Parking Spaces

Accessible Parking Spaces
When a business or State or local government rcstripcs parking- spaces in a parking lot ot pJl!.'king structure (parking
facilities), it must pri:y\iide m:es·sible parking spaces }1s. rcqµired by the 2010 ADA Srandards for .Accessible Design
(2010 Standards) .

.In addition, businesses or privatdy owned facilities that provide goods or services to the public have a continuing
ADA obligation to remove· barriers to access in existing parking facilities when it is readily achie\rable'to do so.
Because resttiping is relatively iilcxpensive, it is readily achievable in most case~. State and local government facilities
also have an ongoing .ADA obligation to make their .program·s accessible, which can require providing accessible
parking.

'Inis compliance brief prO\iides information about the features of accessible car and van parking spaces.and how
many accessible spaces a.re required when parking facilities it re restripcd.

                                                                Minimum Numbet of Accessible Pa·rking Spaces:
                                                                         .:im.o sta'lda~s. (208.2): ·
                                                            Total Number of:           IColumnA)                 Mininuin.Nuinber
                                                             Parti:il(g :Spaces ,     Mininium Nufu'".           of van-Acce's5ibl&
                                                               Provided in           ;ber oO\ecessible            P&rking ·SiJ.acW'
                                                             Parking Facilit'(        ~arklng Spaces                    11 ~f'iilx':
                                                               (perfacllit';l ·          tear anchriril          iiG:l;easible'iiiiace-iiJ·.
                                                                  1to25                        ·1
                                                                                                                             '1
       One of six accessible parking spaces,
             but always at. least one,
             must be van-accessible.                                                                                         -i
                                                                10"i'to 150                                                  1
The required nU.mbcr of accessible parking spaces
must be calculated separate!}' for each parking                 1s1~200
facility, not calculated based on the total number
of parking spaces- provided on a site. One of si.x                                              a:                           2
(or fraction of six) accessible parking spaces, but
always at least one, must be van accessible.
                                                                                    2ra:: of t9fa! P,'!~~!J'l9
Parking for hospital outpatient facilities,                    500to1000            provii:led'in each lot       116 of Column M'
                                                                                        or structure
reha.bilitation facilities, outpatieq.t physical therapy
facilities or residential facilfries have substantially      1001'and' over   0
                                                                                     i9,P.l~!>i1 l~f'~f:I~
                                                                                       J0,0. 9\/"ll~,JQ09
different requirements for accessibility (see 2010
Standards 208.2).




            II
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      II




Location                              Features of Acc~ssible Parking Spaces
 Accessible parking spaces
 must be. located on the                          ~    Parking space identification sign with the international
 shortest accessible route of                          symbol of accessibility complying with 703.7.2.1 mounted
 travel to .an accessible facility                     60 inches minimum above the ground' surface measured to
 entrance. Where buildings                             the bottom of the sign.
 have multiple accessible
 entrances with adjac;ent park-                      - If the accessible route is located in front of the parking
'ing, the accessible parking                           space, install wheel stops to keep vehicles from reducing
 spaces, must be·dispersed 'i1ncl                      the clear width of the accessible route below 36 inches.
 located closest to the acces-
 sible entrances.                                              -Two.parking spaces may share an a~ess aisle
                                                                 except for angled parking spaces (see below).
 When accessible pHrkii1g
 spiu:es are added in an exist-                                ._Access aisle width is at least 60 inches, must be at
 ing parking lqt or structure,                                   the same level and the same length as'the adjacent
.locate the spaces on the                                        parking space(s) it serves, maximum slope in all
 most level ground dose to                                       directions ls 1:48, and access aisle must connect to
 the accessible entrance. An                                     an accessible route to the building. Ramps must
 accessible route must always                                    not extend into t!Je access aisle.
 be provided from tl1e acces-
 sible parking tC>. the 1}cccssible
 entrance..An .accessible route        ....... ........................
                                                ~~
                                                  ••                a'ccessible route

 never has curbs or stairs.
 must be at least 3 feet wide,
                                                          1.   a·
                                                   --~--11=---111---------                   Parking space shall be 96
 and has a firm, stable, slip-                                                               inches wide minimum,
 resistant ;mrface. The slope                                                                marked to define the
 along the :iccessible route                                                                 width, and maximum slope
 should not be greater than                                                                  in all directions is 1:48.
 r:12 in the direction of travel.

Accessible parking spaces                                                                     Boundary of the access
may be clustered in one or                                                                    aisle mu·st be clearly
more facilities if equivalent                                                                 marked so as. to discour·
                                                                                              age parking in it. (State
or greater accessibility is
provided in terms of distance
from the accessible entrance,
                                           l
                                          71
                                               96"min
                                                2440
                                                          lao"mi~t
                                                        ·/f 1525
                                                                           96"min
                                                                             2440
                                                                                         L
                                                                                        7j
                                                                                              or local laws may address
                                                                                              the color and manner that
parking fees, .and conve-                                                                    .parking spaces and access
                                       Accessible Parking Spaces with 60-inch                 aisles are marked.)
nience. Van-accessible park-
                                        Minimum Width Access Aisle for Cars.
ing spaces located iri parking
garages m·ay be clustered on
one floor (to accommodate             Additional Notes:
                                      Where parking sp,aces are marked with lines, width measurements of
the 98-inch minimum vertical
                                      parking spaces and access aisles are to centerlines, except for the end
height requirement).
                                      space which may include the full width of the line.

                                      Access aisles may be located on either side of the parking space except
                                      ·for angled van parking spaces which must have access aisles located on
                                      the passenger side of the parking spaces.
2.




      II
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Additional Features of Van-Accessible Parking Spaces
 Van-accessible parking spaces incorporate· the features of accessible parking spaces on the previous page
and require the following additional features: a "van accessible" designation on the sign; different widths
 for the van parking space or the access aisle: and at least 98 inches of vertical clearance for the van parking
space, .acce.ss ii.isle, and vel:llcula\'. ro.ute to and from the van-accessible space. The first image below shows a
 van-accessible space wit11 a 60~inch miniml!l'.!l widt4 access aisle. The second image shows a v.i.n-accessible
:space with a 96-inch minimum width access aisle. Both configurations arc permitted and tcquircmc.nts for
 van"accessible signage and vertical clearance apply fo both configurations.


               ~---------------                              Parking space identifica~ion sign with the interna-
 ••••••i •••••· •••••••~ •••           !.!_• • • • • • • •   tional symbol of accessibility and designation, "van
                                                             accessible." Note, where four or fewer parking
                                                             spaces·are provided on a site, a sign identifying the
                                                             accessible space, which must be van-accessible, is
                                                             not required .


               .--....---..---.---..------..--- Vertical clearance of 98 inches minimum to accom-
                                                modate van height at the vehicle parking space, the
                                                adjacent access aisle, and on the vehicular route to arid
                                                from the va:n-accessible·space.

   Veliicle.
   Route
               Van                                           Van Parking space must be 132 inches wide minimum
             132"min                                         with an·adjacent 60-inch wid.e minimum ~ccess aisle.
              3350                                           A van parking space of 96 inches wide minimum with
                                                             an adjacent 96-inch wide minimum access aisle is also
      Van-Accessible Parking Space with
                                                             permitted (see below).
     60-inch Minimum Width Access Aisle



1••·················~·················




                                                                     Where four or fewer parking spaces are
                                                                   provided on a site, signage identifying the
      Van-Accessible Parking Space with                           van~accessible pari<fog space is not required.
     96-inch Minimum Width Access Aisle                                                                                 3




        II
 Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 82 of 163




 1
     Peter Strojnik, State Bar No. 6464
                                                                   COPY
     STROJNIK P .C.
 2   1 EAST WASHINGTON STREET, SUITE 500
     PHOENIX, AZ 85004
 3   (774) 768-2234
 4   Attorney for Plaintiff
     Case Specific Email Address:
 5   850EHATCHERRD@aid.org
 6
 7              IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

 8                      IN AND FOR THE COUNTY OF MARICOPA
 9
10   Advocates for Individuals with Disabilities          CV 201 6 - 0 0 8 7 6 3
     Foundation, Inc.,                             Case No:
11
12                        Plaintiff,
                                                           CERTIFICATE OF
13   vs.                                                    ARBITRATION
14
      SMITH'S FOOD & DRUG CENTERS INC
15
                           Defendant.
16
17
18         The above cause is not subject to compulsory arbitration.
19
           RESPECTFULLY SUBMITTED this Tuesday, July 18, 2016.
20
21
22                                           Peter Strojnik, State Bar No 6464

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 Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 83 of 163




     Peter Strojnik, State Bar No. 6464
 1
     STROJNIK P.C.
 2   1 EAST WASHINGTON STREET, SUITE 500
     PHOENIX, AZ 85004
 3   (774) 768-2234
 4   Attorney for Plaintiff
     Case Specific Email Address:
 5   850EHATCHERRD@aid.org
 6
 7              IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

 8                      IN AND FOR THE COUNTY OF MARICOPA
 9
lO    Advocates for Individuals with Disabilities,              CV 201 6 - 0 0 8 7 6 3
      Foundation, Inc.,                              Case No:
11
12                         Plaintiff,
                                                        DISCOVERY REQUEST NO 1
13
14    vs.

15    SMITH'S FOOD & DRUG CENTERS
      INC,
16
                            Defendants
17
     TO: DEFENDANT(S)
18
19                                 INSTRUCTIONS FOR USE

20   A. All information is to be divulged which is in the possession of the individual or
        corporate party, his attorneys, investigators, agents, employees or other representatives
21
        of the named party.
22
     B. When. an individual interrogatory calls for an answer which involves more than one
23      part, each part of the answer should clearly set out so that it is understandable.
24
     C. When the terms "you", "Plaintiff' or "Defendant" are used, they are meant to include
25      every individual party and include your agents, employees, your attorneys, your
        accountants, your investigators, anyone else acting on your behalf. Separate answers
26      should be given for each person named as the party, if requested.
27   D. When the term "document" is used, it is meant to include every "writing", "recording"
28      and photograph" as those terms are defined in Rule 1001, Ariz. R. Evid.
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 1   E. Where the terms "claim" or "claims" are used, they are meant to mean or to include a
 2      demand, cause of action or assertion for something due or believed to be due.

 3   F. Where the tenns "defense" or "defenses'' are used, they are meant to mean or to include
        any justification, excuse, denial or affirmative defense in response to the opposing
 4      party's claim.
 5
     G. Where the term Hnegotiation(s)" is used, it is meant to mean or to include
 6      conversations, discussions, meeting, conferences and other written or verbal exchanges
        which relate to the contract.
 7
     H. Where the term "ADA" is used, it refers to Title III of the Americans with Disabilities
 8      Act, 42 U.S.C. §§ 12101 et seq., and its implementing regulations 28 CFR §§ 36.101
 9      et seq.
10   I. Where the term "AzDA" is used, it refers to A.R.S. §§ 41-1492 et seq. and its
        implementing regulations, Rl0-3-401 et seq.
11
12   J. Where the term "Standards" is used, it refers to 2010 Standards of Accessibility Design
        promulgated by the United States Department of Justice.
13
     K. Where the term "Public Accommodation'' is used it refers to the facility referenced in
14      the Verified Complaint, its management and ownership.
15
           Pursuant to Arizona Rules of Civil Procedure, Rules 26 through 37, please provide
16
     the following discovery:
17
18                     UNIFORM CONTRACT INTERROGATORIES
19         Please answer Uniform Contract Interrogatories 1, 2, 4, 5, 6, 7, 8, 9, 10 and 11.
20
21                              REQUESTS FOR ADMISSIONS
22   1. Admit that the public accommodation which is the subject matter of the Verified
23      Complaint was in violation of the AzDA, the ADA and the Standards.

24
25
                   ADMIT - - - -                      DENY- - - -
     2. Admit that the public accommodation which is the subject matter of the Verified
26
        Complaint does not have policies regarding the operation and management of the
27
        Public Accommodation.
28

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                  ADMIT - - - -                        DENY_ _ __
 1
 2
     3. Admit that the Public Accommodation which is the subject matter of the Verified
 3
        Complaint does not have a plan or policy that is reasonably calculated to make its entire
 4
        public accommodation fully accessible to and independently usab]e by disabled
 5
        individuals.
 6                                                     DENY- - - -
                   ADMIT - - - -
 7

 8                  NON-UNIFORM CONTRACT INTERROGATORIES
 9    (If spaces provided below are insufficient to fully disclose requested information,
             please attach additional sheets referencing the proper interrogatory)
10
     1. If you did not unconditionally admit each of the Requests for Admission above, please
11
        state all facts and legal considerations for your denial.
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     2. Please describe all actions you or anyone on your behalf have/has taken since 1991 to
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        comply with the AzDA, the ADA and the Standards.
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11   3. Please describe in detail any actual or suspected non-compliance of the Public
12      Accommodation with the AzDA, the ADA or the Standards.

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25   4. Please identify the person or entity responsible for the Public Accommodation's
26      compliance with the AzDA, the ADA and the Standards.

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 Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 87 of 163




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 8   5. Please identify by name, address, telephone number, e-mail address any and all tenants
 9      who rent or lease space at the Public Accommodation.
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25                   REQUEST FOR PRODUCTION OF DOCUMENTS
26
27   1. Please produce any and all policies regarding the operation and management of the

28      Public Accommodation, including, without limitation, any plan or policy that is


                                             5
 Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 88 of 163




        reasonably calculated to make its entire public accommodations fully accessible to and
 1
        independently usable by disabled individuals.
 2
 3
     2. Please produce any and all architectural drawings, plats, maps and schematics for the
 4
        Public Accommodation.
 5
 6
     3. Please produce any and all rental or lease agreements for any space within the Public
 7      Accommodation effective on the date of the filing of the Verified Complaint until the
 8      present. Further produce all rental/lease applications and financial records of each
 9      renter or tenant.
10
11   4. If you claim that compliance with the AzDA, the ADA and/or the Standards is not

12      readily achievable, please produce your complete financial records for the 5 years

13      preceding the issuance of this Discovery Request No l. These records include, without

14      limitation, tax records, profit and loss statements, income statements, bank statements,
        credit applications,
15
16         RESPECTFULLY SUBMITTED this Tuesday, July 18, 2016.
17
18
19                                                \~
                                               Peter Strojnik, State Bar No 6464
20                                             Attorneys for Plaintiff
21
22
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Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 89 of 163




          EXHIBIT D
Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 90 of 163


                                                                         MICHAEL K. JEANES
                                                                   Clerk of the Superior Court
                                                                      DY Constance Sinsabaugh, DePut:Y
                                                                       Date 06/09/2016 Time 11:11:14
     Peter Strojnik, State Bar No. 6464                           DBscriPtion                   Amrunt
                                                                  - - - - CAsrn Cll2016-006B45 ------
     STROJNIK P.C.                                                CIVIL NEW COMPLAINT           319.00
 2   l EAST WASHINGTON STREET, SUITE 500                          --------~------~-----------~---·-
     PHOENIX, AZ 85004                                            TOTAL AMOUNT                   319.00
 3   (774) 768-2234                                                          ReceiPtff 252%154
 4   Attomey for Plaintiff
     Case Specific Email Address:
 5   4235EBELLRD@aadi.org
     www.aid.org
 6
 7                              UNITED STATES DISTRICT COURT
                                    DISTRICT OF ARIZONA
 8
 9   AbVOCA TES FOR INDIVIDUALS
10
     WITH DISABILITIES FOUNDATION,                     Case No:   CV 2 0 1 6 - 0 0 6$ 4~
     INC., a charitable non-profit foundation,
11
                           Plaintiff,                       VERIFIED COMPLAINT
12
13
     vs.
14
     SMITHS FOOD AND DRUG CENTERS
15
     INC;
16
                            Defendant.
17
           Plaintiff alleges:
18
                                                PARTIES
19    I.   Plaintiff,   Advocates       for   Individuals with Disabilities        Foundation, Inc.
20         ("Foundation") is a non~profit charitable foundation. See www.aid.org.
21    2.   Defendant, SMITHS FOOD AND DRUG CENTERS INC, owns and/or operates
22         a business located at 4235 E BELL RD PHOENIX AZ 85032 which is a place of
23         public accommodation pursuant to 42 U.S.C. § 12181(7)(A) which offers public
24         lodging services.

25
26                                            INTRODUCTION
27
28
Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 91 of 163




     3.   Plaintiff brings this action against Defendant, alleging violations of Title mof the
          Americans with Disabilities Act, 42 U.S.C. §§ 12101 et seq., (the "ADA") and its
 2
          implementing regulations and A.R.S. Title 41, Chapter 9, Article 8, §§41-1492 et
 3
          seq. and its implementing regulations, RJ0-3-401 et seq. (the "AzDA")
 4
     4.   Plaintiff is a charitable non-profit foundation. Plaintiff is known to have past,
 5
          present and future relationships or associations with individuals with disabilities as
 6        defined in 28 CFR § 36.205. In connection with 28 CFR §36.205, and generally
 7        relating to third-party standing, Plaintiff alleges:
 8         a.   Plaintiff has a close relationship with former, current and future disabled
 9              individuals who are directly protected by the ADA as discrete and insular
10              minorities. See, e.g.> www.aid.org.
1t         b.   Plaintiffs association with former, current and future disabled individuals
12              arises from Plaintiff's charitable acts of giving to the disabled community,

13              which are interests that are germane to the association's purpose.

14
           c.   Plaintiff's close relationship to the third party disabled individuals is such
                that a third party disabled individuals cannot be reasonably expected to
15
                properly frame the issues and present them with the necessary adversarial
16
                zeal to the Court. Third party disabled individuals are hindered to litigate by
17
                virtue of their status as minors and/or their lack of mobility and/or financial
18
                resources.
19
           d.   Because only injunctive and declaratory relief is requested, participation in
20
                the action by individual disabled individuals is not required.
21   5.   Plaintiff brings this civil rights action against Defendant for failing to design,
22        construct, and/or own or operate public accommodations that are fully accessible
23        to, and independently usable by, disabled people. Plaintiff seeks a declaration that
24        Defendant's public accommodation violates federal law and an injunction
25        requiring Defendant to install means of access in compliance with ADA
26        requirements so that their facility is fully accessible to, and independent usable by,

27        disabled individuals. Plaintiff further requests that, given Defendant's historical
          failure to comply with the ADA 's mandate, the Court retain jurisdiction of this
28
                                              2
Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 92 of 163




             matter for a period to be determined to ensure that Defendant comes into
             compliance with the relevant requirements of the ADA, and to ensure that
 2
             Defendant has adopted and is following an institutional policy that will, in fact,
 3
             cause Defendant to remain in compliance with the law.
 4
     6.      In compliance with Rl0-3-405(H)(I), Plaintiff's address is 40 North Central
 5
             Avenue, Suite 1400, Phoenix, Arizona 85004
 6
                                     JURISDICTION AND VENUE
 7   7.      Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42 U.S.C. §
 8           12188.
 9        8. Plaintiff's claims asserted herein arose in this judicial district and Defendant does
10           substantial business in this judicial district.

11        9. Venue in this judicial district is proper under 28 U.S.C. § 139l(b) and (c) in that

12           this is the judicial district in which a substantial part of the acts and omissions

13           giving rise to the claims occurred.

14                   THE ADA AND ITS IMPLEMENTING REGULATIONS
15        IO.On July 26, 1990, President George H.W. Bush signed into law the ADA, a
             comprehensive civil rights law prohibiting discrimination on the basis of
16
             disability.
J7
          11. The ADA broadly protects the rights of fodividuals with disabilities in
18
             employment, access to State and local government services, places of public
19
             accommodation, transportation, and other important areas of American life.
20
          12. Title 111 of the ADA prohibits discrimination in the activities of places of public
21
             accommodation and requires places of public accommodation to comply with
22           ADA standards and to be readily accessible, and independently usable by,
23           individuals with disabilities. 42 U.S.C. §§ 12181-89.
24        13. Title Ill states, inter alia, that 'Ti]t shall be discriminatory to afford an individual
25           or class of individuals, on the basis of a disability , . . with the opportunity to
26           participate in or benefit from a good, service, facility, privilege, advantage, or

27           accommodation that is not equal to that afforded to other individuals." See 42

28           U.S.C.        §12182(b)(l)(A)(H).     In    addition,     §12182(b)(l)(A)(iii)       and
                                                  3
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                                                                                                   I
                                                                                                   I




         § 12182(b)( 1)(B)] are intended to prohibit exclusion and segregation of in di vi duals
         with disabilities and the denial of equal opportunities enjoyed by others, based on,
 2
         among other things, presumptions, patronizing attitudes 1 fears, and stereotypes
 3
         about individuals with disabilities. 28 C.F.R. pt. 36, app. C (2011).
 4
      14. On July 26, 1991, the Department of Justice ("DOJ") issued rules implementing
 5
         Title III of the ADA, which are codified at 28 CFR Part 36.
 6    15.Appendix A of the 1991 Title III regulations (republished as Appendix D to 28
 7       CFR part 36) contains the ADA standards for Accessible Design (1991 Standards),
 8       which were based upon the Americans with Disabilities Act Accessibility
 9       Guidelines (1991 ADAAG) published by the Access Board on the same date.
10    16. ln 1994, the Access Board began the process of updating the 1991 ADAAG by
11       establishing a committee composed of members of the design and construction
12       industries, the building code community, and State and local governmental

13       entities, as well as individuals with disabilities.

14    17. ln 1999, based largely on the report and recommendations of the advisory
         committee, the Access Board issued a notice of proposed rulemaking to update
15
         and revise its ADA and ABA Accessibility Guidelines.
16
      18. The Access Board issued final publication of revisions to the 1991 ADAAG on
17
         July 23, 2004 ("2004 ADAAG").
18
      19. On September 30, 2004, the DOJ issued an advanced notice of proposed
19
         rulemaking to begin the process of adopting the 2004 ADAAG.
20
      20. On June 17, 2008, the DOJ published a notice of proposed rulemaking covering
21       Title III of the ADA.
22    21. The long~conternplated revisions to the 1991 ADAAG culminated with the DOJ's
23       issuance of The 2010 Standards for Accessible Design ("2010 Standards"). The
24       DOJ published the Final Rule detailing the 2010 Standards on September 15,
25       2010. The 2010 Standards consist of the 2004 ADAAG and the requirements
26       contained in subpart D of28 CFR part 36.

27                THE AzDA AND ITS IMPLEMENTING REGULATIONS
28
                                             4
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      22. The AzDA and its implementing regulations, §§41-1492 et seq. and Rl 0-3-401 et
 1
         seq. provide similar prohibitions and remedies to the ADA and its implementing
 2
         regulations.
 3
 4                     ALLEGATIONS COMMON TO ALL COUNTS
      23. Pursuant to CFR 36-302{l)(ii) and otherwise, on or about 3/17/2016, Plaintiff,
 5
         who is known to have a relationship or association with individuals with
 6
         disabilities, conducted an investigation into Defendant's public accommodation
 7
         for purposes of ascertaining whether it complies with the ADA. Plaintiff's
 8       investigation confirmed that . Defendant's public accommodation was not
 9       acce~sible to individuals with disabilities in the following particulars:
10          1. Violation of the 2010 ADA Standards of Accessibility Design §§216.5 and
)l          502.6 in that it fails to identify van parking spaces by the designation "van
12          accessible" and or fails to maintain the minimum height of 60 inches ( 1525 mm)
13          above the finish floor

14       Plaintiff has actual knowledge of at least one barrier related to third party disabled

15
         individuals as indicated in the preceding allegation. Therefore, third party
         individuals with disabilities are currently deterred from visiting Defendant's
16
         public accommodation by accessibility barrier(s). Upon information and belief,
17
         there are other potential violations and barriers to entry that will be discovered and
18
         disclosed during the discovery and disclosure process.
19
      24. Without the presence of adequate handicapped parking spaces, sufficient
20
         designation or signage and or sufficient disbursement of such parking spaces, third
21
         party individuals with disabilities are prevented from equal enjoyment of the
22       Defendant's Public Accommodation.
23    25. As a result of Defendant's   non~compliance   with the AzDA and the ADA, third
24       party individuals with disabilities will avoid and not visit Defendant's Public
25       Accommodation in the future unless and until all AzDA and ADA violations have
26       been cured.
27    26. The existence of barriers deters third party individuals with disabillties from

28       conducting business or returning to Defendant's Public Accommodation. Upon
                                          5
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          information and belief, other disabled persons are also deterred from visiting there
          or otherwise precluded from frequenting Defendant's Public Accommodation due
 2
          to its non-compliance with the AzDA and the ADA.
 3
      27. As a result of Defendant's non-compliance with the ADA, third party disabled
 4
          individuals, unlike persons without d1sabilities, are denied equal access.
 5
      28. Upon information and belief, though Defendant may have centralized policies
 6
          regarding the management and operating of its hotel, Defendant does not have a
 7        plan or policy that is reasonably calculated to make its entire facility fully
 8        accessible to and independently usable by, disabled people.
 9    29. Plaintiff verified that Defendant's Public Accommodation lacks the mandatory
10        elements required by the 2010 Standards to make their facility fully accessible to
11        and independently usable by disabled people.

12    30. Plaintiff has a keen interest in whether public accommodations are fully accessible

13       to, and independently usable by, individuals with disabilities, specifically

14        including an interest in ensuring that parking spaces comply with the 2010
          Standards.
15
      31. Third party disabled individuals have been injured by Defendant's discriminatory
16
         practices and failure to remove architectural barriers to equal access. These
17
          injuries include being deterred from. using Defendant's facilities due to the
18
         inaccessibility and/or insufficient designation of appropriate parking .
19
      32. Without injunctive relief, Plaintiff and others will continue to be unable to
20       independently use Defendant's Public Accommodation under ADA and AzDA.
21                                          COUNT ONE
22                                  (Violation of Title III of ADA)

23    33. Plaintiff incorporates all allegations heretofore set forth.

24    34. Defendant has discriminated against third party disabled individuals and others in

25       that it has failed to make its public accommodation fully accessible to, and
         independently usable by, individuals who are disabled in violation of AzDA,
26
         Article 8, Chapter 10 of Title 41 of the Arizona Revised Statutes, A.R.S. §§ 41-
27
          1492 et seq. and its implementing regulations, Rl0-3-401 et seq. and the ADA;
28
                                              6
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            Title III of the Americans with Disabilities Act, 42 U.S.C. §§ 12101 et seq., and
            its implementing regulations 28 CFR §§ 36. I 0 I et seq.
 2
         35. Defendant has discriminated against third party disabled individuals in that it has
 3
            failed to remove architectural barriers to make its Public Accommodation fully
 4
            accessible to, and independently usable by individuals who are disabled in
 5
            violation of the AzDA and the ADA and, particularly, 42 U.S.C. §12182(b)(A)(iv)
 6
            and Section 208.2 of the 2010 Standards, as described above. Compliance with the
 7          requirements of section 208.2 of the 2010 Standards would neither fundamentally
 8          alter the nature of Defendant's Public Accommodation nor result in an undue
 9          burden to Defendant.
10       36. Complia.nce with AzDA and the ADA is readily achievable by the Defendant due
11          to the low costs. Readily achievable means that providing access is easily
12          accomplishable without significant difficulty or expense .

13       37. Conversely, the cessation of compliance with the ADA law is also readily

14
            achievable by redrawing the parking spaces to its original configuration and or
            changing signage back to the same. Therefore, injunctive relief should issue
15
            irrespective of Defendant's potential voluntary cessation pursuant to the Supreme
16
            Court's announcement in Friends of the Earth case 1•
17
         38. Defendant's conduct is ongoing, Plaintiff invokes Plaintiffs statutory right to
18
            declaratory and injunctive relief, as well as costs and attorneys' fees, both pursuant
19
            to statute and pursuant to the Private Attorney General doctrine.
20
21
22   1
       Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. Inc., 528 U.S. 167, 189, 120 S.Ct.
                                                                     1


23   693, 145 L.Ed.2d 610 (2000):
            It is well settled that a defendant's voluntary cessation of a challenged practice does not
24          deprive a federal court of its power to determine the legality of the practice. If it did, the
            courts would be compelled to leave the defendant free to return to his old ways. In
25
            accordance with this principle, the standard we have announced for determining whether a
26          case has been mooted by the defendant's voluntary conduct is stringent: A case might
            become n10ot if subsequent events made it absolutely clear that the alleged1y wrongful
27          behavior could not reasonably be expected to recur. The heavy burden of persuading the
            court that the challenged conduct cannot reasonably be expected to start up again lies with
28          the party iisserting mootness.
                                                     7
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      39. Without the requested injunctive relief, specifically including the request that the
         Court retain jurisdiction of this matter for a period to be determined after the
 2
         Defendant certifies that it is fully in compliance with the mandatory requirements
 3
         of the AzDA and ADA that are discussed above, Defendant's non-compliance
 4
         with the AzDA and ADA' mandatory requirements may be or are likely to recur.
 5
                                             COUNT TWO
 6           (Violation A.R.S. Title 41, Chapter 9, Article 8, §§41-1492 et seq. AND
                                   Implementing Regulations)
 7
 8    40. Plaintiffrealeges all. allegations heretofore set forth.
 9    41. Plaintiff has been damaged and injured by the Defendant's non-compliance with
IO       the AzDA.
11    42. Pursuant to A.R.S. § 41-1492.08, and §41-1492.09, plaintiff has the right to
12       enforce the AzDA by the issuance of injunctive relief.

13    43. Pursuant to A.R.S. § 41-1492.08, Plaintiff is entitled to preventive and mandatory

14
         relief.
      44. Mandatory relief includes relief mandated by A.R.S. § 41-1492.09 obligating the
15
          Office of the Attorney General to take actions specified therein.
16
      45. Pursuant to A.R.S. § 4 l-1492.09(B)(2), Plaintiff is further entitled to such other
17
         relief as the Court considers appropriate, including monetary damages in an
18
         amount to be proven at trial, but in no event less than $5,000.00.
19
      46. Pursuant to A.R.S. § 41-1492.09(F), Plaintiff is entitled to attorney's fees and costs
20        in an amount proven but in no event less than $5,000.00.
21                                      PRAYER FOR RELIEF
22       WHEREFORE, Plaintiff demands judgment against Defendant as follows:
23         a. A Declaratory Judgment that at the commencement of this action Defendant
24             was in violation of the specific requirements of Title III of the ADA described
25             above, and the relevant implementing regulations of the ADA, in that
26             Defendant took no action that was reasonably calculated to ensure that its

27             Public Accommodation was fully accessible to, and independently usable by,
               individuals with disabilities ;
28
                                              8
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          b. Irrespective of Defendants "voluntary cessation" of the ADA violation, if
             applicable, a permanent injunction pursuant to 42 U.S.C. § 12 l 88(a)(2) and
 2
             28 CFR § 36.504(a) which directs Defendant to take all steps necessary to
 3
             bring its public accommodation into full compliance with the requirements
 4
             set forth in the ADA and its implementing regulations, so that the facility is
 5
             fully accessible to, and independently usable by, disabled individuals,
 6
             specifically Sections 208.2 of the 2010 Standards, and which further directs
 7           that the Court shall retain jurisdiction for a period to be determined after
 8           Defendant certifies that its facility is fully in compliance with the relevant
 9           requirements of the ADA to ensure that Defendant has adopted and is
10           following an institutional policy that will in fact cause Defendant to remain
11           fully in compliance with the law;
12        c. Irrespective of Defendants "voluntary cessation" of the ADA violation, if

13           applicable, payment of costs of suit, expenses of suit and attorney's fees;

14        d. Order closure of the Defendant's place of public accommodation until
             Defendant has fully complied with the ADA and AzDA;
15
          e. A Declaratory Judgment that at the commencement of this action Defendant
16
             was in violation of the specific requirements of AzDA;
17
          f. Irrespective of Defendants "voluntary cessation" of the ADA violation, if
18
             applicable, a permanent injunction pursuant to AzDA which directs
19
             Defendant to take all steps necessary to bring its facility into full compliance
20           with the requirements set forth in the AzDA, and its implementing
21           regulations, so that the facility is fully accessible to, and independently
22           usable by, disabled individuals, specificaUy including ensuring parking
23           spaces comply with the 2010 standards as required by law, and which further
24           directs that the Court shall retain jurisdiction for a period to be determined
25           after Defendant certifies that its facility is fully in compliance with the
26           relevant requirements of the AzDA to ensure that Defendant has adopted and

27           is following an institutional polky that will in fact cause Defendant to remain

28           fully in compliance with the law;
                                          9
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              g. For damages authorized by § 41-1492.09(8)(2) in an amount no less than
                   $5,000.00;
 2
              h.   Irrespective of Defendants "voluntary cessation" of the ADA violation, if
 3
                   applicable, payment of attorneys' fees pursuant to 42 U.S.C. § 12205, 28
 4
                   CFR § 36.505 and A.R.S. § 41-1492.09(F) and other principles of law and
 5
                   equity and in compliance with the "prevailing party" and "material
 6
                   alteration" of the parties' relationship doctrines 2 in an amount no less than
 7                 $5,000.00; and,
 8            i.   The provision of whatever other relief the Court deems just, equitable and
                   appropriate.                                      ·
 9
                                    DEMAND FOR JURY TRIAL
10
                    Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff
11
            hereby demands a jury trial on issues triable by a jury.
12
            RESPECTFULLY SUBMITTED this Friday, June 3, 2016.
13
                                                 STROJNIK P.C.
14

15                                               Pet    troj nik (6464)
16                                               Attorneys for Plaintiff

17                      VERIFICATION COMPLIANT WITH Rl0-3~405

18          I declare under penalty of perjury that the foregoing is true and correct.

19          DA TED this Friday, June 3, 2016.

20
21          By: Fabian Zazueta, Authorized Agent
            Advocates for Individuals with
22          Disabilities Foundation, Inc.
23
24
25
26
27   2As applicable to ADA cases, see Coppi v. City of Dana Point, Case No. SACV 11-1813 JGB (RNBx)
     {February, 2015)
28
                                                10
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           Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 102 of 163
                II

 Location                                       Features        of.A~essible                Parking Spaces f?r Cars
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          .                 .                  ments,and euforcement efforts. v.iww.usdoj.gov/crt/ada/adahomthtm
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13                               EXHIBIT 2
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   multiple accessible entrnnr.es with                               ,.. lf,!h~ ac_cesslbte route·is loeate.d in front of the:sp_ace, install
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   provided in teims 9f distance from                                    accessibility-mounted high enough so the sign can be seen when
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           EXHIBIT E
          Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 107 of 163




CORPORATION SERVICE COMPANY'

                                                                                                                         TMM/ ALL
                                                                                                      Transmittal Number: 15494759
Notice of Service of Process                                                                             Date Processed: 08/1112016

Primary Contact:            Rene Jent
                            The Kroger Co.
                            1014 Vine Street
                            Cincinnati, OH 45202-1100

Entity:                                        Dillon Real Estate Co., Inc.
                                               Entity ID Number 2171624
Entity Served:                                 Dillon Real Estate Co Inc
Title of Action:                               Advocates for Individuals with Disabilities Foundation, Inc vs. Dillon Real Estate
                                               Co Inc.
Document(s) Type:                              Summons/Complaint
Nature of Action:                              Discrimination
Court/Agency:                                  Maricopa County Superior Court, Arizona
Case/Reference No:                             CV2016 010994
Jurisdiction Served:                          Arizona
Date Served on CSC:                           08/09/2016
Answer or Appearance Due:                     20 Days
Originally Served On:                         csc
How Served:                                   Personal Service
Sender Information:                           Peter Strojnik
                                              77 4-768-223

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                To avoid potential delay, please do not send your response to CSC
                              CSC is SAS70 Type II certified for its Litigation Management System.
                         2711 Centerville Road Wilmington, DE 19808 (888) 690-2882           I   sop@cscinfo.com
  Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 108 of 163




                               STROJNIK,               P.C.
                              ATTORNEY AT LAW



                                 BY PROCESS SERVER


                                   Tuesday, July 26, 2016

DILLON REAL P~T A TR c;o INC
c/o CORPORATION SERVICE COMPANY-Its Statutory Agent
2338 W ROYAL PALM RD STE-J
PHOENIX, AZ 85021
      Re: David Ritzenthaler v. DILLON REAL ESTATE CO INC
          Maricopa County SuperiorCourt

Dear Sir or Madam:

You are being served with the Summons, Verified Complaint, Certificate of Arbitration
and Discovery Request No. 1 in the above captioned matter.

Please forward this package to your insurance company and your legal counsel if you have
and or retained such.

I look forward to hearing from you or your legal representative at the earliest opportunity
so we may mutualy explore a feasible and economical resolution to this matter.

Please note that all communication regarding all Enforcement Actions are performed solely
through email at the following e-mail address: 855WWARNERRD@aadi.org.

                                          Sincerely,


                                          Peter Strojnik
Enels:
   1. Summons
   2. Verified Complaint
   3. Certificate of Arbitration
   4. Discovery Request No. 1




                     1   EAST WASHINGTON STREET SUITE500 PHOENIX, AZ 85004
                                    TEl: (774)768-AADI (2234)
 Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 109 of 163




     Peter Strojnik, State Bar No. 6464
 1
     STRO.JNIK P.C.
 2   1 EAST WASHINGTON STREET, SUITE 500
     PHOENIX, AZ 85004
 3   (774) 768-2234
 4   Attorney for Plaintiff
     Case Specific Email Address:
 5   855WWARNERRD@aid.org

 6
 7               IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

 8                       IN AND FOR THE COUNTY OF MARICOPA
 9
                                                       cv2·0·16·010994
10    Advocates for Individuals with Disabilities,
      Foundation, Inc.,                                Case No:
11
12                          Plaintiff,
                                                                      SUMMONS
13
      vs.                                               If you would like legal advice from a lawyer,
14                                                         Contact the Lawyer Referral Service at
                                                                        602-257-4434
15    DILLON REAL ESTATE CO INC                                              or
                                                               www.marfcogalaytyers.org
                     Defendants.                                    Sponsored by the
16
                                                             Maricopa County Bar Assoclatlon
17   TO THE ABOVE NAMED DEFENDANT(S):

18   YOU ARE HEREBY SUMMONED and required to appear and defend, within the time
19   applicable, in this action in this Court. If served within Arizona, you shall appear and
     defend within 20 days after the service of the Summons and Complaint upon you,
20   exclusive of the day of service. If served out of the State of Arizona - whether by direct
     mail, by registered or certified mail, or by publication - you shall appear and defend
21
     within 30 days after the service of the Summons and Complaint upon you is complete,
22   exclusive of the day of service. When process is served upon the Arizona Director of
     Insurance as an insurer's attorney to receive service of process against it in this State, the
23   insurer shall not be required to appear, answer or plead until the expiration of 40 days of
24   such service upon the Director. Service by registered or certified mail without the State
     of Arizona is complete 30 days after the date of filing the receipt and affidavit of service
25   with the Court. Service by publication is complete 30 days after the date of first
     publication. Direct service by mail is complete when made. Service upon the Arizona
26   Motor Vehicle Superintendent is complete 30 days after the Affidavit of Compliance and
27   return receipt of Officer's Return. RCP 4.1and4.2; A.R.S. §§ 20-222, 28-502, 28-503.

28
 Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 110 of 163




     YOU ARE HEREBY NOTIFIED that in case of your failure to appear and defend
 I
     within the time applicable, judgment by default may be rendered against you for the
 2   relief demanded in the Complaint. YOU ARE CAUTIONED that in order to appear
     and defend, you must file an Answer or proper response in writing with the Clerk
 3   of the Court, accompanied by the necessary filing fee, within the time required, and
 4   you are required to serve a copy of any Answer or Response upon Plaintiffs
     attorney, or if Plaintiff is not represented by counsel, upon Plaintiff.
 5
     A request for reasonable accommodations for persons with disabilities must be made to
 6   the division assigned to the case by the parties at least three (3) days before the scheduled
     court proceeding.
 7
 8                              The name and address of Plaintiff is:

 9                  Advocates for Individuals with Disabilities Foundation, Inc.
                              40 North Central A venue, Suite 1400
10                                     Phoenix, AZ 85004
11
     SIGNED AND SEALED this date: - - - - - - -                   ~~-l!J---..,...i·F
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 Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 111 of 163




     Peter Strojnik, State Bar No. 6464
                                                           ~7.·.
 1

 2
     STROJNIK P.C.
     1 EAST WASHINGTON STREET, SUITE 500                   ~:.~<
                                                                          COPY
     PHOENIX, AZ 85004                                     .,
 3   (774) 768-2234                                                       AUG 0 3 ZOl6
 4   Attorney for Plaintiff
     Case Specific Email Address:
 5   855WWARNERRD@aid.org
 6
                   IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 7
                           IN AND FOR THE COUNTY OF MARICOPA
 8
 9   ADVOCATES FOR INDIVIDUALS                                       CV2016·010994
     WITH DISABILITIES FOUNDATION,                         Case No:
10
     INC., a charitable non-profit foundation,
11
                              Plaintiff,                            VERIFIED COMPLAINT
12
13   vs.

14    DILLON REAL ESTATE CO INC;
15
                               Defendant.
16
              Plaintiff alleges:
17                                                 PARTIES
18         1. Plaintiff,   Advocates       for   Individuals       with   Disabilities   Foundation,   Inc.

19            ("Foundation") is a non-profit charitable foundation and performs the functions of

20            a traditional association representing individuals with disabilities.                    See

21            www.aid.org.
      2.      Defendant, DILLON REAL ESTATE CO INC, owns and/or operates a business
22
              located at 855 WWARNER RD GILBERT AZ 85233 which is a place of Public
23
              Accommodationpursuantto42 U.S.C. § 12181(7).
24
25
                                                 INTRODUCTION
26
      3.      Plaintiff brings this action against Defendant, alleging violations of Title III of the
27
              Americans with Disabilities Act, 42 U.S.C. §§ 12101 et seq., (the "ADA") and its
28
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          implementing regulations and A.R.S. Title 41, Chapter 9, Article 8, §§41-1492 e~
 1
          seq. and its implementing regulations, RI 0-3-401 et seq. (the "AzDA")
 2
     4.   Plaintiff is a charitable non-profit foundation. Plaintiff is known     t~   have past,
 3
          present and future relationships or associations with individuals with disabilities as
 4
          defined in 28 CFR § 36.205. In connection with 28 CFR §36.205, and generally
 5
          relating to third-party standing, Plaintiff alleges:
 6
           a.   Plaintiff has a close relationship with former, current and future disabled
 7              individuals who are directly protected by the ADA as discrete and insular
 8              minorities. See, e.g., www.aid.org.
 9         b.   Plaintiffs association with former, current and future disabled individuals
IO              arises from Plaintiffs charitable acts of giving to the disabled community,
11              which are interests that are germane to the association's purpose.
12         c.   Plaintiffs close relationship to the third party disabled individuals is such

13              that third party disabled individuals cannot be reasonably expected to

14              properly frame the issues and present them with the necessary adversarial
                zeal to the Court. Third party disabled individuals are hindered to litigate by
15
                virtue of their status as minors and/or their lack of mobility and/or financial
16
                resources.
17
           d.   David Ritzenthaler is a member of the Foundation by virtue of being
18
                President, Director and Chairman and suffers from disability as this term is
19
                defined in A.R.S. §41-1492(6) and interpreted pursuant to A.RS. §41-
20
                1492.12.
21        e.    Because only injunctive and declaratory relief is requested, participation in
22              the action by individual disabled individuals is not required.
23   5.   Plaintiff brings this civil rights action against Defendant for failing to design,
24        construct, and/or own or operate Public Accommodations that are fully accessible
25        to, and independently usable by, individuals with disabilities. Plaintiff seeks a
26        declaration that Defendant's Public Accommodation violates federal and state law
27        and an injunction requiring Defendant to install means of access in compliance

28        with ADA requirements so that their facility is fully accessible to, and independent
                                              2
 Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 113 of 163




             usable by, individuals with disabilities. Plaintiff further requests that, given
 1
             Defendant's historical failure to comply with the ADA 's mandate, the Court retain
 2
             jurisdiction of this matter for a period to be determined to ensure that Defendant
 3
             comes into compliance with the relevant requirements of the ADA and AzDA, and
 4
             to ensure that Defendant has adopted and is following an institutional policy that
 5
             will, in fact, cause Defendant to remain in compliance with the law.
 6
     6.      In compliance with R10-3-405(H)(l), Plaintiff's address is 40 North Central
 7           A venue, Suite 1400, Phoenix, Arizona 85004
 8                                   JURISDICTION AND VENUE
 9   7. This Court has original jurisdiction over the AzDA claims by virtue of A.R.S. §§ 12-
10          123 and 41-1492.8 and concurrent jurisdiction over the ADA claims by virtue of
11         A.R.S. § 12-123 and Article 6, Section 14(1) of the Arizona Constitution gives the
12         superior court original jurisdiction of"[ c]ases and proceedings in which exclusive

13         jurisdiction is not vested by law in another court."

14                THE ADA AND ITS IMPLEMENTING REGULATIONS
15     8. On July 26, 1990, President George H.W. Bush signed into law the ADA, a
             comprehensive civil rights law prohibiting discrimination on the basis of
16
             disability.
17
      9. The ADA broadly protects the rights of individuals with disabilities in
18
             employment, access to State and local government services, places of Public
19
             Accommodation, transportation, and other important areas of American life.
20
          10. Title III of the ADA prohibits discrimination in the activities of places of Public
21
             Accommodation and requires places of Public Accommodation to comply with
22           ADA standards and to be readily accessible, and independently usable by,
23           individuals with disabilities. 42 U.S.C. §§ 12181-89.
24        11. Title III states, inter alia, that "[i]t shall be discriminatory to afford an individual .
25           or class of individuals, on the basis of a disability . . . with the opportunity to
26           participate in or benefit from a good, service, facility, privilege, advantage, or
27           accommodation that is not equal to that afforded to other individuals." See 42

28           U.S.C.        §12182(b)(l)(A)(ii).    In     addition,     §12182(b)(l)(A)(iii)      and
                                                  3
 Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 114 of 163




          § l 2 l 82(b)( 1)(B)] are intended to prohibit exclusion and segregation of indi vi duals
 1
          with disabilities and the denial of equal opportunities enjoyed by others, based on,
 2
          among other things, presumptions, patronizing attitudes, fears, and stereotypes
 3
          about individuals with disabilities. 28 C.F.R. pt. 36, app. C (2011).
 4
       12.0n July 26, 1991, the Department of Justice ("DOJ") issued rules implementing
 5
          Title III of the ADA, which are codified at 28 CFR Part 36.
 6
       13. Appendix A of the 1991 Title III regulations (republished as Appendix D to 28
 7        CFRpart 36) contains the ADA standards for Accessible Design (1991 Standards),
 8        which were based upon the Americans with Disabilities Act Accessibility
 9        Guidelines ( 1991 ADAAG) published by the Access Board on the same date.
IO     14.In 1994, the Access Board began the process of updating the 1991 ADAAG by
11        establishing a committee composed of members of the design and construction
12        industries, the building code community, and State and local governmental

13        entities, as well as individuals with disabilities.

14     15.In 1999, based largely on the report and recommendations of the advisory
          committee, the Access Board issued a notice of proposed rulemaking to update
15
          and revise its ADA and ABA Accessibility Guidelines.
16
       16. The Access Board issued final publication of revisions to the 1991 ADAAG on
17
          July 23, 2004 ("2004 ADAAG").
18
       17. On September 30, 2004, the DOJ issued an advanced riotice of proposed
19
          rulemaking to begin the process of adopting the 2004 ADAAG.
20
       18.0n June 17, 2008, the DOJ published a notice of proposed rulemaking covering
21        Title III of the ADA.
22     19. The long-contemplated revisions to the 1991 ADAAG culminated with the DOJ's
23        issuance of The 20 l 0 Standards for Accessible Design ("2010 Standards"). The
24        DOJ published the Final Rule detailing the 2010 Standards on September 15,
25        2010. The 2010 Standards consist of the 2004 ADAAG and the requirements

26        contained in subpart D of 28 CFR part 36.

27                 THE AzDA AND ITS IMPLEMENTING REGULATIONS
28
                                               4
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       20. The AzDA and its implementing regulations, §§41-1492 et seq. and Rl0-3 7401 et
 1
          seq. provide similar prohibitions and remedies to the ADA and its implementing
 2
          regulations.
 3
 4                     ALLEGATIONS COMMON TO ALL COUNTS
       21.Pursuant to CFR 36-302(l)(ii) and otherwise, on or about 6/29/2016, Plaintiff,
 5
          who is known to have a relationship or association with individuals with
 6
          disabilities and directed by David Ritzenthaler, an individual with disabilities,
 7
          conducted an investigation of Defendant's Public Accommodation for purposes
 8        of ascertaining whether it complies with the ADA and AzDA. Plaintiffs
 9        investigation confirmed that Defendant's Public Accommodation was not
10        accessible to individuals with disabilities in the following particulars:
11           1. Violation of the 2010 ADA Standards of Accessibility Design §§216.5 and
12           502.6 in that it fails to identify van parking spaces by the designation "van

13          accessible" and or fails to maintain the minimum height of 60 inches (1525 mm)

14          above the finish floor or ground surface measured to the bottom of the sign

15        Plaintiff has actual knowledge of at least one barrier related to third party disabled
          individuals as indicated in the preceding allegation. Therefore, third party
16
          individuals with disabilities, including current and future members of the
17
          association    are   currently   deterred   from    visiting   Defendant's     Public
18
          Accommodation by accessibility barrier(s).
19
       22. Without the presence of adequate and or accessible parking spaces, sufficient
20
          designation or signage and or sufficient disbursement of such parking spaces, third
21
          party individuals with disabilities, including members of the Foundation, are
22
          prevented from equal enjoyment of the Defendant's Public Accommodation.
23    23.As a result of Defendant's non-compliance with the AzDA and the ADA, third
24        party individuals with disabilities, including members of the Foundation, are
25        deterred from visiting Defendant's Public Accommodation in the future unless and
26        until all AzDA and ADA violations have been cured.

27
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      24. The existence of barriers deters third party individuals with disabilities, including
 1
         members of the Foundation, from conducting business or returning to Defendant's
 2
         Public Accommodation.
 3
      25. As a result of Defendant's non-compliance with the ADA and AzDA, third party
 4
         disabled individuals, including members of the Foundation, unlike persons
 5
         without disabilities, are denied equal access.
 6
      26. Plaintiff verified that Defendanf s Public Accommodation lacks the mandatory
 7       elements required by the 2010 Standards to make their facility fully accessible to
 8       and independently usable by individuals with disabilities, including members of
 9       the Foundation.
10    27. Plaintiff has a keen interest in whether Public Accommodations are fully
11       accessible to, and independently usable by, individuals with disabilities, including

12       members of the Foundation, specifically including an interest in ensuring that

13       parking spaces comply with the 2010 Standards.

14    28. Third party disabled individuals have been injured by Defendant's discriminatory
         practices and failure to remove architectural barriers to equal access. These
15
         injuries include being deterred from using Defendant's facilities due to the
16
         inaccessibility and/or insufficient designation of appropriate parking .
17
      29. Without injunctive relief, Plaintiff and individuals with disabilities, including
18
         members of the Foundation, will continue to be denied equal access and unable to
19
         independently use Defendant's Public Accommodation under ADA and AzDA.
20
                                            COUNT ONE
21                     (Violation of Title III of ADA and Title 41 of AzDA)

22    30.Plaintiff incorporates all allegations heretofore set forth.

23    31. Defendant has discriminated against third party individuals with disabilities,

24       including members of the Foundation, in that it has failed to make its Public
         Accommodation fully accessible to, and independently usable by, individuals who
25
         are disabled in violation of AzDA, Article 8, Chapter 10 of Title 41 of the Arizona
26
         Revised Statutes, A.R.S. §§ 41-1492 et seq. and its implementing regulations,
27
         Rl0-3-401 et seq. and the ADA, Title III of the Americans with Disabilities Act,
28
                                             6
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            42 U.S.C. §§ 12101 et seq., and its implementing regulations 28 CFR §§ 36.101
 1
            et seq.
 2
         32. Defendant has discriminated against third party individuals with disabilities,
 3
            including members of the Foundation, in that it has failed to remove architectural
 4
            barriers to make its Public Accommodation fully accessible to, and independently
 5
            usable by individuals who are disabled in violation of the AzDA and the ADA
 6
            and, particularly, 42 U.S.C. §12182(b)(A)(iv) and Section 208.2 of the 2010
 7          Standards, as described above. Compliance with the requirements of section 208.2
 8          of the 2010 Standards would neither fundamentally alter the nature of Defendant's
 9          Public Accommodation nor result in an undue burden to Defendant.
10       33. Compliance with AzDA and the ADA is readily achievable by the Defendant due
11          to the low costs. Readily achievable means that providing access is easily
12          accomplishable without significant difficulty or expense .

13       34. Conversely, the cessation of compliance with the ADA law is also readily

14          achievable by redrawing the parking spaces to its original configuration and or
            changing signage back to the same. Therefore, injunctive relief should issue
15
            irrespective of Defendant's potential voluntary cessation pursuant to the Supreme
16
            Court's announcement in Friends of the Earth case. 3
17
         35. Defendant's conduct is ongoing, Plaintiff invokes Plaintifrs statutory right to
18
            declaratory and injunctive relief, as well as costs and attorneys' fees, both pursuant
19
            to statute and pursuant to the Private Attorney General doctrine .
20
21
22   3 Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 189, 120 S.Ct.
23   693, 145 L.Ed.2d 610 (2000):
            It is well settled that a defendant's voluntary cessation of a challenged practice does not
24
            deprive a federal court of its power to detennine the legality of the practice. If it did, the
25          courts would be compelled to leave the defendant free to return to his old ways. In
            accordance with this principle, the standard we have announced for detennining whether a
26          case has been mooted by the defendant's voluntary conduct is stringent: A case might
            become moot if subsequent events made it absolutely clear that the allegedly wrongful
27          behavior could not reasonably be expected to recur. The heavy burden of persuading the
            court that the challenged conduct cannot reasonably be expected to start up again lies with
28          the party asserting rq.ootness.
                                                      7
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       36. Without the requested injunctive relief, specifically including the request that the
 1
          Court retain jurisdiction of this matter for a period to be determined after the
 2
          Defendant certifies that it is fully in compliance with the mandatory requirements
 3
          of the AzDA and ADA that are discussed above, Defendant's non-compliance
 4
          with the AzDA and ADA's mandatory requirements may be or are likely to recur.
 5
                                           COUNT TWO
 6            (Violation A.R.S. Title 41, Chapter 9, Article 8, §§41-1492 et seq. AND
                                    Implementing Regulations)
 7
 8     37. Plaintiff realleges all allegations heretofore set forth.
 9     38. Plaintiff and third party individuals with disabilities, including members of the
10        Foundation, have been damaged and injured by the Defendant's non-compliance
11        with the AzDA.
12     39.Pursuant to A.R.S. § 41-1492.08, and §41-1492.09, Plaintiff has the right to

13        enforce the AzDA by the issuance of injunctive relief.

14    40. Pursuant to A.RS. § 41-1492.08, Plaintiff is entitled to preventive and mandatory
          relief.
15
       41. Mandatory relief includes relief mandated by A.RS. § 41-1492.09 obligating the
16
          Office of the Attorney General to take actions specified therein.
17
      42.Pursuant to A.R.S. § 41-1492.09(B)(2), Plaintiff is further entitled to such other
18
          relief as the Court considers appropriate, including monetary damages in an
19
          amount to be proven at trial, but in no event less than $5,000.00.
20
      43. Pursuant to A.RS.§ 41-1492.09(F), Plaintiff is entitled to attorney's fees and costs
21        in an amount proven but in no event less than $5,000.00.
22                                       PRAYER FOR RELIEF
23        WHEREFORE, Plaintiff demands judgment against Defendant as follows:
24          J. A Declaratory Judgment that at the commencement of this action Defendant
25              was in violation of the specific requirements of Title III of the ADA described
26              above, and the relevant implementing regulations of the ADA, in that

27              Defendant took no action that was reasonably calculated to ensure that its

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              Public Accommodation was fully accessible to, and independently usable by,
 1
              individuals with disabilities;
 2
           k. Irrespective of Defendants ''voluntary cessation" of the ADA violation, if
 3
              applicable, a permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and
 4
              28 CFR § 36.504(a), which directs Defendant to take all steps necessary to
 5
              bring its Public Accommodatic~n into full compliance with the requirements
 6
              set forth in the ADA and its implementing regulations, so that the facility is
 7            fully accessible to, and independently usable by, individuals with disabilities,
 8            including members of the Foundation, specifically Sections 208.2 of the 2010
 9            Standards, and which further directs that the Court shall retain jurisdiction
10            for a period to be determined after Defendant certifies that its facility is fully
11            in compliance with the relevant requirements of the ADA to ensure that
12            Defendant has adopted and is following an institutional policy that will in

13            fact cause Defendant to remain fully in compliance with the law;

14         I. Irrespective of Defendant's "voluntary cessation" of the ADA violation, if
              applicable, payment of costs of suit, expenses of suit and attorney's fees;
15
           m. Order closure of the Defendant's place of Public Accommodation until
16
              Defendant has fully complied with the ADA and AzDA;
17
           n. A Declaratory Judgment that at the commencement of this action Defendant
18
              was in violation of the specific requirements of AzDA;
19
           o. Irrespective of Defendant's "voluntary cessation" of the ADA violation, if
20
              applicable, a permanent injunction pursuant to AzDA which directs
21            Defendant to take all steps necessary to bring its facility into full compliance
22            with the requirements set forth in the AzDA, and its implementing
23            regulations, so that the facility is fully accessible to, and independently
24            usable by individuals with disabilities, including members of the Foundation,
25            specifically including ensuring parking spaces comply with the 2010
26            Standards as required by law, and which further directs that the Court shall

27            retain jurisdiction for a period to be determined after Defendant certifies that

28            its facility is fully in compliance with the relevant requirements of the AzDA
                                               9
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                   to ensure that Defendant has adopted and is following an institutional policy
 1
                   that will in fact cause Defendant to remain fully in compliance with the law;
 2
              p. For damages authorized by § 41-1492.09(B)(2) in an amount no less than
 3
                   $5,000.00;
 4
              q.   Irrespective of Defendants "voluntary cessation" of the ADA violation, if
 5
                   applicable, payment of attorneys' fees pursuant to 42 U.S.C. § 12205, 28
 6
                   CFR § 36.505 and A.R.S. § 41-l 492.09(F) and other principles of law and
 7                 equity and in compliance with the "prevailing party" and "material
 8                 alteration" of the parties' relationship doctrines4 in an amount no less than
 9                 $5,000.00; and,
10            r.   The provision of whatever other relief the Court deems just, equitable and
                   appropriate.
11
                                      DEMAND FOR JURY TRIAL
12
                    Pursuant to Rule 38 of the Arizona Rules of Civil Procedure, Plaintiff
13          hereby demands a jury trial on issues triable by a jury.
14
15          RESPECTFULLY SUBMITTED this Tuesday, July 26, 2016.
16                                               STROJNIK P .C.
17
18                                               Peter Strojnik (6464)
                                                 Attorney for Plaintiff
19
                        VERIFICATION COMPLIANT WITH Rl0-3-405
20
21
            I declare under penalty of perjury that the foregoing is true   and correct.
            DATED this Tuesday, July 26, 2016.
22
23
24                                     By: David Ritzenthaler, Director
            Advocates for Individuals with
25          Disabilities Foundation, Inc.
26
27   4
       As applicable to ADA cases, see Coppi v. City of Dana Point, Case No. SACV 11-1813 JGB (RNBx)
     (February, 2015)
28
                                                10
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                                     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 122 of 163
                                                II




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         Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 123 of 163
             II

Location                                   Features of Accessible Parking Spaces for Cars
Accessible parking spaces DlllSt be
                                                         Sign with the International symbol of accessibility mounted high
located on the shortest accessible
                                                         enough so It can be seen while a vehicle is parked rn the space.
route of travel to an accessible
facility entrance. Where buildings                       If the accessible route is located in front of the space, install
have multiple accessible entrances                       wheelstops to keep vehicles from reducing width below 36 inehes.
v1rith adjacent parking, the accessible
parking spaces must be dispersed and
located closest to the accessible
entrances.
                                           ......     sccessable route (min. 3.11-inch wid1ill
                                                                                                             Access aisle of at least 60-inch width
                                                                                                             must be level (1:50 maximum slope
                                                                                                             in all directions), be the same length
When accessible. parking spaces are                                                                          as the adjacent parking space(s) it
added in an existing parking lot,                                                                            serves and must connect to an
locate the spaces on the most le.vel                                                                         accesslble route to the building.
ground close to the accessible en-                                                                           Ramps must not extend into the
trance. An accessible route must                            11111::::;:::•                                   access aisle.
                                                            .Ut1fl'U •

always be provided from the acces-                          • ;;;;;;::.,__ _ _ _ _ Boundaryoftheaccessaislemustba
sible parking to the accessible                             ;~~j~~;.               j                         marked. The end mav baa squarad or
entrance. An accessible route never                  T                             _                         curved shape.
has curbs or stairs, must be at least 3-
feet wide, and has a firm, stable, slip.     l 96"  mir      lso"
                                                            mli 96" min.                    LL access
                                                                                               Two parking spaces may share an
                                                                                                      aisle.
resistant surface. The slope along the      "r    2440 '1 1525   2440 '1
accessible route should not be greater
than 1:12 in the direction of travel.      Three Additional Features for Van-Accessible Parking Spaces
                                                   Sign with "van accessible" and the International symbol of
Accessible parking spaces may be                   accessibility mounted high enough so the sign can be seen
clustered in one or more lots if                         when a vehicle is parked                        rn the space
equivalent or greater accessibility is                      acca§ibla route
provided in terms of di.stance from        •••••••       I I ... ~~~.~;~~'~:~~~IW' • I   \U I   I I• I   a
the accessible entrance, parking fees,
and convenience. Van-accessible                  ==::i=~~~~~~~~1~~!~i====1•
parking spaces located in parking                       :~!!W''.'.'.'.'.'.'.• 96" min. width access aisle, level
garages may be clustered on one floor                   =~~~l~m~~;;~~=        (max. slope 1:so rn all directions),
(to accommodate the 98-inch mini-
mum vertical height requirement).
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                                                    .-----·"-"-r"-"_"·-··----e-
                                                                                                             located beside the van parking space

                                                                                                             Min~   98-lnch-hlgh clearance at van
                                                                                                             parking space, access aisle, and on
Free Technical Assistance                                                                                    vehicular route to and from van space
Answers to technical and general
questions about restriping parking
lots or other ADA requirements are            Lss" min. L96" min. k96" min. L
available by telephone on weekdays.          ;r 2440 ..,            2440       "         2440 "1
YoumayalsoordertheADA
Standards for Accessible Design and
other ADA publications, including          ADA Website and ADA Business Connection
regulations for private businesses, at     You may also view or downloadADAinfomi.atiou on the Department's ADA
any time day or night. Infonnation         website at any time. The site provides access to the ADA Busine.'>s
about ADA-related IRS tax credits          Connection aud the ADA design standards, ADAregulations, ADA policy
and deductions is also available from      letten, technical assistance materials, and general.ADA infonnation. It also
the ADA Infonnation Line.                  provides links to other Federal agencies. and updates on new ADA require.
                                           ments and enforcement efforts. www.usdoj.gov/crt/ada/adahom1.htm
       Department of Justice
     ADA Information Line                  Reference:
                                           ADA Standards for Accessible Design (28 CFR Part 36):
      800·514-0301 (voice)
                                           § 4.1.6 Alterations; § 4.1.2 Accessible Sites and Exterior Facilities: New
        800-514-0383 (lTY)
                                               Construction; § 4.6.1 Parking and Passenger Loading Zones, and
page2oU
                                           § 4.3 Accessible Route.                                 Duplication is encouraged.
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13                                EXHIBIT 2
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         Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 125 of 163
             II



U.S. Deparbnent of Justice
Civil Rights Division
Disability Rights Se<;tio11


                                 Americans with Disabilities Act

                              ADA Compliance BRIEF:.
                                                            Restriping Parking Spac_es,

 Accessible Parking Spaces
  When a busin~ss or State or localgovenuncnt restripes pru:king' spaces. in a parking lot oi: pa~king struc.turc (P.iirlcing
. facilities), it must provide accessible parking spaces as Tequircd by the 2010 ADA Standards for Accessible Design
(2010 Standardl}).

In addition, businesses or privately owned facilities that provide goods or services to the public have. a continuing
ADA obligation to remove barriers to access in existing p~'lrking facilities when it is readily achievable'to do so.
Because restriping is relacivel)' inexpensive, it is readily achievable in most cas~s. State and local government fadlitjes
also have an ongoing ADA obligation to niake their.progtams accessible, which can requfre providing accessible
parking.                            ·

This compliance brief provides information about the features of ·accessible car and van parking spaces.and how
mimy accessible spaces are required \vhen parking facilities iiie resfripcd.

                                                                 'MinimuntNumher. of Accessibt~Pari<.ing Spaces::
                                                                           :.i~toJ;~i!~~~~;(29~i2> · · ·
                                                             Tc>tal Numt>efof            '.<c<>li.tnrn Al'          ·.Miiiirium l'iltimller
                                                              Parking· Spaces,        Minimum Nu'!n. ,                of van-A\foesiiii>le
                                                                Provided.in          :bet: of,Ac~ssibte·              Piirklng-Spaciis'.
                                                              P11ricing Facility       l'iuiclng Spaces                    ir01·&ix,
                                                                l~r' fiieilitYI .        !car altd .vanl             ac~ssi~le $i>"il"sl·

                                                                   1to25                        1·
                                                                  26to'50'..                                                  '1
       One of six accessible parking spaces,
             but always at least one,
             must be van·accessible.                                                            :4

The required number of accessible parking spaces
must be calculated separately for each parking
facility, not calculated based on the total numl;>cr
of parkihg spaces provided on a site. One of six                 30f~"40!):
(ot fraction of six) accessible parking spaces, but
alw·,iys at least one, must be van accessible.
                                                                soo:to 1000·
                                                                                    :~ri:PH~t~J ~ai~m~,
                                                                                    provided ·rn each lot'.
                                                                                                                .
Parking for hospital outpatient facilities,
                                                                                        or'stfocture
rchabilitat.ion facilities, outpatient physical therapr
facilities or residential facilities have substantially       100fand' over"         2P. piµ~:.ir tqr:.~w;~lj        it6'of.cotumn A"'
                                                                                       ,,o_o gver1Q,Q.~).
different requirements for accessibility (~~e 2010
Standards .208.2).




            II
    Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 126 of 163
     II




Location                            F.eatures of Acc,essible Parking Spaces
Accessible parking spaces
 must be loc,'\ted Oil the                      -        Parking space iden~ification sign with the interna~ional
 sh9rtt;st accessible route of                           symbol of accessibility complying with 703. 7.2.1 mounted
'travel to an accessible facility                        60 inches minimum above the ground surface measured to
 entrance. Where buildings                               the bottom of the sign.
 have multiple accessible
entrances with adjacent park-                        - If the accessible route is located in front of the parking
 ing, the accessible parking_                          space, install wheel stops to keep vehicles from reducing
 spaces must be dispersed and                          the Clear width of the accessible route below 36 inches.
 located closest to' the actes"
sible entrances.                                              -Tvvo park,ing spaces may share ~n l:}CCeS's aisle
                                                                except for angled parking spaces (see below)•.
 When accessible pa.rkihg ·
 spaces are added in an exist-                                - Access aisle width is at least 60 inches, must be at
 ing parking lot or structure,                                  the same level and the same length as the· adjacent
.locate the spaces on the                                       parking space(s) it serves, maximum slope in all
 most level groµnd dose to                                      directions is 1:48, and access aisle must connect to
the accessible ent:raricc. An                                   an accessible route to the building. Ramps must
aq:cssible route must always                                    not extend into the access a.isle.
be p~ovided from the acces-
sible parking to. the accessible                    1t             accessible route
entt.lnce. An accessible· route     •••••••   ~it!   •••••••••••••• " •••••••••
never has curbs or stairs.
must be· at least 3 feet wide,                      ._-f-.. . ..;;..__. . . ____...___ Parking space shall be 96
                                                            il''

and has a firm, stable, slip-                                                              inc~es .wide minimum,
r(';sistl-\nt surfac9. The slope                                                           marked to define the
along the accessible .route                                                                width, and maximum slope
should not be. greater than                                                                in all directions is 1:48.
1:12 in the direction of travel.

Accessible parking spaces                                             ------1--- Boundary of .thea~cess
may be clustered in one or                                                                 aisle must be clearly
more fadlities if equivalent                                                               marked so as to discour-
or gt61ter accessibility is                                                                age parking in it. (State
provided in terms pf distance
                                       71
                                         L 96"min lso"minL
                                            2440 /f 1525 '1
                                                                          96"min
                                                                           2440
                                                                                       L
                                                                                      /)
                                                                                           or local laws may address
from the accessible entrance,                                                              the color and manner that
parking fees, and conve-                                                                   parking spaces and acce.ss
                                    Accessible Parking Spaces with 60-inch
nience.· Van-accessible park~                                                              aisles are marked.)
                                      Minimum Width Access Aisle for Cars
ing spaces located iri parking
garages may be dustered on
one· floor (to accommodate          Additional Notes:
                                    Where parking sp.aces are marked with lines, width measurements of
the 98-inch minimum vertical
                                    parking spaces and access aisles are to centerlines, except for the end
height requirement).
                                    space which may include the full width of the line.

                                    Access aisles may be located on either side of the parking space excep:t
                                    for angled van parking spaces which must have aceess aisles located ori
2                                   the passenger side of the parking spaces.




     II
        Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 127 of 163




    Additional Features of Van-Accessible Parking Spaces
    Van-accessible parking spai;:es incorporate the features of .accessible parking spaces on the previous page
    and require the following additional features: a "van accessible" designation on the sign; different widths
    for the van parking 11pace or the access aisle; and at least 98 inches of vertical clearance for the van parking
    space, 11cccs~ aisle,. and vehic\,lhtr route to. and from the van~:wcellsible space. T~ first iinitg~ below show.s a
    yan-acce.ssible space with a 60~inch miniinum width 1\c<.;es:,; aisle. The SCt."Ond im11ge shows a va11-1~.cce.ssible
    space with a 96~inch minimum width access aisle. Both configurations !\le permitted and requirements for
    van"acc·essible signage and vertical clearance apply fo both configurations.


                 . - - - - - - - - - - - - - - - - Parking space identification sign wit!l the interna-
                 1
     • • • • • • ~ • • • • •· • • • • • • • • • • • • -• • • • • • • • • • tional symbol of accessibility and designation,_ "van
                                                                           accessible." Note, where four or fewer parking
                                                                           spaces are provided on. a site, a sign Identifying the
                                                                           accessible space, which must be van-accessible, is
                                                                           not required.


                                                                   Vertical clearance of 98 inches minimum to accom·
                   ~-

                          --
                                     •·
                                     _,
                                                                   modate van height at the vehicle parking space, the
                                                                   adjacent access aisle, and on the vehicular route to and
                                                                   from the van-accessible space.
                                     "'
     _Vehicle.
     -Route                                                     ._ Van parking space must be 132 inches wide minimum
                    Van                          Car·
        L
       /I
                   132"min
                    3350
                                l..so"inin
                               /I 1.525 /I
                                            L   96"min
                                                 2440
                                                          L
                                                         /I
                                                                   with an ac,ljacent 60-inch wide. mjnimum access aisle.
                                                                   A van parking space of 96 inches wide minimum with
                                                                   an adjacent 96-inch wide minimum access aisle is also
            Van-Accessible Parkirig Space with
                                                                   permitted (see below).
            60~inch Minimum Width Access Aisle



;   .......•........•••
           -                         ~    ................
                                                 -
                    --           -
                                 ~




                                                                           ·Where four or fewer parking spaces are.
                                                                          provided on a site; signage identifying the
         Van-Accessible Parking Space with                               van-accessible parking space Is no' required.
        96-inch Minimum Width Access Aisle                                                                                          3




              II
 Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 128 of 163




     Peter Strojnik, State Bar No. 6464
                                                                  COPY
 1
     STROJNIK P.C.
 2   1 EAST WASHINGTON STREET, SUITE 500                  ,. ..   AUG 03 2016
     PHOENIX, AZ 85004
 3   (774) 768-2234
 4   Attorney for Plaintiff
     Case Specific Email Address:
 5   8SSWWARNERRD@aid.org
 6
 7             IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

 8                     IN AND FOR THE COUNTY OF MARICOPA
 9
10   Advocates for Individuals with Disabilities
     Foundation, Inc.,                             Case No:
11
12                        Plaintiff,                    CV 2 0 \6      o \ o9 9 4
                                                              CERTIFICATE OF
13   vs.                                                       ARBITRATION
14
     DILLON REAL ESTATE CO INC
15
                          Defendant.
16
17
18         The above cause is not subject to compulsory arbitration.
19
           RESPECTFULLY SUBMITTED this Tuesday, July 26, 2016.
20
21
22                                           Peter Strojnik, State Bar No 6464

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 Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 129 of 163




     Peter Strojnik, State Bar No. 6464
 I
     STROJNIKP.C.
 2   1 EAST WASHINGTON STREET, SUITE 500
     PHOENIX, AZ 85004
 3   (774) 768-2234
 4   Attorney for Plaintiff
     Case Specific Email Address:
 5   855WWARNERRD@aid.org
 6
 7              IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

 8                       IN AND FOR THE COUNTY OF MARICOPA
 9
10   Advocates for Individuals with Disabilities,             CV 2 0 1 6 · 01 0 99 4
     Foundation, Inc.,                               Case No:
11
12                         Plaintiff,
                                                        DISCOVERY REQUEST NO 1
13
14    vs.

15    DILLON REAL ESTATE CO INC,
                     Defendants
16
17   TO: DEFENDANT(S)

18                                 INSTRUCTIONS FOR USE
19
     A. All information is to be divulged which is in the possession of the individual or
20      corporate party, his attorneys, investigators, agents, employees or other representatives
        of the named party.
21
22   B. When an individual interrogatory calls for an answer which involves more than one
        part, each part of the answer should clearly set out so that it is understandable.
23
     C. When the terms "you", "Plaintiff' or "Defendant" are used, they are meant to include
24      every individual party and include your agents, employees, your attorneys, your
25      accountants, your investigators, anyone else acting on your behalf. Separate answers
        should be given for each person named as the party, if requested.
26
     D. When the term "document" is used, it is meant to include every "writing", "recording"
27      and photograph" as those terms are defined in Rule 1001, Ariz. R. Evid.
28
 Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 130 of 163




     E. Where the terms .. claim" or "claims" are used, they are meant to mean or to include a
 I
        demand, cause of action or assertion for something due or believed to be due.
 2
     F. Where the terms ..defense" or "defenses" are used, they are meant to mean or to include
 3      any justification, excuse,. denial or affirmative defense in response to the opposing
        party's claim.
 4
 5   G. Where the term "negotiation(s)" is used, it is meant to mean or to include
        conversations, discussions, meeting, conferences and other written or verbal exchanges
 6      which relate to the contract.
 7   H. Where the term "ADA" is used, it refers to Title III of the Americans with Disabilities
 8      Act, 42 U.S.C. §§ 12101 et seq., and its implementing regulations 28 CFR §§ 36.101
        et seq.
 9
     I. Where the term "AzDA" is used, it refers to A.R.S. §§ 41-1492 et seq. and its
10      implementing regulations, Rl0-3-401 et seq.
11
     J. Where the term "Standards" is used, it refers to 2010 Standards of Accessibility Design
12      promulgated by the United States Department of Justice.

13   K. Where the term "Public Accommodation" is used it refers to the facility referenced in
        the Verified Complaint, its management and ownership.
14
15         Pursuant to Arizona Rules of Civil Procedure, Rules 26 through 37, please provide
16   the following discovery:

17
                       UNIFORM CONTRACT INTERROGATORIES
18
           Please answer Uniform Contract Interrogatories 1, 2, 4, 5, 6, 7, 8, 9, 10 and 11.
19
20
                                REQUESTS FOR ADMISSIONS
21
     1. Admit that the public accommodation which is the subject matter of the Verified
22
        Complaint was in violation of the AzDA, the ADA and the Standards.
23

24                ADMIT - - - -                      DENY_ _ __
25   2. Admit that the public accommodation which is the subject matter of the Verified
26      Complaint does not have policies regarding the operation and management of the
27      Public Accommodation.
28                ADMIT - - - -                      DENY- - - -

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 Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 131 of 163




 1
     3. Admit that the Public Accommodation which is the subject matter of the Verified
 2
        Complaint does not have a plan or policy that is reasonably calculated to make its entire
 3
        public accommodation fully accessible to and independentJy usable by disabled
 4
        individuals.
 5                 ADMIT _ _ __                        DENY- - - -
 6
 7                 NON-UNIFORM CONTRACT INTERROGATORIES
 8    (If spaces provided below are insufficient to fully disclose requested information,
             please attach additional sheets referencing the proper interrogatory)
 9
     1. If you did not unconditionally admit each of the Requests for Admission above, please
10
        state all facts and legal considerations for your denial.
11

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     2. Please describe all actions you or anyone on your behalf have/has taken since 1991 to
24
        comply with the AzDA, the ADA and the Standards.
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 Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 132 of 163




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10   3. Please describe in detail any actual or suspected non-compliance of the Public
11      Accommodation with the AzDA, the ADA or the Standards.
12
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24   4. Please identify the person or entity responsible for the Public Accommodation's
25      compliance with the AzDA, the ADA and the Standards.
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 Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 133 of 163




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 7   5. Please identify by name, address, telephone number, e-mail address any and all tenants
 8      who rent or lease space at the Public Accommodation.
 9
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24                   REQUEST FOR PRODUCTION OF DOCUMENTS
25
26   1. Please produce any and all policies regarding the operation and management of the
27      Public Accommodation, including, without limitation, any plan or policy that is

28

                                             5
 Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 134 of 163




        reasonably calculated to make its entire public accommodations fully accessible to and
 I
        independently usable by disabled individuals.
 2
 3
     2. Please produce any and all architectural drawings, plats, maps and schematics for the
 4
        Public Accommodation.
 5
 6
     3. Please produce any and all rental or lease agreements for any space within the Public
 7      Accommodation effective on the date of the filing of the Verified Complaint until the
 8      present. Further produce all rental/lease applications and financial records of each
 9      renter or tenant.
10
11   4. If you claim that compliance with the AzDA, the ADA and/or the Standards is not
12      readily achievable, please produce your complete financial records for the 5 years
13      preceding the issuance of this Discovery Request No 1. These records include, without

14      limitation, tax records, profit and loss statements, income statements, bank statements,
        credit applications,
15
16         RESPECTFULLY SUBMITTED this Tuesday, July 26, 2016.
17
18
19                                            ~~  ...........
                                               Peter Strojnik, State Bar No 6464
20                                             Attorneys for Plaintiff
21
22
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Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 135 of 163




           EXHIBIT F
     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 136 of 163
            Case 2:16-cv-02361-DGC Document 8 Filed 08/15/16 Page 1 of 3



 1
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 5
 6                         IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9     Advocates for Individuals with Disabilities       No. CV-16-02361-PHX-DGC
       Foundation Incorporated,
10                                                       ORDER TO SHOW CAUSE
                     Plaintiff,
11
       v.
12
       Greenfield Plaza, LLC,
13
                     Defendant.
14
15
16
               "Federal courts are required sua sponte to examine jurisdictional issues such as
17
       standing." Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 954 (9th Cir. 2011) (en
18
       bane) (citation omitted; alteration incorporated). After reviewing the complaint in this
19
       action, the Court has serious questions about whether Plaintiff has standing to proceed.
20
       The Court will order Plaintiff to show cause as to why this case should not be dismissed
21
       for lack of standing.
22
               Plaintiff describes itself as "a nonprofit charitable foundation" that engages in
23
       "charitable acts of giving to the disabled community."         Doc. 1-1 at 4-5,   ilil 47, 50.
24
       Defendant allegedly operates a business that is a "public accommodation" within the
25
       meaning of Title III of the American's With Disabilities Act ("ADA"). Id. at 4,            ii   8.
26
       Plaintiff alleges that Defendant violated Title III and its implementing regulations by,
27
       inter alia, "fail[ing] to identify van parking spaces by designation 'van accessible."' Id.
28
       at 11, ii 69. Plaintiff seeks declaratory, injunctive, and damages relief. Id. at 14-15.
     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 137 of 163
         Case 2:16-cv-02361-DGC Document 8 Filed 08/15/16 Page 2 of 3



 1            A plaintiff has standing to pursue injunctive relief only if he "is likely to suffer
 2     future injury" absent the requested injunction. City ofLos Angeles v. Lyons, 461 U.S. 95,
 3     105 (1983). The threatened injury must be "concrete and particularized"; that is, it must
 4     affect the plaintiff "in a personal and individual way." Lujan v. Defenders of Wildlife,
 5     504 U.S. 555, 560 & n.l (1992). An "undifferentiated" interest in ensuring compliance
 6     with the law will not suffice. Id. at 575 (citing United States v. Richardson, 418 U.S.
 7     166, 176-77 (1974)); see also Simon v. E. Kentucky Welfare Rights Org., 426 U.S. 26, 40
 8     (1976) ("an organization's abstract concern with a subject that could be affected by an
 9     adjudication does not substitute for the concrete injury required by" Article III).
10            In cases under Title III of the ADA, a disabled plaintiff can establish standing to
11     pursue injunctive relief either by showing that "he intends to return to a noncompliant
12     accommodation and is therefore likely to reencounter a discriminatory architectural
13     barrier," or by showing that "discriminatory architectural barriers deter him from
14     returning to a noncompliant accommodation" that he otherwise would visit. Chapman,
15     631 F.3d at 950. In either case, the plaintiff must show that he is personally affected by
16     the barrier.   Id. (claim for injunctive relief must seek to "vindicate the rights of the
17     particular plaintiff rather than the rights of third parties"). Courts dismiss Title III claims
18     on standing grounds where the plaintiff fails to assert a personalized injury stemming
19     from the alleged violation. See Payne v. Chapel Hill N Properties, LLC, 947 F. Supp. 2d
20     567, 578 (M.D. N.C. 2013) (disability rights organization lacked standing to seek
21     injunction under Title III, where it failed to identify any member personally affected by
22     the barrier); Small v. Gen. Nutrition Companies, Inc., 388 F. Supp. 2d 83, 90-99 (E.D.
23     N.Y. 2005) (same).
24            Plaintiffs complaint appears to fall short of establishing standing. It does not
25     allege that any disabled individual visited Defendant's public accommodation and found
26     a barrier to access. It alleges only the following:
27            Plaintiff, who is known to have a relationship or association with
              individuals with disabilities, conducted an investigation into Defendant's
28            public accommodation for purposes of ascertaining whether it complies
              with the ADA. Plaintiffs investigation confirmed that Defendant's public

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     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 138 of 163
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 1           accommodation was not accessible to individuals with disabilities in the
             following particulars ...
 2
 3     Doc. 1-1 at 11,   ~   69. Thus, Plaintiff appears to identify only a generalized interest in

 4     ensuring that Defendant complies with the ADA.             Such an interest is insufficient to

 5     confer standing. See Lujan, 504 U.S. at 575; Simon, 426 U.S. at 40. The fact that

 6     Plaintiff is an association that advocates on behalf of disabled individuals does not

 7     change this analysis. See Payne, 947 F. Supp. 2d at 578; Small, 388 F. Supp. 2d. 90-99.

 8           For these reasons, the Court orders Plaintiff to show cause as to why this case

 9     should not be dismissed for want of standing. Cf Chapman, 631 F .3d at 95 5 ("Because

10     Chapman lacked standing at the outset of this litigation to assert the ADA claims, the
11     district court should have dismissed them.").          Plaintiff shall file a memorandum in
12     response to this order by August 29, 2016.

13
14           Dated this 15th day of August, 2016.

15
16
17
                                             David G. Campbell
18                                       United States District Judge

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     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 139 of 163
            Case 2:16-cv-02375-DGC Document 13 Filed 08/15/16 Page 1of4



 1
 2
 3
 4
 5
 6                          IN THE UNITED STATES DISTRICT COURT
 7                                  FOR THE DISTRICT OF ARIZONA
 8
 9     Advocates for Individuals with Disabilities,       No. CV-16-02375-PHX-DGC
       LLC, et al.,
10                                                        ORDER TO SHOW CAUSE
                      Plaintiffs,
11
       v.
12
       WSA Properties LLC,
13
                      Defendant.
14
15
                "Federal courts are required sua sponte to examine jurisdictional issues such as
16
       standing." Chapman v. Pier I Imports (US.) Inc., 631F.3d939, 954 (9th Cir. 2011) (en
17
       bane) (citation omitted; alteration incorporated). After reviewing the complaint in this
18
       action, the Court has serious questions about whether Plaintiffs have standing to proceed.
19
       The Court will order Plaintiffs to show cause as to why this case should not be dismissed
20
       for lack of standing.
21
                Plaintiff Advocates for Individuals with Disabilities, LLC ("Advocates") makes no
22
       allegations in the complaint regarding its status, nature, or interest in this case. Plaintiff
23
       David Ritzenthaler alleges that he is legally disabled, that he has a state-issued
24
       handicapped license plate, and that, on or about March 15, 2016, he "became aware" that
25
       there were insufficient handicapped parking spaces and signage at Defendant's place of
26
       business. Doc. 1 at 11-13, ,-i,-r 1, 9, 10. Plaintiff does not allege that he personally visited
27
       Defendant's business, but alleges that he will avoid visiting the business in the future
28
       unless it comes into compliance with the ADA. Id. at 13, 4i! 15.
     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 140 of 163
         Case 2:16-cv-02375-DGC Document 13 Filed 08/15/16 Page 2 of 4



 1            The complaint alleges that Defendant owns and operates a business at 924 West
 2     Chandler Blvd., in Chandler, Arizona, "which is a public accommodation." Id. at 12, i-12.
 3     The complaint does not identify the nature of Defendant's business.          The complaint
 4     alleges that Defendant's facility has "insufficient handicapped parking spaces,
 5     insufficient designation or signage and or insufficient disbursement of such parking
 6     spaces[.]" Id. at 13, ,-r 10. The complaint alleges that Defendant has violated Title III of
 7     the ADA and its implementing regulations, and seeks declaratory and injunctive relief.
 8     Id. at 15-18.
 9            A plaintiff has standing to pursue injunctive relief only if he "is likely to suffer
10     future injury" absent the requested injunction. City of Los Angeles v. Lyons, 461 U.S. 95,
11     105 (1983). The threatened injury must be "concrete and particularized"; that is, it must
12     affect the plaintiff "in a personal and individual way." Lujan v. Defenders of Wildlife,
13     504 U.S. 555, 560 & n.1 (1992). An "undifferentiated" interest in ensuring compliance
14     with the law will not suffice. Id. at 575 (citing United States v. Richardson, 418 U.S.
15     166, 176-77 (1974)); see also Simon v. E. Kentucky Welfare Rights Org., 426 U.S. 26, 40
16     (1976) ("an organization's abstract concern with a subject that could be affected by an
17     adjudication does not substitute for the concrete injury required by" Article III).
18            In cases under Title III of the ADA, a plaintiff can establish standing to pursue
19     injunctive relief either by showing that "he intends to return to a noncompliant
20     accommodation and is therefore likely to reencounter a discriminatory architectural
21     barrier," or by showing that "discriminatory architectural barriers deter him from
22     returning to a noncompliant accommodation" that he otherwise would visit. Chapman,
23     631 F .3d at 950. In either case, the plaintiff must show that he is personally affected by
24     the barrier.    Id. (claim for injunctive relief must seek to "vindicate the rights of the
25     particular plaintiff rather than the rights of third parties"). "In determining whether a
26     plaintiffs likelihood of returning to a defendant is sufficient to confer standing, courts
27     have examined factors such as (1) the proximity of the place of public accommodation to
28     plaintiffs residence, (2) plaintiffs past patronage of defendant's business, (3) the


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 1     definitiveness of plaintifr s plans to return, and (4) the plaintifr s frequency of travel near
 2     defendant." Harris v. Del Taco, Inc., 396 F. Supp. 2d 1107, 1113 (C.D. Cal. 2005)
 3     (citation and quotation marks omitted).
 4            Courts have dismissed Title III claims for lack of standing where the plaintiff fails
 5     to assert a personalized injury stemming from the alleged violation. See Payne v. Chapel
 6     Hill N. Properties, LLC, 947 F. Supp. 2d 567, 578 (M.D. N.C. 2013) (disability advocacy
 7     organization lacked standing to seek injunction under Title III, where it failed to identify
 8     any member personally affected by the barrier); Small v. Gen. Nutrition Companies, Inc.,
 9     388 F. Supp. 2d 83, 90-99 (E.D. N.Y. 2005) (same).
10            Courts have also dismissed Title III claims on standing grounds where the plaintiff
11     fails to plausibly allege that he intends to return to the defendant's accommodation if the
12     barrier to access is removed. The Eleventh Circuit provided examples of such cases in
13     Shatz v. Cates, 256 F.3d 1077 (11th Cir. 2001):
14            In Proctor [v. Prince George's Hosp. Ctr., 32 F. Supp. 2d 830 (D. Md. 1998)],
              the plaintiff admitted that it was purely speculative whether he would have
15            to visit the hospital, given the fact that his only other visit was because of a
              motorcycle accident. In Hoepfl [v. Barlow, 906 F. Supp. 317 (E.D. Va.
16            1995)), the court stated "because [the plaintiff] now resiaes in a different
              state, 1t is highly unlikely that she will ever again be in a position where any
17            discrimination by [the defendant] against disabled individuals will affect
              her personally." In Aikins [v. St. Helena Hosp., 843 F. Supp. 1329 (N.D. Cal.
18            1994)], the plaintiff owned a mobile home at which she stayed only several
              days a year. During one such visit, she alleged that she was discriminated
19            against by a nearby hospital. The court concluded that the limited amount
              of time she spent in the area, coupled with the fact that she visited the
20            hospital only because of her husband's illness, failed to suggest a "real or
              immediate threat" of future discrimination by the hospital. See also Tyler v.
21            The Kansas Lottery, 14 F. Supp. 2d 1220 (D. Kan. 1998) (plaintiff who had
              since moved to Wisconsin was unlikely to be harmed by discrimination at
22            lottery outlets in Kansas).
23
       Id. at 1081-82 (some internal citations omitted). In Harris, 396 F. Supp. 2d 1107, the
24
       court dismissed a claim for injunctive relief against a restaurant because the plaintiff
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       lived approximately 570 miles from the restaurant and made no allegation that he was
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       likely to return.
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              Plaintiffs' complaint appears to fall short of establishing standing. It provides no
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       information from which the Court could conclude that Advocates has suffered injury or


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 1     will suffer injury in the future from Defendant's actions. Advocates appears to be suing
 2     on the basis of a generalized interest in ensuring that Defendant complies with the ADA,
 3     but such an interest is insufficient to confer standing. See Lujan, 504 U.S. at 575; Simon,
 4     426 U.S. at 40.    The fact that Advocates seeks to promote the interests of disabled
 5     individuals does not change this analysis. See Payne, 947 F. Supp. 2d at 578; Small, 388
 6     F. Supp. 2d. 90-99.
 7            Nor is there information from which the Court could conclude that Plaintiff
 8     Ritzenthaler has suffered injury or will suffer injury in the future from Defendant's
 9     actions.   Plaintiff Ritzenthaler does not allege that he as ever visited Defendant's
10     business. Indeed, he fails even to identify the nature of Defendant's business. Although
11     he alleges that he will be deterred from visiting Defendant's business in the future, he
12     provides no facts - like those discussed in the cases above - from which the Court can
13     plausibly conclude that he will visit Defendant's business in the future if the barrier to
14     access is removed. Indeed, the complaint alleges only that "Plaintiff, or an agent of
15     Plaintiff, intends to return to Defendant's Public Accommodation to ascertain whether it
16     remains in violation of the ... ADA." Doc. 1-1at15, if 21 (emphasis added).
17            For these reasons, the Court orders Plaintiffs to show cause as to why this case
18     should not be dismissed for want of standing. Cf Chapman, 631 F.3d at 955 ("Because
19     Chapman lacked standing at the outset of this litigation to assert the ADA claims, the
20     district court should have dismissed them.").       Plaintiffs shall file a memorandum in
21     response to this order by August 29, 2016.
22            Dated this 15th day of August, 2016.
23
24
25
                                             David G. Campbell
26                                        United States District Judge

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           EXHIBIT G
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16                 IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

17                          IN AND FOR THE COUNTY OF MARICOPA

18    ADVOCATES FOR AMERICAN                        Case No: CV2016-090506
      DISABLED INDIVIDUALS, LLC, and
19    David Ritzenthaler, dealing with Plaintiffs   STATE OF ARIZONA'S MOTION TO
      sole and separate claim,                      INTERVENE AS A LIMITED PURPOSE
20
                                                    DEFENDANT
21                 Plaintiff,
                                                      AND
22
            vs.
23                                                  REQUEST FOR EXPEDITED
      1639 40TH STREET LLC,                         CONSIDERATION
24
                   Defendant.                        (Assigned to the Hon. David M. Talamante)
25

26
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            Pursuant to Arizona Rule of Civil Procedure 24, and for the reasons set forth herein, the
 2   State of Arizona ex rel. Mark Brnovich, the Attorney General ("the State") hereby moves to

 3   intervene as a limited purpose defendant. 1 This case is one of thousands of public
 4   accommodation of disabilities cases that Plaintiff has filed in this Court since February, each of

 5   which is based on a statute for which the Arizona Legislature has given the State primary
 6   administrative responsibility. Plaintiff's systemic abuse of the judicial system through these
 7   thousands of serial claims imperils the public interest by threatening the separation of powers
 8   established by the Arizona Constitution as well as the effective enforcement regime established
 9   by the public through the Legislature. The State therefore seeks to intervene in this matter as of
10   right under Rule 24(a), or in the alternative under permissive intervention under Rule 24(b), in
11   order to protect the public interest, preserve the separation of powers, and otherwise advocate

12   for its interests as the primary administrator of the Arizonans with Disabilities Act ("the
13   AZDA"), Arizona Revised Statutes ("A.R.S.") §§ 41-1492, et seq. Pursuant to Ariz. R. Civ. P.
14   24( c), this Motion is accompanied by a proposed Answer setting forth the affirmative defenses

15   of lack of standing and failure to state a claim. EXHIBIT A, Proposed Answer.

16   I.     BACKGROUND
17          Plaintiff Advocates for Individuals with Disabilities, LLC is flooding this Court with
18   lawsuits, apparently as part of a concerted effort to improperly use the judicial system for its
19   own enrichment. Plaintiff claims to have filed over 2,000 cases and, on information and belief,
20   intends to file thousands more cases in the near future. This action, like the rest of Plaintiffs

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     1
       The State moves to intervene as a nominal defendant for the limited purpose of requesting that
23   the well over one thousand other actions filed by the Plaintiff be consolidated into this action
     and dismissed on the basis of lack of subject matter jurisdiction, failure to state a claim, and
24   Rule 11 failings common (and fatal) to those actions. The State expects to file promptly its
25   motion to consolidate (or ask the Court to consolidate these cases sua sponte) and its standing-
     related filings upon the Court granting this motion to intervene. The State takes no position at
26   this time as to whether an ADA or AZDA violation exists in any particular case.

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 1   serial filings, is premised on purported violations of the AZDA in the Defendant's parking lot,
 2   and demands thousands of dollars in damages, costs, and attorneys' fees. See, e.g., Complaint
 3   ("Compl.") at~ 4 and p. 7-8. But the Complaint, like the rest of Plaintiffs virtually identical
 4   filings in other cases, fails threshold jurisdictional tests required of all civil litigation, and those
 5   filings, viewed as a whole, also appear to violate Rule 11.
 6          When businesses are served with one of these serial complaints, they face a difficult
 7   choice. Unlike an individual, a business cannot represent itself in Superior Court. But hiring
 8   counsel to defend the claim will cost thousands, or potentially tens of thousands, of dollars. And
 9   when businesses attempt to settle, Plaintiff has publicly admitted that it "always" issues a
10   standard opening settlement offer demanding $7,500. See AID Foundation, AID Exposes ABC
11   15 Hateful Lies, (published Aug. 19, 2016) ("AID Foundation Video"),
12   https://www.youtube.com/watch?v=PZOE h10N4A (at 2:55). This is grossly disproportionate
13   to the alleged violations, with $7 ,500 being, in fact, an even greater amount than the State can
14   obtain as a civil penalty for an offender's first violation after completing the investigation and
15   conciliation process. See A.R.S. § 41-1492.09(C) (establishing a $5,000 penalty for a first
16   offense). But for businesses, settling is still often cheaper than litigating, and Plaintiff boasts
17   that they obtain an average settlement of$3,900. See AID Foundation Video (at 4:42).
18          Businesses that choose to fight back face a different problem, as demonstrated by
19   Plaintiffs behavior in this and related cases. When businesses moved to relate their cases to
20   make their defense economically rational, Plaintiff attempted to dismiss this case with prejudice
21   after an answer was filed, an action not allowed by Ariz. R. Civ. P. 41(a) and 7.1. Plaintiff then
22   claimed that the cases could not be related because "the case under which the Defendant moves
23   for the Court to deem cases related and transferred"-this case-"has now been dismissed with
24   prejudice, as of today." EXHIBIT B, Plaintiffs Opposition to Defendant's Motion to Deem
25   Cases Related and Request Transfer, filed in CV2016-092105, p. 1 and 3. And when Plaintiff is
26   removed to federal court, Plaintiff often drops its federal claims and requests a remand. See,

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 1   e.g., Advocates for American Disabled Individuals, L.L.C. v. Yee, No. CV2016-090488 (remand
 2   from Federal court on July 25, 2016 based on Plaintifrs Notice of Voluntary Dismissal of
 3   Federal Claims Without Prejudice and Motion to Remand).
 4          Many of the businesses that have not settled or fought back are at risk of default, and
 5   Plaintiff recently filed what may be the first of many applications for default judgments. See
 6   EXHIBIT C, Notice and Application for Entry of Default, filed in CV2016-090554.
 7          The Complaint in this case, as in many other cases, purports to be verified via the
 8   electronic signature of David Ritzenthaler. According to the Corporation Commission's
 9   website, Ritzenthaler is the Chairman and Director of Advocates for Individuals with
10   Disabilities Foundation, Inc. http://ecorp.azcc.gov/Details/Corp?corpid=F21042916. The
11   Advocates for Individuals with Disabilities Foundation, in turn, is the sole member of the
12   PlaintiffLLC. http://ecorp.azcc.gov/Details/Corp?corpid=L20576609. News reports suggest
13   that Ritzenthaler has not reviewed all of the complaints that were filed listing his "Electronic
14   Signature Authorized" as the verifier of the complaint. Dave Biscobing & Shawn Martin, Cash
15   for Compliance? 'Advocacy' groups answers don't add up about serial ADA lawsuits,
16   ABC15.com, http://www.abc15.com/news/local-news/investigations/cash-for-compliance-
17   advocacy-groups-answers-dont-add-up-about-serial-ada-lawsuits ("A repmter asked him the
18   following question: 'Do you lmow how many lawsuits you've been involved with- how many
19   your name's been put on?' Ritzenthaler answered, 'I believe about 160.' It wasn't 160. It was
20   530 - all of them filed in a three-month period from mid-February to mid-May. In fact,
21   Ritzenthaler signed and attested to every one of the lawsuits under the penalty of pe1jury, court
22   records show."). News reports also indicate that the suits were filed without Ritzenthaler having
23   actually experienced or witnessed in person any of the alleged violations. Id. ("Ritzenthaler and
24   his attorneys said he has not visited most of the businesses he's sued.").
25          Beyond these issues, Plaintifrs actions rely on public accommodation and services
26   requirements established by the AZDA that the State is broadly tasked with investigating and, as

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 1   necessary, enforcing. See A.R.S. § 41-l 492.09(A). Under the AZDA, the State must not only
 2   conduct investigations of filed allegations and pursue enforcement actions (where necessary),
 3   but also perform "periodic reviews of compliance of covered entities." Id. Moreover, A.R.S.
 4   § 41-1492.06(A) requires the State to adopt rules, which exist as part of the Arizona
 5   Administrative Code, "to carry out the intent" of the public accommodation and services
 6   requirements. See A.A.C. RI0-3-401 through-412. As relevant to enforcement, the rules
 7   establish: the complaint process, A.AC. RI0-3-405 through -409; the State's investigative
 8   process, A.AC. RI0-3-410; and the conciliation process, A.A.C. RI0-3-412.
 9          The AZDA requires the State to investigate all alleged public accommodations or
10   services complaints properly filed with the Attorney General. A.R.S. § 41-1492.09(A). It then
11   provides for three possible outcomes. First, the State must dismiss the complaint and give
12   notice to the complainant and the entity complained against if "no reasonable cause exists to
13   believe that a violation of this article has occurred or is about to occur." Id. Second, the State
14   may seek temporary or preliminary relief if, at any time, it concludes "that prompt judicial
15   action is necessary to carry out the purposes of this article." Id. Finally, if the State determines
16   reasonable cause exists for a violation, the State must attempt, for up to thirty days, to
17   "effectuate a conciliation agreement." Id. If conciliation fails, the State must initiate a civil
18   action. Id. Similarly, if the State finds reasonable cause to believe a party has breached a
19   conciliation agreement, the State must file a civil action to enforce the agreement. Id.
20          In addition to State action, a private party may institute a civil action "for preventative or
21   mandatory relief, including an application for a permanent or temporary injunction, restraining
22   order or other order." A.R.S. § 41-1492.08(A). Under A.R.S. § 41-1492.09(B), the court
23   adjudicating "any civil action under this article" may grant equitable relief and likewise has
24   discretion to award "monetary damages to aggrieved persons." However, civil penalties may be
25   obtained only by the State. A.RS. § 41-1492.09(C). For a first violation, a civil penalty may
26   not exceed $5,000, but any subsequent violation may result in a penalty of as much as $10,000.

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 1   Id. Likewise, courts may award attorneys' fees "in any action or proceeding under this section,"
 2   meaning that fees only may be awarded in enforcement actions brought by the State. See A.R.S.
 3   § 41-1492.09(F). Fees can only be awarded to the prevailing party in such actions, and the
 4   Attorney General cannot be awarded fees, even if it prevails. Id.
 5           Conciliation provides an alternative means of resolving public accommodation and
 6   services legal claims. Indeed, as previously noted, the Legislature requires the State to engage
 7   in conciliation, with a limited exception, before instituting a civil action. A.R.S. § 41-
 8   1492.09(A). Under the State's rules, the purpose of conciliation is to "attempt to achieve a just
 9   resolution of the [public accommodation or services] complaint and to obtain assurances that the
10   respondent will satisfactorily remedy any violation ... and take action that will assure the
11   elimination of discriminatory acts or practices, or their prevention or recurrence." A.A.C. RI0-
12   3-412(A). Conciliation agreements must be in writing and executed by the complainant,
13   respondent, and the State. Id. at (C)-(D). In conciliation, the State may seek monetary damages
14   for complainants, "including compensatory damages and attorney fees," as well as equitable
15   relief. Id. at (F).
16   II.     INTERVENTION AS OF RIGHT UNDER RULE 24(a)
17           No statute confers upon the State an unconditional right to intervene in actions brought
18   under A.R. S. Title 41, Aiiicle 8. However, the State may intervene in ce1iain other civil rights
19   matters, subject to the Court's discretion, "upon a ce1tification that the case is of general public
20   importance." See A.R.S. § 41-148l(D). Although no similar statutory language is directly
21   applicable here, the State requests the comi to take into consideration that the State believes the
22   cases filed by Plaintiff, due solely to their volume and effects, have become an issue of general
23   public importance.
24           The public impmiance of this case is rooted in Plaintiffs efforts to obtain relief for
25   thousands of claims for which Plaintiff has no valid legal basis or legal standing. The State
26   possesses a strong interest in the Court's interpretation and application of the AZDA, including

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     the standards for allowing private patties to obtain relief. Plaintiffs lack of legal basis and

 2   standing threatens to severely impair and impede the State's enforcement duties.

 3          Under Rule 24(a), a patty must be permitted to intervene, upon timely application:

 4          [W]hen the applicant claims an interest relating to the property or transaction
 5          which is the subject of the action and the applicant is so situated that the
            disposition of the action may as a practical matter impair or impede the applicant's
 6          ability to protect that interest, unless the applicant's interest is adequately
            represented by existing patties.
 7
 8   Rule 24 is a remedial rule that "should be construed liberally in order to assist parties seeking to

 9   obtain justice in protecting their rights." Dowling v. Stapley, 221Ariz.251, 270 ~ 58 (App.

IO   2009). A successful motion to intervene as of right must fulfill four elements: "(1) the motion

11   must be timely; (2) the applicant must assert an interest relating to the property or transaction

12   which is the subject of the action; (3) the applicant must show that disposition of the action may

13   impair or impede its ability to protect its interest; and (4) the applicant must show that the other

14   parties would not adequately represent its interests." Woodbridge Structured Funding, LLC v.

15   Ariz. Lottery, 235 Ariz. 25, 28 ~ 13 (App. 2014).
16          A.     THE STATE'S INTERESTS
17          The State holds a twofold interest in this action that warrants intervention as of right.

18   The State's first interest is in ensuring the separation of powers memorialized in the Arizona
19   Constitution remains robust and effective. No statute directly establishes this interest as one
20   available to the State, but the Arizona Supreme Court has recognized that the Attorney General
21   may make constitutionally based arguments when such arguments are "in support of [the
22   Attorney General's] statutory authority[.]" State ex rel. Woods v. Block, 189 Ariz. 269, 273
23   (1997). 2 Here, the separation of powers issues presented by the Plaintiffs flood of improper and

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     2
25      Unlike in Woods, the State is not seeking to be a Plaintiff in this case, so it does not need to
     establish its own standing. See, e.g., Warth v. Seldin, 422 U.S. at 498 ("[T]he standing question
26   is whether the plaintiff has 'alleged such a personal stake in the outcome of the controversy' as

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 1   unsupported lawsuits are a direct threat to the State's enforcement duties as well as the ongoing
 2   functioning of the Courts.
 3          Plaintiff is circumventing the statutorily proscribed State enforcement process by
 4   claiming to "investigate" supposed violations of the federal Americans with Disabilities Act and
 5   the AZDA, while in reality apparently engaging in "trolling" litigation tactics. designed to induce
 6   defendants into quick pre-suit or post-complaint settlement that merely enriches the Plaintiff. 3
 7          By signaling to other potential plaintiffs that it is more profitable to initiate litigation than
 8   enter the State's conciliation process or other pre-litigation settlement process, the Plaintiff
 9   imperils the State enforcement regime established by the Legislature. Plaintiffs tactics run
10   contrary to the Legislature's expressed preference for resolving public accommodation and
11   services complaints by means other than litigation, which applies equally to private action and
12   State action. See A.R.S. § 41-1492.09(0) ("If appropriate, and to the extent authorized by law,
13   the use of alternative means of dispute resolution, including settlement negotiations,
14   conciliation, facilitation, mediation, fact-finding, mini-trials and arbitration, is encouraged to
15   resolve disputes arising under this article."). Plaintiff's success in leveraging litigation tactics to
16   obtain monetary relief for potentially invalid claims therefore directly affects the State's
17   interests by impeding and impairing the State's investigation and enforcement duties and
18   running directly counter to the Legislature's enforcement preference.
19
20
21   to warrant his invocation of federal-court jurisdiction."). And in any event, there is already one
     defendant who unquestionably has standing, so defendant standing-to the extent it is even
22
     required-is met. See Ariz. Indep. Redistricting Comm 'n v. Brewer, 229 Ariz. 347, 351~15
23   (2012) (citing Crawford v. Marion Cnty. Election Bd., 553 U.S. 181, 189 n.7 (2008)).
     3
        See Executive Office of the President, "Patent Assertion and U.S. Innovation" (2013),
24
     l!!iQs ://www .whitehouse.gov/sites/default/files/docs/patent report.pdf (observing that "patent
25   trolls" harm innovation in the United States by "focus[ing] on aggressive litigation, using such
     tactics [including] threatening to sue thousands of companies at once, without specific evidence
26   of infringement against any of them.") Plaintiff's behavior here is analogous.
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 1          The Court's effectiveness is undermined by these tactics as well. Because Plaintiffs
 2   chief aim appears to be using the in terrorem effect of its serial litigation to produce out of court
 3   settlements, it is unlikely the Court will have the opportunity to evaluate the validity of most of
 4   Plaintiffs claims, much less whether Plaintiff is entitled to bring them at all. Moreover, unlike
 5   the results of the State's conciliation process, Plaintiffs tactics result in no enforceable
 6   agreement or court order, meaning there is no accountability to ensure any legitimate public
 7   accommodation or services violation is cured.
 8          The State's second interest stems from the State's statutory enforcement duties
 9   concerning public accommodation and services disputes under the AZDA. See A.R.S. §§ 41-
10   1492.06 and -1492.09. Given these duties, the State has a strong interest in how the Court
11   interprets and applies this statutory scheme, which sufficiently warrants intervention of right.
12   See Weaver v. Synthes, Ltd. (U.S.A.), 162 Ariz. 442, 447-48 (App. 1989) ("courts have
13   consistently found that the interest required to satisfy a Rule 24(a) [motion] must be based on a
14   right which belongs to the proposed intervenor rather than to an existing party" (internal
15   citations and quotation marks omitted)). Furthermore, the Court's interpretation and application
16   of these statutes are likely to have a direct legal effect on the State's ability to effectively
17   enforce the law by signaling whether private action is preferable to the State's conciliation
18   process. See Woodbridge Structured Funding, 235 Ariz. at 28 if 15.
19           B.    TIMELINESS AND ADEQUATE REPRESENTATION
20          The State's intervention motion is timely. When considering timeliness of a motion to
21   intervene, the Court must consider several factors, such as the lawsuit's stage and whether
22   intervention could have been sought earlier, but "[t]he most important consideration [in
23   determining timeliness] is whether the delay in moving for intervention will prejudice the
24   existing parties in the case." State ex rel. Napolitano v. Brown & Williamson Tobacco Corp.,
25   196 Ariz. 382, 384 if 5 (2000). These factors all support the timeliness of the State's
26   intervention. This case remains in its infancy. And the public importance of the matters posed

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 1   by Plaintiff's activities was not apparent until the full scope of Plaintiff's serial litigation and
 2   potential disruption of the separation of powers and the existing enforcement process became
 3   clear in recent weeks. Most importantly, the existing parties will not suffer prejudice because of
 4   the State's intervention; indeed, allowing the State to intervene will likely move this lawsuit and
 5   many others towards a more rapid and just resolution.
 6            Furthermore, no private party can adequately represent the State's interests in this matter.
 7   See Planned Parenthood Ariz., Inc. v. American Assn. ofPro-Life Obstetricians &
 8   Gynecologists, 227 Ariz. 262, 279 ~ 58 (App. 2011) ("The state must represent the interests of
 9   all people in Arizona .... "). The statutory enforcement scheme enacted in A.R.S. Title 41,
10   Article 8 establishes a unique process for the State to resolve public accommodation and
11   services complaints and to seek civil penalties in appropriate cases. Only the State can represent
12   and protect those interests.
13   III.     PERMISSIVE INTERVENTION UNDER RULE 24(b)
14            The State alternatively seeks permissive intervention under Rule 24(b). In relevant part,
15   Rule 24(b) allows "anyone" to intervene "upon timely application" when "an applicant's claim
16   or defense and the main action have a question oflaw or fact in common.'' Additionally, "[i]n
17   exercising its discretion the court shall consider whether the intervention will unduly delay or
18   prejudice the adjudication of the rights of the original parties." Id. As with Rule 24(a), Rule
19   24(b) should be construed liberally and "the intervenor-by-permission does not even have to be
20   a person who would have been a proper party at the beginning of the suit." Dowling, 221 Ariz.
21   at 272 ~ 67 (quoting Bechtel v. Rose, 150 Ariz. 68, 72 (1986)). Ultimately, whether a party may
22   intervene under Rule 24(b) is left to the adjudicating court's discretion. See id. at if 16
23   (concluding trial court did not abuse its discretion in performing Rule 24(b) analysis).
24            The same reasons proffered for the State's intervention as of right also support allowing it
25   to intervene permissibly. The State's interests in preserving the constitutional separation of
26   powers and the effectiveness of its enforcement duties under the AZDA are significant public

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           Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 154 of 163




 1   interests that waiTant the State's involvement. In addition, allowing the State to intervene will
 2   aid in properly addressing and resolving the serious jurisdictional questions that loom over the
 3   thousands of claims the Plaintiff has brought in this Court. Notwithstanding whether the Court
 4   allows the State to intervene, those jurisdictional questions remain, although in many cases they
 5   risk not being adjudicated if the original defendants fail to appear. In such cases, Plaintiff will
 6   prevail on claims for which there is no jurisdictional basis and obtain significant relief that is not
 7   properly provided for in law or statute. That result would jeopardize the AZDA's purposes as
 8   established by the Legislature, the State's enforcement effmis to enact that purpose, and the
 9   Court's ability to properly adjudicate valid claims.
10           Because permissive intervention is subject to the Court's discretion, the Court should
11   allow the State to intervene because the State, through the Attorney General, has unique interests
12   and expetiise in the legal issues raised by Plaintiffs actions, which go to the very heart of
13   fundamental separation of powers issues under Arizona law. The State's perspective,
14   experience, and statutorily-established function in the operation of the AZDA would be helpful
15   to the Court. Given these and ample other reasons to allow the State's intervention, the Court
16   should not hesitate to exercise its discretion in allowing the State to intervene in this matter.

17   IV.     REQUEST FOR EXPEDITED CONSIDERATION
18           As previously noted on page 4, supra, Plaintiff appears to have begun filing applications
19   for default against cetiain defendants. To minimize this and other harms, the State waives any
20   reply and respectfully requests that this Court rules on this Motion to Intervene as soon as is

21   practicable.
22   V.      CONCLUSION
23           For the foregoing reasons, the State respectfully requests that the Court grant the State's
24   request to intervene as ofright pursuant to Rule 26(a) or, in the alternative, permit the State to
25   intervene pursuant to Rule 26(b). The State further requests that the Court give expedited

26   consideration to this motion.
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 1
 2   RESPECTFULLY SUBMITTED: August 24, 2016.
 3                                   MARK BRNOVICH,
                                     ATTORNEY GENERAL
 4
 5
 6                                   BY:     ~d~
                                           Paul N. Watkins
 7
                                           Matthew du Mee
 8                                         Brunn W. Roysden III
                                           Oramel H. Skinner
 9                                         John Heyhoe-Griffiths
10                                         Evan G. Daniels
                                           Assistant Attomeys General
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           Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 156 of 163




 1   Document electronically transmitted
     to the Clerk of the Court for filing using
 2   AZTurboCourt this 24th day of August, 2016.
 3
     COPY of the foregoing HAND DELIVERED
 4   this 24th day of August, 2016 to
 5
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           EXHIBIT H
ArizonaCase  2:16-cv-02781-SRB
        Attorney General's Office files Document    15-1 Filed
                                        motion to intervene     09/16/16
                                                            on ADA lawsuits Page  158B...
                                                                            - Phoenix of 163
                                                                                          Page 1 of 3




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         From the Phoenix Business Journal:
         http://www.bizjournals.com/phoenix/news/2016/08/24/arizona-
         attorney-genera ls-office-files-motion. htm I



      BREAKING: Arizona Attorney
      General's Office files motion to
      intervene on ADA lawsuits
      Aug 24, 2016, 2:42pm MST Updated: Aug 24, 2016, 3:02pm MST


      The Arizona Attorney General's Office
      has stepped in to the controversy
      surrounding Valley businesses and
      lawsuits concerning compliance with
      the Americans with Disabilities Act.

      According to a statement, the AG's
      office has filed a motion to intervene on
      one of the cases in Maricopa County                   D1AN_s_cAHYA/1srncK;rn1NKsrncK

      Superior Court, Advocates for                         Handicap Parking Space

      Individuals with Disabilities/ LLC vs. 1639
      40th Street LLC.

      Because more than 1,000 filings have been filed by AID and its
      attorney, Peter Strojnik, the AG's office said its intervention is a matter
      of public importance.




http://www.bizjournals.com/phoenix/news/2016/08/24/arizona-attorney-generals-office-fil...   8/25/2016
ArizonaCase  2:16-cv-02781-SRB
        Attorney General's Office filesDocument   15-1 Filed
                                       motion to intervene     09/16/16
                                                           on ADA lawsuits Page  159B...
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                                                                                         Page 2 of 3



       Though the plaintiff said the intention of the lawsuits is to make
       businesses compliant, the attorney general's office says AID and
       Strojnik are "apparently engaging in 'trolling' litigation tactics designed
       to induce defendants into quick pre-suit or post-complaint settlement
       that merely enriches the Plaintiff."

       The AG's office is asking that the 1,000-plus lawsuits be consolidated
       into this action and dismissed.

       Former AID Executive Director Jennifer Rogers resigned from her
       position yesterday as a result of the controversy.

       Several businesses in metro Phoenix - including mom-and-pop shops,
       Paradise Valley Mall and CVS Pharmacy - have found lawsuit notices
      in their mailboxes from Advocates for Individuals with Disabilities,
      which provides amenities to people with disabilities that aren't covered
      by insurance caps.

      The lawsuits have targeted brick-and-mortar spaces that do not meet
      federal requirements of the Americans with Disabilities Act. The
      majority of these notices concern parking lot violations, which include
      a lack of van accessibility in handicapped space and height
      requirements for handicapped signage.

      AID sent about 42,000 notices to local businesses before filing
      lawsuits, Rogers said, because filing can cost $400, and that
      businesses are given 30 days to comply - but business owners are
      saying that they have no time to comply whatsoever.

      The lawyer representing the nonprofit, Peter Strojnik, is currently under
      active investigation with the Arizona State Bar Association. Strojnik has
      been disciplined by the Arizona State Bar Association three times,
      according to ABC 15 KNXV-TV.

      Business owners have called the lawsuits an "extortion scheme."

      Steven Totten
      Reporter




http://www.bizjournals.com/phoenix/news/2016/08/24/arizona-attorney-generals-office-fil...   8/25/2016
ArizonaCase  2:16-cv-02781-SRB
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       Phoenix Business Journal            ..




http://www.bizjournals.com/phoenix/news/2016/08/24/arizona-attorney-generals-office-fil...   8/25/2016
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            EXHIBIT I
     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 162 of 163




 1
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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                 FOR THE DISTRICT OF ARIZONA
 8
 9     Advocates for Individuals With Disabilities       No. CV-16-01002-PHX-ROS
       LLC, et al.,
10                                                       ORDER
                     Plaintiffs,
11
       v.
12
       Home Depot USA Incorporated,
13
                     Defendant.
14
15            Defendant Home Depot USA Inc. has moved to consolidate three other cases with

16     the present case. (Doc. 27). All four cases are brought by the same plaintiffs against the

17     same defendants and they involve identical claims under the Americans with Disabilities

18     Act. Pursuant to Federal Rule of Civil Procedure 42, consolidation of these cases is

19     appropriate because they involve the same parties and substantially the same questions of

20     law. In addition, no party will suffer any "inconvenience, delay, or expense" as a result

21     of consolidation. Huene v. United States, 743 F.2d 703, 704 (9th Cir. 1984). Therefore,

22     the cases will be consolidated under CV-16-1002-PHX-ROS. This consolidation is for

23     purposes of discovery and pretrial motion practice only. The parties will be required to

24     confer and submit a joint proposed scheduling order containing the deadlines to govern

25     all four cases. Given the nature of the factual and legal disputes, the close of discovery in

26     all four cases will be December 16, 2016.        The other proposed deadlines should be

27     coordinated around that date.

28            Accordingly,
     Case 2:16-cv-02781-SRB Document 15-1 Filed 09/16/16 Page 163 of 163




 1           IT IS ORDERED the Motion to Consolidate (Doc. 27) is GRANTED. The
 2     Clerk shall consolidate the following cases with the present case: CV-16-1003-GMS;
 3     CV-16-1704-SPL; CV-16-2149-NVW.
 4           IT IS FURTHER ORDERED all future filings in these cases shall be made
 5     under CV-16-1002-PHX-ROS until further order of the Court.
 6           IT IS FURTHER ORDERED no later than September 12, 2016, the parties
 7     shall file and submit to chambers a proposed scheduling order to govern all pretrial
 8     proceedings.
 9           Dated this 7th day of September, 2016.
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